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 6   Interim Co-Lead Consumer Class Counsel

 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11
     MAXIMILLIAN KLEIN, et al.,                      Case No. 20-cv-08570-JD
12
                                       Plaintiffs,
13
                                                      DECLARATION OF SHANA E.
14          v.                                        SCARLETT IN SUPPORT OF
                                                      APPLICATION FOR APPOINTMENT
15   META PLATFORMS, INC.,                            AS INTERIM LEAD CONSUMER
                                                      CLASS COUNSEL, OR IN THE
16                                    Defendant.      ALTERNATIVE, SHANA E.
                                                      SCARLETT AND REBECCA A.
17
                                                      PETERSON OF LOCKRIDGE
18                                                    GRINDAL NAUEN P.L.L.P.

19
     This document relates to:
20

21       All Consumer Actions

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 1           I, Shana E. Scarlett, declare as follows:

 2            1.        I am an attorney duly licensed to practice before all of the courts of the State of

 3   California. I am a partner with the law firm of Hagens Berman Sobol Shapiro LLP, the counsel of

 4   record for Plaintiff Rachel Banks-Kupcho in the above-titled action. I have personal knowledge of

 5   the matters stated herein and, if called upon, I could and would competently testify thereto.

 6            2.        I submit this declaration in support of my application for appointment as interim lead

 7   consumer counsel, or in the alternative, my appointment as co-lead counsel with Rebecca A.

 8   Peterson of Lockridge Grindal Nauen P.L.L.P.

 9            3.        I am the regional managing partner of Hagens Berman’s Bay Area office. Prior to

10   joining Hagens Berman, I have worked at some of the largest plaintiffs’ firms in the country. I

11   joined the firm in 2007 and have been working here for sixteen years, demonstrating my

12   commitment to the firm’s leadership, culture and management. I live and work in the Bay Area and

13   I am a graduate of Stanford Law School.

14            4.        I have deep experience in plaintiffs’ class actions and antitrust cases. Over the course

15   of my career, I have first-chaired hundreds of depositions including the senior executives of many

16   companies. I have taken the depositions of witnesses across multiple countries and continents. I

17   have argued extensively in federal courts across the country, from small discovery motions to class

18   certification, summary judgment, expert evidentiary proceedings, and all numbers of settlement

19   approval proceedings. I have argued on multiple occasions in front of the Ninth Circuit Court of

20   Appeals. I have also been named as a Northern California Super Lawyer every year from 2013 to

21   2022, a Top Plaintiff Lawyer, 2021, by the Daily Journal, and a Top 100 Civil Plaintiff Trial

22   Lawyer in California by the National Trial Lawyers in 2021 and 2022.

23            5.        Hagens Berman is highly qualified to litigate complex class action and antitrust

24   cases, and I have played a leading role in many of Hagens Berman’s antitrust successes. For

25   example, I have deposed critical witnesses, argued motions, and managed In re Broiler Chicken

26   Antitrust Litigation, No. 16-CV-08637 (N.D. Ill.), an antitrust case in which Hagens Berman was

27   appointed co-lead counsel for indirect purchaser class. To date, the class has recovered $181

28   million. I have also deposed many executives and argued for class certification on behalf of the
     SCARLETT DECL. ISO APPL. FOR
     APPOINTMENT AS INTERIM LEAD COUNSEL
     - 1 Case No. 20-CV-08570-JD
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 1   consumer class in In re Pork Antitrust Litigation, No. 18-cv-01776 JRT-HB (D. Minn.), another

 2   antitrust case in which Hagens Berman represents the consumer indirect purchaser class. I managed

 3   many of the day-to-day litigation issues in In re Lithium Ion Batteries Antitrust Litigation, No. 13-

 4   md-02420 (N.D. Cal.). In In re Lithium, Judge Gonzalez Rogers appointed a three-way leadership

 5   structure. To date, the class has recovered $113.45 million. I am also litigating Jien, et al. v. Perdue

 6   Farms, Inc., et al., No. 19-cv-2521 (D. Md.). In Jien, et al., Hagens Berman represents a class of

 7   processing plant workers at poultry plants. To date, recoveries of $134.6 million have been achieved

 8   on behalf of the class. Finally, Judge William Alsup sua sponte appointed me personally as lead

 9   counsel in the in the generic drug litigation In re Glumetza Antitrust Litigation, No. C19-05822

10   (N.D. Cal.). The case eventually settled for over $450 million. I was also heavily involved in other

11   of Hagens Berman’s antitrust cases throughout my career, including: In re EBooks Antitrust

12   Litigation, No. 11-md-02293 (S.D.N.Y.) (as co-lead counsel, Hagens Berman recovered $568

13   million on behalf of the class); In re Optical Disk Drive Antitrust Litigation, No. 10-md-02143

14   (N.D. Cal.) (Hagens Berman recovered $205 million on behalf of a class of indirect purchasers); In

15   re Animation Workers Antitrust Litigation, No. 14-cv-4062 (N.D. Cal.) (Hagens Berman recovered

16   nearly $169 million on behalf of animation studio workers).

17            6.        Hagens Berman also has decades of experience representing consumers in

18   technically challenging cases and privacy cases, as well as monopolization cases. Hagens Berman

19   represented app developers against both Google and Apple in the In re Google Play Store Antitrust

20   Litigation, No. 3:21-md-02981-JD, and Cameron v. Apple Inc., No. 4:19-03074-YGR, where they

21   were lead counsel. Both these cases allege that these internet giants wrongfully obtained monopoly

22   power over the distribution of apps and in-app products and the billing systems for both types of

23   digital products. The Google Play store litigation (pending in front of this Court) settled for $90

24   million; the Cameron action settled for $100 million.

25            7.        This case is well under way, and the proposed leadership structure in the

26   accompanying motion would be the least disruptive to ongoing litigation. Since having been

27   appointed as co-lead on behalf of Consumer plaintiffs, Consumer plaintiffs have served 17

28   subpoenas on non-parties in this action for production of documents, focusing on the relevant social
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     APPOINTMENT AS INTERIM LEAD COUNSEL
     - 2 Case No. 20-CV-08570-JD
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 1   networking market and the value of data. I and my team have overseen the negotiations of many of

 2   these subpoenas. Facebook has served 20 interrogatories on the three consumer named plaintiffs,

 3   and 37 requests for production of documents. Each of these have been extensively negotiated and

 4   the named plaintiffs have produced 24,631 documents in response to these requests. Consumer

 5   plaintiffs have served 3 interrogatories on Facebook and 81 requests for production of documents.

 6   To date, Facebook and non-parties have produced over 4.1 million documents. These are being

 7   reviewed and catalogued by document reviewers, staff attorneys and associates as the litigation

 8   teams prepare for depositions. The first deposition of a Facebook employee took place on February

 9   2, 2023 and many are being scheduled in the coming weeks and months.

10            8.        Hagens Berman is and has been financially invested in this case. Hagens Berman

11   holds the litigation fund, which has been contributed to by each of the three firms (Hagens Berman,

12   Quinn Emanuel and Lockridge). To date, the firms collectively have spent millions of dollars,

13   mostly in document hosting and expert costs. (To that end, the Court will hear from the experts at

14   the February 28, 2023 tutorial.)

15            9.        I have personally approved every expense from the litigation fund, and if appointed, I

16   would commit to continue keeping clear and definitive records as to fees and costs incurred. In

17   accordance with the original leadership appointment order, I have reviewed the detailed billing

18   records of all Hagens Berman and Lockridge attorneys on a monthly basis. All time has been

19   entered in a contemporaneous manner. I have further reviewed this Court’s instructions in

20   Robinhood Outage Litigation. If appointed, I commit that by 14 days after each months’ end, I will

21   ensure that a bill for the prior month is finalized, reflecting my review of the billing records and any

22   write-downs or write-offs by interim co-lead counsel for inefficiencies, duplication of effort,

23   misjudgments in staffing, and the like. I further commit that these final bills for each month will be

24   segregated and kept by lead counsel, and may not be altered. Only these records, prepared

25   contemporaneously with the expenditures, will be used for a fees and costs motion. These practices

26   accord with Hagens Berman’s robust timekeeping policies. At times, Hagens Berman and Quinn

27   Emanuel have disagreed. Most disputes have been resolved. But Hagens Berman has been a zealous

28   advocate on behalf of the class’s resources.
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     APPOINTMENT AS INTERIM LEAD COUNSEL
     - 3 Case No. 20-CV-08570-JD
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 1            10.       If appointed as Lead Counsel, I commit to leading the case forward in a streamlined

 2   and efficient manner, to the benefit of the Consumer class. A complete rearrangement of counsel

 3   would be unnecessary, but the existing structure has led to untenable gridlock. The proposed

 4   structure would resolve gridlock while allowing work to continue. To that end, if appointed, I have

 5   no intention to exclude the attorneys from Quinn Emanuel who are currently on the team from

 6   future work on the case. I believe the class would be best served if I continued to encourage and

 7   assign work to each of them.

 8            I declare under penalty of perjury under the laws of the United States that the foregoing is

 9   true and correct. Executed this 3rd day of February 2023 at Berkeley, California.

10

11                                                                    s/ Shana E. Scarlett
                                                                    SHANA E. SCARLETT
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     APPOINTMENT AS INTERIM LEAD COUNSEL
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           EXHIBIT A
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                                                              HAGENS BERMAN SOBOL   SHAPIRO LLP




Hagens Berman is a leader in class-action litigation
and an international law firm driven by a team of legal
powerhouses. With a tenacious spirit, we are motivated
to make a positive difference in people’s lives.




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INTRODUCTION

The Firm

Hagens Berman Sobol Shapiro LLP was founded in 1993 with one purpose: to help victims with claims
of fraud and negligence that adversely impact a broad group. The firm initially focused on class action
and other types of complex, multi-party litigation, but we have always represented plaintiffs, victims
and the underdog. As the firm grew, it expanded its scope while staying true to its mission of taking
on important cases that implicate the public interest. The firm represents plaintiffs including investors,
consumers, inventors, workers, the environment, governments, whistleblowers and others.




We are one of the nation’s leading class-action law firms and have earned
an international reputation for excellence and innovation in ground-
breaking litigation against large corporations.

OUR FOCUS. Our focus is to represent plaintiffs/victims in product liability, tort, antitrust, consumer
fraud, sexual harassment, securities and investment fraud, employment, whistleblower, intellectual
property, environmental, and employee pension protection cases. Our firm is particularly skilled at
managing multi-state and nationwide class actions through an organized, coordinated approach
that implements an efficient and aggressive prosecutorial strategy to place maximum pressure on
defendants.

WE WIN. We believe excellence stems from a commitment to try each case, vigorously represent the
best interests of our clients, and obtain the maximum recovery. Our opponents know we are determined
and tenacious and they respect our skills and recognize our track record of achieving top results.

WHAT MAKES US DIFFERENT. We are driven to return to the class every possible portion of its
damages—our track record proves it. While many class action or individual plaintiff cases result in large
legal fees and no meaningful result for the client or class, Hagens Berman finds ways to return real
value to the victims of corporate fraud and/or malfeasance.

AN INTERNATIONAL REACH. The scope of our practice is truly nationwide. We have flourished
through our network of offices in nine cities across the United States, including Seattle, Austin,
Berkeley, Boston, Chicago, Los Angeles, New York, Phoenix and San Diego and one international office
in London, and our eyes are always open to trends of fraud, negligence and wrongdoing that may be
taking form anywhere in the world. Our reach is not limited to the cities where we maintain offices. We
have cases pending in courts across the country and have a vested interest in fighting global instances
of oppression, wrongdoing and injustice.




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‘    …the track record of Hagens
    Berman[’s] Steve Berman is…
    impressive, having racked…
                                                                         ‘                         ‘
                                                                                Class counsel has consistently
                                                                              demonstrated extraordinary skill
                                                                              and effort.
                                                                              — U.S. District Judge James Selna, Central District
    a $1.6 billion settlement in the Toyota                                     of California, In re Toyota Motor Corp. Unintended
                                                                                Acceleration Marketing, Sales Practices and Products
    Unintended Acceleration Litigation
    and a substantial number of really
                                                       ‘                        Liability Litigation

                                                                                                                                       ‘
                                                                         ‘
    outstanding big-ticket results.                                             Berman is considered one of the
    — Milton I. Shadur, Senior U.S. District Judge, naming
      Hagens Berman Interim Class Counsel in Stericycle
                                                                              nation’s top class-action lawyers.
      Pricing MDL                                                             — Associated Press




                                               Elite Trial Lawyers
                                                    The National Law Journal


      The Plaintiffs’ Hot List: The Year’s Hottest Firms
                                                    The National Law Journal


                                  Most Feared Plaintiffs Firms
                                                                     Law360

                                                                     ‘
‘     Landmark consumer cases are
    business as usual for Steve Berman.
    — The National Law Journal, naming Steve Berman one of
      the 100 most influential attorneys in the nation for the
                                                                         ‘       All right, I think I can conclude on
                                                                              the basis with my five years with you
                                                                              all, watching this litigation progress
      third time in a row
                                                                              and seeing it wind to a conclusion,
                                                                              that the results are exceptional...
                                                                              You did an exceptionally good job at
                                                                                                                                        ‘
                                                                ‘             organizing and managing the case...


‘     [A] clear choice emerges. That
    choice is the Hagens Berman firm.
    — U.S. District Court for the Northern District of California,
      In re Optical Disk Drive Products Antitrust Litigation
                                                                              — U.S. District Court for the Northern District of
                                                                                California, In re Dynamic Random Access Memory
                                                                                Antitrust Litigation (Hagens Berman was co-lead
                                                                                counsel and helped achieve the $325 million class
                                                                                settlement)
      (appointing the firm lead counsel)



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VISA-MASTERCARD ANTITRUST LITIGATION                        VOLKSWAGEN EMISSIONS LITIGATION

The firm served as co-lead counsel in what was              Hagens Berman was named a member of the
then the largest antitrust settlement in history –          Plaintiffs’ Steering Committee and part of the
valued at $27 billion.                                      Settlement Negotiating team in this monumental
                                                            case that culminated in the largest automotive
VOLKSWAGEN FRANCHISE DEALERS LITIGATION                     settlement in history – $17.4 billion.
The firm served as lead counsel representing                TOYOTA UNINTENDED ACCELERATION LITIGATION
VW franchise dealers in this suit related to the            Hagens Berman obtained the then largest
automaker’s Dieselgate scandal. A $1.6 billion              automotive settlement in history in this class
settlement was reached, and represents a result             action that recovered $1.6 billion for vehicle
of nearly full damages for the class.                       owners.


                               STATE OF WASHINGTON, ET AL. V. PHILIP MORRIS, ET AL.

           Hagens Berman represented 13 states in the largest
              recovery in litigation history – $260 billion.

E-BOOKS ANTITRUST LITIGATION                                DRAM ANTITRUST LITIGATION
Hagens Berman served as co-lead counsel in this             The firm was co-lead counsel, and the case
matter and secured a combined $560 million                  settled for $345 million in favor of purchasers of
settlement on behalf of consumers against                   dynamic random access memory chips (DRAM).
Apple and five of the nation’s largest publishing
companies.

LCD ANTITRUST LITIGATION                                    AVERAGE WHOLESALE PRICE DRUG LITIGATION

Hagens Berman served as a member of the                     Hagens Berman was co-lead counsel in this
Executive Committee representing consumers                  ground-breaking drug pricing case against
against multiple defendants in multi-district               the world’s largest pharmaceutical companies,
litigation. The total settlements exceeded                  resulting in a victory at trial. The court approved a
$470 million.                                               total of $338 million in settlements.

MCKESSON DRUG LITIGATION                                     ENRON ERISA LITIGATION
Hagens Berman was lead counsel in these                      Hagens Berman was co-lead counsel in this
racketeering cases against McKesson for drug                 ERISA litigation, which recovered in excess of
pricing fraud that settled for more than $444                $250 million, the largest ERISA settlement in
million on the eve of trials.                                history.
DAVITA HEALTHCARE PERSONAL INJURY LITIGATION
A Denver jury awarded a monumental $383.5                    CHARLES SCHWAB SECURITIES LITIGATION
million jury verdict against GranuFlo dialysis               The firm was lead counsel in this action alleging
provider DaVita Inc. on June 27, 2018, to families           fraud in the management of the Schwab
of three patients who suffered cardiac arrests and           YieldPlus mutual fund; a $235 million class
died after receiving dialysis treatments at DaVita           settlement was approved by the court.
clinics.

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                                                        Practice Areas




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PRACTICE AREAS

Anti-Terrorism

With a long track record of upholding the rights of the voiceless, Hagens Berman fights for
justice on behalf of victims of international terrorism. Our anti-terrorism legal team builds
on our robust history to forge innovative cases, bringing action against those that support
terrorism.

Hagens Berman has always believed in fighting for the rights           > Chiquita Bananas
of those with no voice – those who are victims to tragic                Hagens Berman represents American citizens who were victims
circumstances beyond their control. With our guiding principles         of terrorism in Colombia. The victims were harmed by Colombian
driving our efforts, the firm has expanded its practice areas to        terrorists that Chiquita Brands International Inc. paid so that it
include anti-terrorism litigation.                                      could grow bananas in Colombia in regions that were controlled
                                                                        by the terrorists. Chiquita is one of the world’s largest producers
It’s no secret that some businesses and individuals have pled guilty
                                                                        and marketers of fruits and vegetables and admitted it paid
to violating United States laws that prohibit financial transactions
                                                                        Colombian terrorist organizations as part of a guilty plea to settle
with terrorist organizations and foreign states that support
                                                                        criminal charges brought by the U.S. Department of Justice
terrorism. We believe that the law is one of the most powerful tools
to combat terrorism, and our renowned team of litigators brings         Chiquita was placed on corporate probation and paid a $25
a fresh perspective to the fight for victims’ rights in this complex    million dollar fine because of its conduct in Colombia.
arena.
                                                                        Plaintiffs have sued Chiquita under the U.S. Anti-Terrorism Act,
Through a deep understanding of both U.S. and international             which allows American victims of international terrorism to sue
anti-terrorism laws, Hagens Berman builds on its foundation to          anyone responsible and to recover treble damages and attorney’s
investigate acts of terrorism and forge ironclad cases against          fees. The claims are pending in the U.S. District Court for the
anyone responsible, to help ensure that those at the mercy of the       Southern District of Florida as part of the consolidated multi-
world’s most egregious perpetrators of violence are represented         district litigation to resolve claims related to Chiquita’s payments
with the utmost integrity and determination.                            to Colombian terrorist organizations.

The firm’s new practice area carries out our mission of building
a safer world through novel applications of the law and steadfast
dedication.




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PRACTICE AREAS

Antitrust

Hagens Berman works to preserve healthy marketplace competition and fair trade by protecting
consumers and businesses that purchase goods and services from price fixing, market
allocation agreements, monopolistic schemes and other trade restraints. The firm’s lawyers
have earned an enviable reputation as experts in this often confusing and combative area of
commercial litigation. Our attorneys have a deep understanding of the legal and economic
issues within the marketplace, allowing us to employ groundbreaking market theories that shed
light on restrictive anti-competitive practices.

Hagens Berman represents millions of consumers in several               > NCAA: Scholarships/Grants-In-Aid (GIAs)
high-profile class-action lawsuits, and takes on major antitrust         In a first-of-its-kind antitrust action and potentially far-reaching
litigation to improve market conditions for consumers, businesses        case, Hagens Berman filed a class-action affecting approximately
and investors. We have represented plaintiffs in markets as diverse      40,000 Division I collegiate athletes who played men’s or
as debit and credit card services, personal computer components,         women’s basketball, or FBS football, brought against the NCAA
electric and gas power, airlines, and internet services, and we have     and its most powerful members, including the Pac-12, Big Ten,
prevailed against some of the world’s largest corporations.              Big-12, SEC and ACC, claiming these entities violated federal
                                                                         antitrust laws by drastically reducing the number of scholarships
The firm has also generated substantial recoveries on behalf of
                                                                         and financial aid student-athletes receive to an amount below
health plans and consumers in antitrust involving pharmaceutical
                                                                         the actual cost of attendance and far below what the free market
companies abusing patent rights to block generic drugs from
                                                                         would bare.
coming to market. Hagens Berman has served as lead or co-
                                                                         The firm continues to fight on behalf of student-athletes to level
lead counsel in landmark litigation challenging anti-competitive
                                                                         the playing field and bring fairness to college sports and players.
practices, in the Paxil Direct Purchaser Litigation ($100 million),
                                                                         RESULT:   $208.9 million settlement, bringing an estimated average
Relafen Antitrust Litigation ($75 million), Tricor Indirect Purchaser
                                                                         amount of $6,500 to each eligible class member who played his
Antitrust Litigation ($65.7 million), and Augmentin Antitrust
                                                                         or her sport for four years.
Litigation ($29 million). Representative antitrust successes on
behalf of our clients include:                                          > Apple E-books
                                                                         With state attorneys general, the firm secured a $166 million
> Visa/MasterCard
                                                                         settlement with publishing companies that conspired with Apple
 Helped lead this record-breaking antitrust case against credit
                                                                         to fix e-book prices. The firm then look on Apple for its part in
 card giants Visa and MasterCard that challenged charges
                                                                         the price-fixing conspiracy. In the final stage in the lawsuit, the
 imposed in connection with debit cards.
                                                                         Supreme Court denied appeal from Apple, bringing the consumer
 RESULT:   $3.05 billion settlement and injunctive relief valued at
                                                                         payback amount to more than twice the amount of losses
 more than $20 billion.
                                                                         suffered by the class of e-book purchasers. This represents one
                                                                         of the most successful recovery of damages in any antitrust
                                                                         lawsuit in the country.
                                                                         RESULT:   $560 million total settlements.




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PRACTICE AREAS

Antitrust

> Animation Workers Antitrust                                            > Lithium Ion Batteries
 Hagens Berman represents a nationwide class of animators                 Hagens Berman filed a class-action lawsuit against some of the
 and other artistic workers in an antitrust class-action case filed       largest electronics manufacturers including Sony, Samsung and
 against defendants Pixar, Lucasfilm and its division Industrial          Panasonic for illegally fixing the price of lithium ion batteries,
 Light & Magic, DreamWorks Animation, The Walt Disney                     pushing costs higher for consumers. Defendants collectively
 Company, Sony Pictures Animation, Sony Pictures Imageworks,              controlled between 60 to 90 percent of the market for lithium-
 Blue Sky Studios, ImageMovers LLC, ImageMovers Digital LLC               ion batteries between 2000 and 2011 and used that power to fix
 and others.                                                              battery prices.
 RESULT:   Total settlements have reached $168 million, resulting in a    RESULT:   $65 million in total settlements against multiple
 payment of more than $13,000 per class member.                           defendants.

> TFT LCDs                                                               > AC Nielsen
 Hagens Berman Sobol Shapiro filed a class-action lawsuit                 Represented Information Resources, Inc. (“IRI”), in a suit claiming
 against several major manufacturers of TFT LCD products,                 that AC Nielsen’s anti-competitive practices caused IRI to suffer
 claiming the companies engaged in a conspiracy to fix, raise,            significant losses.
 maintain and stabilize the price of televisions, desktop and             RESULT:   $55 million settlement.
 notebook computer monitors, mobile phones, personal digital
                                                                         > Dairy Products
 assistants (PDAs) and other devices. After years of representing
                                                                          The firm filed a class-action suit against several large players
 consumers against multiple defendants in multi-district litigation,
                                                                          in the dairy industry, including the National Milk Producers
 the case against Toshiba went to trial. Toshiba was found guilty of
                                                                          Federation, Dairy Farmers of America, Land O’Lakes, Inc.,
 price-fixing in 2012, and settled.
                                                                          Agri-Mark, Inc. and Cooperatives Working Together (CWT) that
 RESULT:   $470 million in total settlements.
                                                                          together produce nearly 70 percent of the milk consumed in
> DRAM                                                                    the United States. The suit alleging that the groups conspired
 The suit claimed DRAM (Dynamic Random Access Memory)                     to fix the price of milk throughout the United States through an
 manufacturers secretly agreed to reduce the supply of DRAM,              organized scheme to limit production, involving the needless and
 a necessary component in a wide variety of electronics                   premature slaughtering of 500,000 cows.
 which artificially raised prices. The class included equipment           RESULT:   $52 million settlement on behalf of consumers in 15 states
 manufacturers, franchise distributors and purchasers.                    and the District of Columbia who purchased dairy products.
 RESULT:   $375 million settlement.
                                                                         > Toys “R” Us Baby Products
> Optical Disk Drives                                                     The firm brought this complaint on behalf of consumers claiming
 Hagens Berman fought on behalf of consumers in a lawsuit filed           Toys “R” Us and several baby product manufacturers violated
 against Philips, Pioneer and others for artificially inflating the       provisions of the Sherman Antitrust Act by conspiring to inflate
 price of ODDs for consumers.                                             prices of high-end baby products, including car seats, strollers,
 RESULT:   $180 million in total settlements reclaimed for consumers.     high chairs, crib bedding, breast pumps and infant carriers. The
                                                                          suit asked the court to end what it claims are anti-competitive
                                                                          activities and seeks damages caused by the company’s actions.
                                                                          RESULT:   $35.5 million settlement.




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PRACTICE AREAS

Antitrust

> EA Madden                                                            > Nespresso
 Class action claimed that video game giant Electronic Arts used        Hagens Berman has assumed responsibility for a large antitrust
 exclusive licensing agreements with various football organizations     case against Nespresso, a leading single-serve espresso
 to nearly double the price of several of its games.                    and coffee maker, for its anticompetitive efforts to exclude
 RESULT:   $27 million settlement and imposed limits on EA’s ability    environmentally friendly, biodegradable coffee capsules from the
 to pursue exclusive licensing agreements.                              market.
                                                                        In May 2010, our client Ethical Coffee Company (“ECC”) sought to
> Resistors Antitrust Litigation
                                                                        introduce an environmentally sound and more economical coffee
 Hagens Berman is co-lead lead counsel, representing direct
                                                                        capsule to be used in Nespresso’s widely used coffee makers.
 purchasers of linear resistors (a device in electronics used to
                                                                        It manufactured a single-use coffee capsule that did not contain
 limit electric current) against an alleged cartel of manufacturers
                                                                        harmful aluminum found in Nespresso’s capsules. Nespresso
 who conspired to limit linear resistor price competition for
                                                                        knew that ECC posed a formidable challenge to its business
 nearly a decade. The case is in its early stages and discovery is
                                                                        model, which relied on captive consumers buying coffee capsules
 ongoing.
                                                                        only from Nespresso. With a captive market, Nespresso could
                                                                        continue to charge consumers an inflated price, and continue to
                                                                        use the aluminum capsules that harm the environment.
                                                                        The U.S. Court has already ruled that these claims can proceed
                                                                        to discovery. Hagens Berman anticipates damages associated
                                                                        with Nespresso’s actions to be in the hundreds of millions of
                                                                        dollars.




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PRACTICE AREAS

Automotive - Non-Emissions Cases

In litigating cases we strive to make an impact for a large volume of consumers, especially
those who fall victim to the gross negligence and oversight of some of the nation’s largest
entities: automakers. Hagens Berman’s automotive litigation team has been named a 2016
Practice Group of the Year by Law360, highlighting its “eye toward landmark matters and
general excellence,” in this area of law.

The federal court overseeing the massive multi-district litigation        RESULT:   Settlement package valued at up to $1.6 billion, which was
against Toyota appointed the firm to co-lead one of the largest           at the time the largest automotive settlement in history.
consolidations of class-action cases in U.S. history. The litigation
                                                                         > MyFord Touch
combined more than 300 state and federal suits concerning
                                                                          Hagens Berman represents owners of Ford vehicles equipped
acceleration defects tainting Toyota vehicles. Hagens Berman and
                                                                          with MyFord Touch, an in-car communication and entertainment
its two co-lead firms were selected from more than 70 law firms
                                                                          package, who claim that the system is flawed, putting drivers at
applying for the role. Since then, the firm’s automotive practice area
                                                                          risk of an accident while causing economic hardship for owners.
has grown by leaps and bounds, pioneering new investigations into
                                                                          The complaint cites internal Ford documents that purportedly
defects, false marketing and safety hazards affecting millions of
                                                                          show that 500 of every 1,000 vehicles have issues involving
drivers across the nation.
                                                                          MyFord Touch due to software bugs, and failures of the software
The firm was recently named to the National Law Journal’s list            process and architecture. Owners report that Ford has been
of Elite Trial Lawyers for its work fighting corporate wrongdoing         unable to fix the problem, even after repeated visits. A federal
in the automotive industry. The firm’s auto team members who              judge overseeing the case recently certified nine subclasses of
worked on Toyota were also named finalists for Public Justice’s           owners of affected vehicles in various states.
Trial Lawyer of the Year award.
                                                                         > Nissan Quest Accelerator Litigation
> General Motors Ignition Switch Litigation                               Represented Nissan Quest minivan owners who alleged that
  Co-lead counsel in high-profile case on behalf of millions of           their vehicles developed deposits in a part of the engine, causing
  owners of recalled GM vehicles affected by a safety defect linked       drivers to apply increased pressure to push the accelerator down.
  to more than 120 fatalities. The suit alleges GM did not take           RESULT:   Settlement providing reimbursement for cleanings or
  appropriate measures, despite having prior knowledge of the             replacements and applicable warranty coverage.
  defect. The case is pending, and most recently, the Supreme
                                                                         > Hyundai Kia MPG
  Court refused to hear GM’s appeal regarding the pending suits
                                                                          Hagens Berman sued Hyundai and Kia on behalf of owners after
  when it claimed the cases were barred by its 2009 bankruptcy.
                                                                          the car manufacturers overstated the MPG fuel economy ratings
> Toyota Sudden, Unintended Acceleration Litigation                       on 900,000 of its cars. The suit seeks to give owners the ability
  Co-lead counsel for the economic loss class in this lawsuit filed       to recover a lump-sum award for the lifetime extra fuel costs,
  on behalf of Toyota owners alleging a defect causes vehicles to         rather than applying every year for that year’s losses.
  undergo sudden, unintended acceleration. In addition to safety          RESULT:   $255 million settlement. Lump-sum payment plan worth
  risks, consumers suffered economic loss from decreased value of         $400 million on a cash basis, and worth even more if owners opt
  Toyota vehicles following media coverage of the alleged defect.         for store credit (150 percent of cash award) or new car discount
                                                                          (200 percent of cash award) options.

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PRACTICE AREAS

Automotive - Non-Emissions Cases

> BMW i3 REx                                                          > Ford Shelby GT350 Mustang Overheating
 Hagens Berman is representing BMW owners in a national class-         Hagens Berman represents owners of certain 2016 Shelby
 action lawsuit, following reports that BMW’s i3 REx model electric    GT350 Mustang models in a case alleging that Ford has sold
 cars contain a defect that causes them to suddenly and without        these vehicles as track cars built to reach and sustain high
 warning lose speed and power mid-drive, putting drivers and           speeds, but failed to disclose that the absence of a transmission
 passengers at risk of crash and injury.                               and differential coolers can greatly diminish the vehicle’s reported
                                                                       track capabilities. Shelby owners are reporting that this defect
> Fiat Chrysler Gear Shifter Rollaway Defect
                                                                       causes the vehicle to overheat and go into limp mode, while in
 Hagens Berman has filed a national class-action lawsuit
                                                                       use, even when the car is not being tracked
 representing owners of Jeep Grand Cherokee, Chrysler 300 and
 Dodge Charger vehicles. The lawsuit states that Fiat Chrysler        > Tesla AP2 Defect
 fraudulently concealed and failed to remedy a design defect in        The firm represents Tesla owners in a lawsuit against the
 811,000 vehicles that can cause cars to roll away after they are      automaker for knowingly selling nearly 50,000 cars with
 parked, causing injuries, accidents and other serious unintended      nonfunctional Enhanced Autopilot AP2.0 software that still has
 consequences.                                                         not met Tesla’s promises, including inoperative Standard Safety
                                                                       Features on affected models sold in Q4 2016 and Q1 2017.




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PRACTICE AREAS

Automotive - Emissions Litigation

Having played a lead role in the record-breaking Volkswagen diesel emissions case, Hagens
Berman knew the story wasn’t over. Since the Dieselgate scandal began, the firm has uniquely
dedicated resources to uncovering cheating devices used by other automakers. The firm has
become a trailblazer in this highly specialized realm, outpacing federal agencies in unmasking
fraud in emissions reporting.

When news broke in 2015 of Volkswagen’s massive diesel                 RESULT:   The largest automotive settlement in history, $14.7 billion.
emissions-cheating scandal, Hagens Berman was the first firm
                                                                      > Volkswagen Dealers Litigation
in the nation to file suit against the automaker for its egregious
                                                                       Hagens Berman served as lead counsel in a first-of-its-kind
fraud, going on to represent thousands of owners in litigation
                                                                       lawsuit brought by a franchise dealer. Three family-owned
and take a leading role on the Plaintiffs’ Steering Committee
                                                                       Volkswagen dealers filed a class action against VW stating
that would finalize a $14.7 billion, record-breaking settlement for
                                                                       that it intentionally defrauded dealers by installing so-called
owners. Since this case emerged, Hagens Berman has been on
                                                                       “defeat devices” in its diesel cars, and separately carried out a
the forefront of emissions litigation, relying on our legal team’s
                                                                       systematic, illegal pricing and allocation scheme that favored
steadfast and intensive investigative skills to unearth many other
                                                                       some dealers over others and illegally channeled financing
emissions-cheating schemes perpetrated by General Motors, Fiat
                                                                       business to VW affiliate, Volkswagen Credit, Inc. The settlement
Chrysler, Mercedes and other automakers, staying one step ahead
                                                                       garnered nearly unanimous approval of dealers, with 99 percent
of government regulators in our pursuit of car manufacturers that
                                                                       participation in the settlement.
have violated emissions standards and regulations, as well as
                                                                       RESULT:   $1.67 billion in benefits to Volkswagen dealers.
consumer confidence.
                                                                      > Mercedes BlueTEC Emissions Litigation
Hagens Berman’s managing partner, Steve Berman, has dedicated
                                                                       Judge Jose L. Linares appointed the firm as interim class
the firm’s resources to upholding the rights of consumers and
                                                                       counsel in this class-action case against Mercedes concerning
the environment, becoming a one-man EPA. The firm is uniquely
                                                                       emissions of its BlueTEC diesel vehicles. Hagens Berman
dedicated to this cause, and is the only firm that has purchased
                                                                       currently represents thousands of vehicle owners who were told
an emission testing machine to determine if other diesel car
                                                                       by Mercedes that their diesel cars were “the world’s cleanest and
manufacturers install similar cheating devices, bringing new cases
                                                                       most advanced diesel,” when in fact testing at highway speeds,
based on the firm’s own research, time and testing.
                                                                       at low temperatures, and at variable speeds, indicate a systemic
> Volkswagen Diesel Emissions Litigation                               failure to meet emissions standards. Low temperature testing at
  Hagens Berman was the first firm in the nation to file a             highway speeds for example, produced emissions that were 8.1
  lawsuit against Volkswagen for its emissions fraud, seeking          to 19.7 times the highway emissions standard. The lawsuit adds
  swift remedies for consumers affected by Volkswagen’s fraud          that testing at low temperatures at variable speeds produced
  and violation of state regulations. The firm was named to the        emissions as high as 30.8 times the standard.
  Plaintiffs’ Steering Committee leading the national fight against
  VW, Porsche and Audi on behalf of owners and lessors of
  affected vehicles, and also served as part of the Settlement
  Negotiating team.


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PRACTICE AREAS

Automotive - Emissions Litigation

> Chevy Cruze Diesel Emissions Litigation                              > Dodge RAM 2500/3500 Diesel Emissions Litigation
 Hagens Berman filed a class-action lawsuit against Chevrolet           According to the firm’s investigation, Dodge has sold hundreds
 (a division of General Motors) for installing emissions-cheating       of thousands of Dodge RAM 2500 and 3500 trucks equipped
 software in Cruze Clean Turbo Diesel cars, forcing consumers           with Cummins diesel engines that release illegally high levels
 to pay high premiums for vehicles that pollute at illegal levels.      of NOx emissions at up to 14 times the legal limit. This defect
 While Chevy marketed these cars as a clean option, the firm’s          causes certain parts to wear out more quickly, potentially costing
 testing has revealed emissions released at up to 13 times the          owners between $3,000 and 5,000 to fix. The firm is leading a
 federal standard. In a recent ruling, U.S. District Judge Thomas       national class action against Fiat Chrysler for knowingly inducing
 L. Ludington upheld claims brought by owners.                          consumers to pay premium prices for vehicles that fail to comply
                                                                        with federal regulations, and ultimately lead to higher costs of
> Audi Emissions Litigation
                                                                        repairs for purchasers.
 Hagens Berman unearthed additional emissions-cheating by Audi,
 affecting its gasoline 3.0-liter vehicles. The firm’s investigation   > General Motors Duramax Emissions Litigation
 shows that the newly discovered defeat device is installed in          Hagens Berman recently pioneered another instance of diesel
 gasoline engines and changes how the transmission operates             emissions fraud. The firm’s independent testing revealed that
 when testing is detected to lower CO2 emissions, but otherwise         GM had installed multiple emissions-masking defeat devices
 allows excessive CO2 emissions in normal, on-road driving.             in its Duramax trucks, including Chevy Silverado and GMC
                                                                        Sierra models, in a cover-up akin to Volkswagen’s Dieselgate
> Fiat Chrysler EcoDiesel Emissions Litigation
                                                                        concealment. In real world conditions the trucks emit 2 to 5
 The firm is leading charges against Fiat Chrysler that it sold
                                                                        times the legal limit of deadly NOx pollutants, and the emissions
 hundreds of thousands of EcoDiesel-branded vehicles that
                                                                        cheating devices are installed in an estimated 705,000 affected
 release illegally high levels of NOx emissions, despite explicitly
                                                                        vehicles.
 selling these “Eco” diesels to consumers who wanted a more
 environmentally friendly vehicle. Hagens Berman was the
 first firm in the nation to uncover this scheme and file against
 Fiat Chrysler on behalf of owners of Dodge RAM 1500 and
 Jeep Grand Cherokee EcoDiesel vehicles. Following the firm’s
 groundbreaking suit, the EPA took notice, filing formal accusations
 against Fiat Chrysler.




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PRACTICE AREAS

Civil and Human Rights

Hagens Berman has represented individuals and organizations in difficult civil rights challenges
that have arisen in the past two decades. In doing so, we have managed cases presenting
complex legal and factual issues that are often related to highly charged political and historical
events. Our clients have included such diverse communities as World War II prisoners of war,
conscripted civilians and entire villages.

In this cutting-edge practice area, the firm vigilantly keeps abreast     > Hungarian Gold Train
of new state and national legislation and case-law developments.           Following the firm’s representation of former forced and enslaved
We achieve positive precedents by zealously prosecuting in our             laborers for German companies in the Nazi Slave Labor Litigation,
clients’ interests. Some examples of our work in this area include:        Hagens Berman led a team of lawyers against the U.S. on behalf
                                                                           of Hungarian Holocaust survivors in the Hungarian Gold Train
> World Trade Organization Protests
                                                                           case. The suit claimed that, during the waning days of World
  During the 1999 World Trade Organization (WTO) protests in
                                                                           War II, the Hungarian Nazi government loaded plaintiffs’ valuable
  Seattle, tens of thousands of Seattle citizens became targets
                                                                           personal property onto a train, which the U.S. Army later seized,
  after Seattle officials banned all forms of peaceful protest. Seattle
                                                                           never returning the property to its owners and heirs.
  police attacked anyone found in the designated “no protest”
  zones with rubber bullets and tear gas. Hundreds of peaceful            > Dole Bananas
  protesters were arrested and incarcerated without probable               Hagens Berman filed suit against the Dole Food Company,
  cause for up to four days. The firm won a jury trial on liability        alleging that it misled consumers about its environmental record.
  and ultimately secured a settlement from Seattle officials after         The complaint alleged that Dole purchased bananas from a
  filing a class action alleging violations of the First and Fourth        grower in Guatemala that caused severe environmental damage
  Amendments.                                                              and health risks to local residents. Dole ultimately agreed to
                                                                           take action to improve environmental conditions, collaborating
                                                                           with a non-profit group on a water filtration project for local
                                                                           communities.




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PRACTICE AREAS

Consumer Protection - General Class Litigation

Hagens Berman is a leader in protecting consumers, representing millions in large-scale cases
that challenge unfair, deceptive and fraudulent practices.

We realize that consumers suffer the brunt of corporate wrongdoing and have little power
to hold companies responsible or to change those tactics. We believe that when backed by a
tenacious spirit and determination, class action cases have the ability to serve as a powerful
line of defense in consumer protection.

Hagens Berman pursues class litigation on behalf of clients            and its contractual commitment to charge as service fees only
to confront fraudulent practices that consumers alone cannot           “costs incurred in servicing” a given reservation.
effectively dispute. We make consumers’ concerns a priority,           RESULT:   Summary judgment in the amount of $184 million. The
collecting consumer complaints against suspected companies and         case settled for cash and consumer credits totaling $123.4
exploring all avenues for prosecution.                                 million.

Hagens Berman’s legacy of protecting consumer rights reflects the     > Stericycle
wide spectrum of scams that occur in the marketplace. The cases        The firm served as court-appointed lead counsel in a class-action
that we have led have challenged a variety of practices such as:       lawsuit against Stericycle alleging that the company violated
                                                                       contracts and defrauded them by hundreds of millions of dollars
> False, deceptive advertising of consumer products and services
                                                                       through an automatic price-increasing scheme. In February of
> False billing and over-charging by credit card companies, banks,     2017, a federal judge certified a nationwide consumer class. The
  telecommunications providers, power companies, hospitals,            class had more than 246,000 class members, with damages
  insurance plans, shipping companies, airlines and Internet           estimated preliminarily at $608 million.
  companies                                                            RESULT:   $295 million settlement

> Deceptive practices in selling insurance and financial products
                                                                      > Tenet Healthcare
  and services such as life insurance and annuities
                                                                       In a pioneering suit filed by Hagens Berman, plaintiffs alleged that
> Predatory and other unfair lending practices, and fraudulent         Tenet Healthcare charged excessive prices to uninsured patients
 activities related to home purchases                                  at 114 hospitals owned and operated by Tenet subsidiaries in 16
                                                                       different states.
A few case examples are:
                                                                       RESULT:   Tenet settled and agreed to refund to class members

> Expedia Hotel Taxes and Service Fees Litigation                      amounts paid in excess of certain thresholds over a four-and-a-

 Hagens Berman led a nationwide class-action suit arising from         half year period.

 bundled “taxes and service fees” that Expedia collects when
 its consumers book hotel reservations. Plaintiffs alleged that by
 collecting exorbitant fees as a flat percentage of the room rates,
 Expedia violated both the Washington Consumer Protection Act




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PRACTICE AREAS

Consumer Protection - General Class Litigation

> Wells Fargo Force-Placed Insurance                                > Consumer Insurance Litigation
 Hagens Berman brought a case against Wells Fargo alleging it        Hagens Berman has pioneered theories to ensure that in first-
 used “force-placed” insurance clauses in mortgage agreements,       and third-party contexts consumers and health plans always
 a practice that enables the bank to charge homeowners               receive the treatment and benefits to which they are entitled.
 insurance premiums up to 10 times higher than normal rates.         Many of our cases have succeeded in expanding coverage owed
 RESULT:   Hagens Berman reached a settlement in this case, under    and providing more benefits; recovering underpayments of
 which all class members will be sent checks for more than           benefits; and returning uninsured/underinsured premiums from
 double the amount of commissions that Wells Fargo wrongfully        the misleading tactics of the insurer.
 extracted from the force placement of insurance on class
 members’ properties.




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PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

Hagens Berman aggressively pursues pharmaceutical industry litigation, fighting against waste,
fraud and abuse in healthcare. For decades, pharmaceutical manufacturers have been among
the most profitable companies in America. But while pharmaceutical companies become richer,
consumers, health plans and insurers pay higher costs for prescription and over-the-counter
drugs and supplements. We shine the light of public scrutiny on this industry’s practices and
represent individuals, direct and indirect purchasers, and the nation’s most forward-thinking
public-interest groups.


The firm’s pharmaceutical and dietary supplement litigation           > Prograf Antitrust Litigation
practice is second to none in the nation in terms of expertise,        Hagens Berman represented purchasers who alleged
commitment and landmark results. Hagens Berman’s attorneys             Astellas Pharma US, Inc. unlawfully maintained its
have argued suits against dozens of major drug companies and the       monopoly and prevented generic competition for Prograf, an
firm’s aggressive prosecution of pharmaceutical industry litigation    immunosuppressant used to help prevent organ rejection in
has recovered more than $1 billion in gross settlement funds.          transplant patients, harming purchasers by forcing them to pay
                                                                       inflated brand name prices for longer than they should have
RECENT ANTITRUST RESOLUTIONS
                                                                       absent the anticompetitive conduct.
In the last few years, Hagens Berman – as lead or co-lead class        RESULT:   The parties’ motion for final approval of the $98 million

counsel – has garnered significant settlements in several antitrust    class settlement is under advisement with the court.

cases involving prescription drugs. In each case, the plaintiffs
alleged that a manufacturer of a brand-name drug violated federal     > Relafen Antitrust Litigation

or state antitrust laws by delaying generic competitors from coming    Hagens Berman filed a class-action lawsuit against

to market, forcing purchasers to buy the more expensive brand          GlaxoSmithKline, SmithKline Beecham Corporation, Beecham

name version instead of the generic equivalent. Examples of our        Group PLC and SmithKline Beecham PLC, on behalf of

recent successes include:                                              consumers and third-party payors who purchased the drug
                                                                       Relafen or its generic alternatives. The suit alleged that the
> Flonase Antitrust Litigation                                         companies who manufacture and sell Relafen unlawfully obtained
  Hagens Berman represented purchasers in this case alleging           a patent which allowed them to enforce a monopoly over Relafen
  pharmaceutical giant GlaxoSmithKline filed petitions to prevent      and prevented competition by generic prescription drugs, causing
  the emergence of generic competitors to its drug Flonase, all to     consumers to pay inflated prices for the drug.
  overcharge consumers and purchasers of the drug, which would         RESULT:   Under the terms of the settlement, the defendants will pay
  have been priced lower had a generic competitor been allowed to      damages of $75 million to those included in the class. Of the total
  come to market.                                                      settlement amount, $25 million will be allocated to consumers
  RESULT:   $150 million class settlement.                             and $50 million will be used to pay the claims of insurers and
                                                                       other third-party payors.




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PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

> Skelaxin Antitrust Litigation                                         > Average Wholesale Price Drug Litigation
  The firm represented purchasers in this case alleging King              Hagens Berman served as co-lead counsel and lead trial counsel
  Pharmaceuticals LLC and Mutual Pharmaceutical Company                   in this sprawling litigation against most of the nation’s largest
  alleging conspired to suppress generic competition and preserve         pharma companies, which alleges defendants artificially inflated
  King’s monopoly in the market for the brand name muscle                 Average Wholesale Price.
  relaxant Skelaxin.                                                      RESULT:   Approximately $338 million in class settlements. Hagens
  RESULT:   $73 million class settlement.                                 Berman’s work in this area led to many state governments filing
                                                                          suit and hundreds of millions in additional recovery.
> Tricor Antitrust
  In June 2005, Hagens Berman filed an antitrust lawsuit on
                                                                        FRAUDULENT MARKETING RESOLUTIONS
  behalf of a class of consumers and third party payors against
  pharmaceutical manufacturers Abbott Laboratories and Fournier         Hagens Berman also litigates against drug companies that
  Industries concerning the brand name cholesterol drug Tricor.         fraudulently promote drugs for uses not approved by the Food and
  HBSS was appointed co-lead class counsel by the Court.                Drug Administration (FDA), commonly known as “off-label” uses.
  RESULT:   $65.7 million recovery for consumers and third party        We also litigate cases against dietary supplement manufacturers
  payers who sued Abbott Laboratories and Fournier Industies in         for making false claims about their products. Recent successes
  an antitrust action concerning the cholesterol drug Tricor.           include:

                                                                        > Neurontin Third Party Payor Litigation
FRAUDULENT DRUG PRICING RESOLUTIONS
                                                                          Hagens Berman served as co-lead trial counsel in this case
Hagens Berman has led many complex cases that take on fraud               alleging that Pfizer fraudulently and unlawfully promoted the drug
and inflated drug prices throughout the U.S. This includes                Neurontin for uses unapproved by the FDA.
sweeping manipulation of the average wholesale price benchmark            RESULT:   A jury returned a $47 million verdict in favor of a single
used to set prices for prescription drugs nationwide, fraudulent          third-party payor plaintiff, automatically trebled to $142 million,
marketing of prescription drugs and the rampant use of co-pay             and the court recently approved a $325 million class settlement.
subsidy cards that drive up healthcare costs. These efforts have led
to several significant settlements:                                     > Lupron
                                                                          Hagens Berman prosecuted a lawsuit against TAP
> McKesson and First DataBank Drug Litigation
                                                                          Pharmaceuticals Products, Inc. on behalf of a class of consumers
  The firm discovered a far-reaching fraud by McKesson and
                                                                          and third-party payors who purchased the drug Lupron. The
  became lead counsel in this RICO case against McKesson and
                                                                          suit charged that TAP Pharmaceutical Products, Inc., Abbott
  First DataBank, alleging the companies fraudulently inflated
                                                                          Laboratories and Takeda Pharmaceutical Company Limited
  prices of more than 400 prescription drugs.
                                                                          conspired to fraudulently market, sell and distribute Lupron,
  RESULT:   $350 million settlement and a four percent rollback on
                                                                          causing consumers to pay inflated prices for the drug.
  the prices of 95 percent of the nation’s retail branded drugs, the
                                                                          RESULT:   Judge Richard Stearns issued a preliminary approval of
  net impact of which could be in the billions of dollars. The states
                                                                          the proposed settlement between TAP Pharmaceuticals and the
  and federal government then used Hagens Berman’s work to
                                                                          class. Under the terms of the settlement, $150 million will be paid
  bring additional suits. Hagens Berman represented several states
                                                                          by TAP on behalf of all defendants.
  and obtained settlements three to seven times more than that of
  the Attorneys General. Almost $1 billion was recovered from the
  McKesson fraud.

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PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

> Celebrex/Bextra                                                      > Bayer Combination Aspirin/Supplement Litigation
 Hagens Berman filed a class-action lawsuit against Pfizer on           Hagens Berman served as lead counsel on behalf of consumers
 behalf of individual consumers and third-party payors who paid         in a suit alleging that Bayer Healthcare LLC deceptively marketed
 for the drug Bextra. The firm was praised by Judge Breyer for its      Bayer® Women’s Low-Dose Aspirin + Calcium, an 81 mg aspirin
 “unstinting” efforts on behalf of the class, adding, “The attorneys    pill combined with calcium, and Bayer® Aspirin With Heart
 on both sides were sophisticated, skilled, professional counsel        Advantage, an 81 mg aspirin pill combined with phytosterols.
 whose object was to zealously pursue their clients’ interest, but      Plaintiffs alleged that Bayer overcharged consumers for these
 not at the cost of abandoning the appropriate litigation goals,        products or that these products should not have been sold,
 which were to see, whether or not, based upon the merits of the        because these products were not FDA-approved, could not
 cases, a settlement could be achieved.”                                provide all advertised health benefits, and were inappropriate for
 RESULT:   $89 million settlement.                                      long-term use.
                                                                        RESULT:   $15 million settlement.
> Vioxx Third Party Payor Marketing and Sales Practices
 Litigation                                                            OTHER LANDMARK CASES
 The firm served as lead counsel for third party payors in
                                                                       > New England Compounding Center Meningitis Outbreak
 the Vioxx MDL, alleging that Merck & Co. misled physicians,
                                                                        In 2012, the Center for Disease Control confirmed that New
 consumers and health benefit providers when it touted Vioxx as a
                                                                        England Compounding Center sold at least 17,000 potentially
 superior product to other non-steroidal anti-inflammatory drugs.
                                                                        tainted steroid shots to 75 clinics in 23 states across the
 According to the lawsuit,
                                                                        country, resulting in more than 64 deaths and 751 cases of
 The drug had no benefits over less expensive medications, but
                                                                        fungal meningitis, stroke or paraspinal/peripheral joint infection.
 carried increased risk of causing cardiovascular events.
                                                                        HBSS attorneys Thomas M. Sobol and Kristen A. Johnson serve
 RESULT:   $80 million settlement.
                                                                        as Court-appointed Lead Counsel for the Plaintiffs’ Steering
                                                                        Committee on behalf of plaintiff-victims in MDL 2419 consolidated
> Serono Drug Litigation
                                                                        before The Honorable Ray W. Zobel in the United States District
 Hagens Berman served as lead counsel for a class of consumers
                                                                        Court for the District of Massachusetts.
 and third party payors in a suit alleging that global biotechnology
                                                                        RESULT:   $100 million settlement.
 company Serono, Inc. schemed to substantially increase sales of
 the AIDS drug Serostim by duping patients diagnosed with HIV
 into believing they suffered from AIDS-wasting and needed the
 drug to treat that condition.
 RESULT:   $24 million settlement.




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PRACTICE AREAS

Employment Litigation

Hagens Berman takes special interest in protecting workers from exploitation or abuse. We take
on race and gender discrimination, immigrant worker issues, wage and hour issues, on-the-job
injury settlements and other crucial workplace issues.

Often, employees accept labor abuses or a curbing of their           > Washington State Ferry Workers Wage Litigation
rights because they don’t know the law, respect their superiors       Represented “on-call” seamen who alleged that they were not
or fear for their jobs. We act on behalf of employees who may         paid for being “on call” in violation of federal and state law.
lack the individual power to bring about meaningful change in         RESULT:   Better working conditions for the employees and
the workplace. We take a comprehensive approach to rooting            rearrangement in work assignments and the “on-call” system.
out systemic employee abuses through in-depth investigation,
                                                                     > SunDance Rehabilitation Corporation
knowledgeable experts and fervent exploration of prosecution
                                                                      Filed a class action against SunDance challenging illegal wage
strategies. Hagens Berman is a firm well-versed in taking on
                                                                      manipulation, inconsistent contracts and other compensation
complicated employee policies and bringing about significant
                                                                      tricks used to force caregivers to work unpaid overtime.
results. Representative cases include:
                                                                      RESULT:   $3 million settlement of stock to be distributed out of the
> CB Richard Ellis Sexual Harassment Litigation                       company’s bankruptcy estate.
 Filed a class action against CB Richard Ellis, Inc., on behalf of
                                                                     > Schneider National Carriers - Regional Drivers
 16,000 current and former female employees who alleged that
                                                                      The firm represents a certified class of regional drivers in a
 the company fostered a climate of severe sexual harassment
                                                                      suit filed against Schneider National Carriers, claiming that the
 and discriminated against female employees by subjecting them
                                                                      company failed to pay its workers for all of their on duty time
 to a hostile, intimidating and offensive work environment, also
                                                                      devoted to a variety of work tasks, including vehicle inspections,
 resulting in emotional distress and other physical and economic
                                                                      fueling, and waiting on customers and assignments. The suit also
 injuries to the class.
                                                                      claims that the company does not provide proper meal and rest
 RESULT:   An innovative and unprecedented settlement requiring
                                                                      breaks and the company is liable for substantial penalties under
 changes to human resources policies and procedures, as well
                                                                      the California Labor Code.
 as the potential for individual awards of up to $150,000 per
                                                                      RESULT:   A $28 million settlement on behalf of drivers.
 class member. The company agreed to increase supervisor
 accountability, address sexually inappropriate conduct in the       > Schneider National Carriers - Mechanics
 workplace, enhance record-keeping practices and conduct annual       Hagens Berman filed a class-action lawsuit alleging that
 reviews of settlement compliance by a court appointed monitor.       Schneider National Carriers failed to provide mechanics with
                                                                      proper overtime compensation, meal and rest break premiums,
> Costco Wholesale Corporation Wage & Hour Litigation
                                                                      and accurate wage statements as required by California law.
 Filed a class action against Costco Wholesale Corporation
                                                                      RESULT:   In March of 2013, the case was settled on terms mutually
 on behalf of 2,000 current and former ancillary department
                                                                      acceptable to the parties.
 employees, alleging that the company misclassified them
 as “exempt” executives, denying these employees overtime
 compensation, meal breaks and other employment benefits.
 RESULT:   $15 million cash settlement on behalf of the class.




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PRACTICE AREAS

Employment Litigation

> Swift Transportation Co. of Arizona LLC
 The firm represents a certified class of Washington-based truck
 drivers against Swift Transportation. The suit alleges that Swift
 failed to pay the drivers overtime and other earned wages in
 violation of Washington state law.
 An agreement to settle the case was granted preliminary approval
 in October 2018. Final approval is pending.




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PRACTICE AREAS

Environmental Litigation

Since Hagens Berman’s founding, the firm has sought to work toward one simple goal: work
for the greater good. Hagens Berman has established a nationally recognized environmental
litigation practice, having handled several landmark cases in the Northwest, the nation and
internationally.
Hagens Berman believes that protecting and restoring our              > Chinook Ferry Litigation
environment from damage caused by irresponsible and illegal             The firm represented a class of property owners who challenged
corporate action is some of the most rewarding work a law               Washington State Ferries’ high-speed operation of a new
firm can do. As our firm has grown, we have established an              generation of fast ferries in an environmentally sensitive area of
internationally recognized environmental litigation practice.           Puget Sound. Two of the ferries at issue caused environmental
                                                                        havoc and property damage, compelling property owners to act.
SCIENCE AND THE LAW                                                     A SEPA study conducted in response to the suit confirmed the
Hagens Berman’s success in environmental litigation stems from a        adverse environmental impacts of the fast ferry service
deep understanding of the medical and environmental science that        RESULT: A $4.4 million settlement resulted that is among the most
measures potential hazards. That expertise is translated into the       favorable in the annals of class litigation in Washington state.
courtroom as our attorneys explain those hazards to a judge or jury
in easily understood terms.                                           > Grand Canyon Litigation
                                                                        The firm represented the Sierra Club in a challenge to a Forest
ENVIRONMENTAL EXPERTS
                                                                        Service decision to allow commercial development on the
Our firm’s fostered deep relationships with top-notch environmental
                                                                        southern edge of the Grand Canyon National Park.
experts result in resonating arguments and court victories, as well
                                                                        RESULT: The trial court enjoined the project.
as thoroughly researched and vetted investigations.
                                                                      > Kerr-McGee Radiation Case
REAL IMPACTS
                                                                        The firm brought a class action on behalf of residents of West
Environmental law is a priority at our firm and we have taken an
                                                                        Chicago, Illinois who were exposed to radioactive uranium tailings
active role in expanding this practice area. In 2003, Steve Berman
                                                                        from a rare earth facility operated by Kerr-McGee.
and his wife Kathy worked with the University of Washington to
                                                                        RESULT: A medical monitoring settlement valued in excess of $5
create the Kathy and Steve Berman Environmental Law Clinic,
                                                                        million
giving law students the training and opportunities needed to
become hands-on advocates for the environment.                        > Skagit Valley Flood Litigation
                                                                        Hagens Berman represented farmers, homeowners and
Hagens Berman’s significant environmental cases include:
                                                                        businesses who claimed damages as a result of the 1990 flooding
> Exxon Valdez Oil Spill Litigation                                     of this community. The case was in litigation for ten years and
  Hagens Berman represented various classes of claimants,               involved a jury trial of more than five months.
  including fisherman and businesses located in Prince William          RESULT: Following the entry of 53 verdicts against Skagit County,

  Sound and other impacted areas who were damaged by one of             the trial court entered judgments exceeding $6.3 million.
  the worst oil spills in United States history.                        Ultimately, the State Supreme Court reversed this judgment.
  RESULT: A $5 billion judgment was awarded by a federal jury,
                                                                        Despite this reversal, the firm is proud of this representation and
  and a $98 million settlement was achieved with Alyeska, the oil       believes that the Supreme Court erred.
  company consortium that owned the output of the pipeline.



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PRACTICE AREAS

Environmental Litigation
> Idaho Grass Burning Case                                                  seek an order requiring defendants to abate the global warming-
  In 2002, Hagens Berman brought a class-action lawsuit on                  induced sea level rise by funding an abatement program to build
  behalf of Idaho residents who claimed grass-burning farmers               sea walls and other infrastructure. Attorneys for the cities say
  released more than 785 tons of pollutants into the air, including         this abatement fund will be in the billions.
  concentrations of polycyclic aromatic hydrocarbons (PAHs),
  proven carcinogens. Burning the fields annually caused serious           > Florida Sugarcane Burning
  health problems, especially to those with respiratory ailments             Hagens Berman filed a class-action lawsuit against the sugar
  such as cystic fibrosis and asthma. The suit also asserted that            industry’s largest entities on behalf of residents of various
  Idaho’s grass burning policies are far below the standards of              areas and townships of Florida that have long suffered from
  other states such as neighboring Washington, where farmers use             the corporations’ wildly hazardous and damaging methods of
  other techniques to remove grass residue from the fields.                  harvesting sugarcane. The lawsuit states that this outdated
  RESULT: The lawsuit settled in 2006 under confidential terms.
                                                                             method of harvesting has wreaked havoc on these Florida
                                                                             communities. The wildly archaic method of harvesting brings
> Dole Bananas Case                                                          devastating toxic smoke and ash, often called “black snow,”
  The firm took on Dole Food Company Inc. in a class-action                  raining onto poor Florida communities for six months of the year.
  lawsuit claiming the world’s largest fruit and vegetable company           The lawsuit’s defendants, commonly known as Big Sugar, farm
  lied to consumers about its environmental record and banana-               sugarcane on approximately 400,000 acres in the area south and
  growing practices. The suit alleged that Dole misrepresented               southeast of Lake Okeechobee.
  its commitment to the environment in selling bananas from a
  Guatemalan banana plantation that did not comply with proper             > Kivalina Global Warming Litigation
  environmental practices.                                                   A tiny impoverished Alaskan village of Inupiat Eskimos took
  RESULT: The suit culminated in 2013. Dole and non-profit
                                                                             action against some of the world’s largest greenhouse gas
  organization Water and Sanitation Health, Inc. collaborated on a           offenders, claiming that contributions to global warming are
  water filter project to assist local communities in Guatemala.             leading to the destruction of their village and causing erosion
                                                                             to the land that will eventually put the entire community under
> Diesel Emissions Litigation                                                water. Hagens Berman, along with five law firms and two non-
  Second to none in uncovering emissions-cheating, the firm                  profit legal organizations, filed a suit against nine oil companies
  has dedicated its time and resources to breaking up the dirty              and 14 electric power companies that emit large quantities of
  diesel ring. After filing the first lawsuit in the country against         greenhouse gases into the atmosphere. The lawsuit alleged their
  Volkswagen, Audi and Porsche for its massive Dieselgate scandal            actions resulted in the destruction of protective ice, exposing the
  in 2015, the firm went on to unmask emissions-cheating devices             village to severe storms that destroy the ground the village stands
  installed in vehicles made by Fiat Chrysler, Mercedes and General          on. Relocating the village of Kivalina could cost between $95 and
  Motors and continues to investigate diesel cars for excessive,             $400 million, an expense the community cannot afford.
  illegal and environmentally harmful levels of emissions.
  RESULT: The firm’s independently researched active cases have led
                                                                           > Cane Run Power Plant Coal Ash Case
  to investigations by the EPA, DOJ and European authorities.                In 2013, Hagens Berman filed a class-action lawsuit against
                                                                             Louisville Gas and Electric Company alleging it illegally dumped
> San Francisco and Oakland Climate Change Litigation                        waste from a coal-fired power plant onto neighboring property
  Hagens Berman represents the cities of San Francisco and                   and homes where thousands of Kentucky residents live.
  Oakland, Calif. in two lawsuits filed against BP, Chevron Corp.,           According to the complaint, Louisville Gas and Electric Company’s
  Exxon Mobil Corp., Royal Dutch Shell PLC and ConocoPhillips                Cane Run Power Plant is fueled by the burning of coal, which
  alleging that the Big Oil giants are responsible for the cities’ costs     also produces coal combustion byproducts—primarily fly ash and
  of protecting themselves from global warming-induced sea level             bottom ash—that contain significant quantities of toxic materials,
  rise, including expenses to construct seawalls to protect the two          including arsenic, chromium and lead. The dust spewed by Cane
  cities’ more than 5 million residents. The newly filed case                Run contains known carcinogens, posing significant potential
                                                                             health hazards.
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PRACTICE AREAS

Governmental Representation

Hagens Berman has been selected by public officials to represent government agencies and
bring civil law enforcement and damage recoupment actions designed to protect citizens and
the treasury. We understand the needs of elected officials and the obligation to impartially and
zealously represent the interests of the public, are often chosen after competitive bidding and
have been hired by officials from across the political spectrum.

Hagens Berman has assisted governments in recovering billions of          RESULT:   Hagens Berman has started the AWP class action, which
dollars in damages and penalties from corporate wrongdoers and,           resulted in many states filing cases. The firm represented several
in the process, helped reform how some industries do business.            of those states in successful litigation.
In serving government, we are often able to leverage the firm’s
                                                                         > McKesson Government Litigation
expertise and success in related private class-action litigation.
                                                                          On the heels of Hagens Berman’s class action against McKesson,
Successes on behalf of government clients include:
                                                                          the firm led lawsuits by states (Connecticut, Utah, Virginia,
> Big Tobacco                                                             Montana, Arizona).
  We represented 13 states in landmark Medicaid-recoupment                RESULT:   These states obtained recoveries three to seven times
  litigation against the country’s major tobacco companies. Only          larger than states settling in the multi-state Attorneys General
  two states took cases to trial – Washington and Minnesota. The          settlement. In addition, the firm obtained $12.5 million for the City
  firm served as trial counsel for the state of Washington, becoming      of San Francisco and $82 million for a nationwide class of public
  only one of two private firms in the entire country to take a state     payors.
  case to trial.
                                                                         > Zyprexa Marketing & Sales Practices Litigation - Connecticut
  Hagens Berman was instrumental in developing what came to               Hagens Berman served as outside counsel to then-Attorney
  be accepted as the predominant legal tactic to use against the          General Richard Blumenthal in litigation alleging that Lilly
  tobacco industry: emphasizing traditional law enforcement claims        engaged in unlawful off-label promotion of the atypical
  such as state consumer protection, antitrust and racketeering           antipsychotic Zyprexa. The litigation also alleged that Lilly made
  laws. This approach proved to be nearly universally successful          significant misrepresentations about Zyprexa’s safety and
  at the pleading stage, leaving the industry vulnerable to a profits-    efficacy, resulting in millions of dollars in excess pharmaceutical
  disgorgement remedy, penalties and double damages. The firm             costs borne by the State and its taxpayers.
  also focused state legal claims on the industry’s deplorable            RESULT:   $25 million settlement.
  practice of luring children to tobacco use.
                                                                         > General Motors Ignition Switch Litigation
  RESULT:   $260 billion for state programs, the largest settlement in
                                                                          Hagens Berman is pleased to be assisting the Arizona Attorney
  the history of civil litigation in the U.S.
                                                                          General in its law enforcement action versus GM, as well as
> McKesson Average Wholesale Price Litigation                             the district attorney of Orange County, California who filed a
  This litigation is yet another example of fraudulent drug price         consumer protection lawsuit against GM, claiming the automaker
  inflation impacting not just consumers and private health               deliberately endangered motorists and the public by intentionally
  plans, but public health programs such as Medicaid and local            concealing widespread, serious safety defects.
  government-sponsored plans as well.



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PRACTICE AREAS

Governmental Representation

> State Opioid Litigation                                              > Municipal Lending
 Hagens Berman was hired to assist multiple municipalities in           Hagens Berman represents the cities of Los Angeles and Miami
 lawsuits brought against large pharmaceutical manufacturers            in a series of lawsuits filed against the nation’s largest banks,
 including Purdue Pharma, Cephalon, Janssen Pharmaceuticals,            including CitiGroup, JP Morgan, Wells Fargo and Bank of America
 Endo Health Solutions and Actavis charging that these companies        alleging that they engage in systematic discrimination against
 and others deceived physicians and consumers about the                 minority borrowers, resulting in reduced property tax receipts
 dangers of prescription painkillers.                                   and other damages to the cities. The suits seek damages for the
                                                                        City, claiming that the banks’ alleged discriminatory behavior
 The firm was first hired by California governmental entities for
                                                                        resulted in foreclosures, causing a reduction of property tax
 the counties of Orange and Santa Clara. The state of Mississippi
                                                                        revenues and increased municipal service costs.
 also retained the firm’s counsel in its state suit brought against
 the manufacturer of opioids. The suit alleges that the pharma
 companies engaged in tactics to prolong use of opioids despite
 knowing that opioids were too addictive and debilitating for long-
 term use for chronic non-cancer pain.

 In a third filing, Hagens Berman was retained as trial counsel
 for the state of Ohio. Filed on May 31, 2017, the firm is assisting
 the Ohio Attorney General’s office in its case against five opioid
 makers. Ohio Attorney General Mike DeWine stated that “drug
 companies engaged in fraudulent marketing regarding the risks
 and benefits of prescription opioids which fueled Ohio’s opioid
 epidemic,” and that “these pharmaceutical companies purposely
 misled doctors about the dangers connected with pain meds that
 they produced, and that they did so for the purpose of increasing
 sales.”




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PRACTICE AREAS

Intellectual Property

The Hagens Berman intellectual property team has deep experience in all aspects of intellectual
property litigation. We specialize in complex and significant damages cases against some of the
world’s largest corporations.

The firm is primarily engaged in patent infringement litigation         > Oracle
at this time. We seek to represent intellectual property owners,         The firm represents Thought Inc. against Oracle Corporation in
including inventors, universities, non-practicing entities, and other    a suit alleging infringement of seven patents covering various
groups whose patent portfolios represents a significant creative         aspects of middleware systems providing application to database
and capital investment.                                                  mapping, reading and persistence.

Our current and recent engagements include the following:               > Salesforce
                                                                         The firm represents Applications in Internet Time LLC in patent
> Bombadier Inc.
                                                                         litigation against Salesforce Inc. The suit alleges that our client’s
  The firm represented Arctic Cat Inc. in patent infringement
                                                                         patents cover the core architecture of Salesforce’s platform for
  litigation against Bombardier Recreational Products and BRP U.S.
                                                                         developing, customizing, and updating cloud-based software
  Inc. The complaint alleges that Bombardier’s Sea-Doo personal
                                                                         applications.
  watercraft infringe Arctic Cat’s patents covering temporary
  steerable thrust technology used when the rider turns in off-         > Nintendo
  throttle situations.                                                   The firm represented Japan-based Shinsedai Company in patent
  RESULT:   Florida U.S. District Judge Beth Bloom issued a final        infringement litigation against Nintendo. The suit alleged that our
  judgment of $46.7 million against defendants, trebling initial         client’s patents were infringed by various sports games for the
  damages of $15.5 million awarded in a unanimous jury verdict.          Nintendo Wii.

> Angry Birds
  Hagens Berman represented a Seattle artist who filed a lawsuit
  against Hartz Mountain Corporation – one of the nation’s largest
  producers of pet-related products – claiming the company
  illegally sold the artist’s trademarked Angry Birds pet toy line to
  video game giant Rovio Entertainment Ltd, robbing her of millions
                                                                            Unlike other intellectual property firms,
  of dollars of royalty fees.                                               Hagens Berman only represents plaintiffs.
            The case settled under confidential terms, which the firm
  RESULT:
                                                                            This reduces the risk of potential conflicts
  found to be extremely satisfactory for the plaintiff.
                                                                            of interest which often create delays in
> Samsung, LG, Apple
  The firm represents FlatWorld Interactives LLC in patent litigation
                                                                            deciding whether or not to take a case at
  against Samsung, LG and Apple. The complaints allege that the             larger firms.
  defendants’ mobile handsets, tablets, media players and other
  devices infringe a FlatWorld patent covering the use of certain
  gestures to control touchscreen displays.
  RESULT:   The case settled.

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PRACTICE AREAS

Intellectual Property

> Electronic Arts
  Hagens Berman represents the original software developer of the
  Electronic Arts (EA) NFL Madden Football video game series in
  a suit alleging that he is owed royalties on EA Madden NFL titles
  as well as other derivative products. We prevailed in two trials
  against EA, and the verdicts were designated as the Top Verdict
  of the Year (2013) by The Daily Journal. The judgment is on
  appeal and if upheld will return for a final damages phase.

Hagens Berman is also skilled in other aspects of intellectual
property law, including trademark, trade dress, trade secret and
copyright litigation.




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PRACTICE AREAS

Investor Fraud - Individual and Class Action Litigation

Investing is a speculative business involving assessment of a variety of risks that can only be
properly weighed with full disclosure of accurate information. No investor should suffer undue
risk or incur losses due to misrepresentations related to their investment decisions.

Our attorneys work for institutional and individual investors           > Boeing
defrauded by unscrupulous corporate insiders and mutual funds.           Uncovered critical production problems with the 777 airliner
The firm vigorously pursues fraud recovery litigation, forcing           documented internally by Boeing, but swept under the rug until a
corporations and mutual funds to answer to deceived investors.           pending merger with McDonnell Douglas was completed.
                                                                         RESULT:   Record-breaking settlement of more than $92.5 million.
Hagens Berman is one of the country’s leading securities litigation
firms advising clients in both individual and class-action cases. The   > J.P. Morgan – Madoff
firm has experience, dedication and a team with the horsepower           Case alleges that banking and investment giant J.P. Morgan was
required to drive complex cases to exemplary outcomes. Our               complicit in aiding Bernard Madoff’s Ponzi scheme. Investors
attorneys are authorities in an array of issues unique to federal        claim that J.P. Morgan operated as Bernard L. Madoff Investment
and state securities statutes and related laws. We use a variety of      Securities LLC’s primary banker for more than 20 years.
highly experienced experts as an integral part of our prosecution        RESULT:   $218 million settlement amount for the class and a total
team. Successes on behalf of our investor clients include:               of $2.2 billion paid from JPMorgan that will benefit victims of
                                                                         Madoff’s Ponzi scheme.
> Charles Schwab Securities Litigation
 Lead counsel, alleging fraud in the management of the Schwab           > Morrison Knudsen
 YieldPlus mutual fund.                                                  Filed a shareholder class action, alleging that MK’s senior officers
 RESULT:   $235 million class settlement for investors.                  concealed hundreds of millions in losses.
                                                                         RESULT:   More than $63 million for investors.
> Oppenheimer
 Additional counsel for lead plaintiffs in class action alleging        > Raytheon/Washington Group
 Oppenheimer misled investors regarding its Champion and Core            Charged Raytheon with deliberately misrepresenting the true
 Bond Funds.                                                             financial condition of Raytheon Engineers & Constructors division
 RESULT:   $100 million for the classes.                                 in order to sell this division to the Washington Group at an
                                                                         artificially inflated price.
> Tremont
                                                                         RESULT:   $39 million settlement.
 Co-lead counsel in a case alleging Tremont Group Holdings
 breached its fiduciary duties by turning over $3.1 billion to          > U.S. West
 Bernard Madoff. On Sept. 14, 2015, after nearly two years of            Represented shareholders of U.S. West New Vector in a
 negotiations and mediation, the court granted final approval of         challenge to the proposed buyout of minority shareholders by
 the plan of allocation and distribution of the funds which markets      U.S. West.
 estimate could yield investors as much as $1.45 billion.                RESULT:   The proposed buyout was stayed, and a settlement was
 RESULT:   $100 million settlement between investors, Tremont and        achieved, resulting in a $63 million increase in the price of the
 its affiliates.                                                         buyout.




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PRACTICE AREAS

Investor Fraud - Individual and Class Action Litigation

Our current casework includes:                                          a default judgment in the amount of $535 million and certified
                                                                        a proposed class against China Media Express Holdings Inc.
> Theranos Investor Litigation                                          The case will proceed separately against Deloitte Touche
 Hagens Berman represents Theranos investors in a lawsuit that          Tohmatsu.
 states that Theranos and its officers set in motion a publicity        On May 6, 2015 Hagens Berman obtained a $12 million
 campaign to raise billions of dollars for Theranos and themselves,     settlement from Deloitte Touche Tohmatsu, one of the largest
 and to induce investors to invest in Theranos, all the while           settlements against an auditor in a Chinese “reverse merger”
 knowing that its “revolutionary” blood test technology was             case which is now awaiting final approval from the court.
 essentially a hoax. The suit filed against the company, its CEO
                                                                       > Altisource Asset Management Corporation
 Elizabeth Holmes and Ramesh Balwani, alleges that Theranos’
                                                                         The firm was appointed lead counsel in this institutional
 statements to investors were built on false statements. At the
                                                                         investor lawsuit brought on behalf of purchasers of Altisource
 crux of the court’s recent decision to uphold the investor case         Asset Management Corporation (AAMC). The complaint
 against Theranos was a finding that while plaintiffs did not            alleges that AAMC misrepresented or outright concealed its
 directly purchase their securities from defendants, claims made         relationship with these companies and the extent to which
 by Theranos, Holmes and Balwani constituted fraud.                      the interconnected entities engaged in conflicted transactions
                                                                         with themselves. Estimates of class-wide damages are in the
> Aequitas Investor Litigation                                           hundreds of millions of dollars. The firm recently filed the
 The firm represents a group of investors alleging that national         consolidated complaint and motions to dismiss are pending
 law firm Sidley Austin LLP, Oregon law firm Tonkon Torp LLP             before the U.S. District Court for the District of the Virgin
 and accounting firms Deloitte & Touche LLP and EisnerAmper             Islands.
 LLP violated Oregon securities laws by participating or materially
 aiding in misrepresentations made by Aequitas Management              WHISTLEBLOWERS
 LLC and contributing to a $350 million Ponzi scheme. Investors
                                                                       In an effort to curb Wall Street excesses, Congress passed the
 state, amongst other allegations, that in 2011 Aequitas began
                                                                       Dodd-Frank Wall Street Reform and Consumer Protection Act,
 purchasing loan receivables from Corinthian College Inc. and
                                                                       which built vigorous whistleblower protections into the legislation
 had bought the rights to collect $444 million in loans. Investment
                                                                       known as the “Wall Street Tip-Off Law.” The law empowers the
 managers hid the details of the transactions from investors,
                                                                       U.S. Securities and Exchange Commission to award between 10
 and deceived them when Corinthian’s business was hit with
                                                                       and 30 percent of any monetary sanctions recovered in excess of
 regulatory challenges in 2014. When Corinthcollapsed in May
                                                                       $1 million to whistleblowers who provide information leading to a
 2015, the investment group and its managers continued to sell
                                                                       successful SEC enforcement. It also provides similar rewards for
 securities and used the money to pay off other investors and fund
                                                                       whistleblowers reporting fraud in the commodities markets.
 a lavish lifestyle, until Aequitas ultimately imploded in 2017, the
 investors claim.                                                      Hagens Berman represents whistleblowers with claims involving
                                                                       violations of the Securities Exchange Act and the Commodities
> China MediaExpress
                                                                       Exchange Act. Unlike traditional whistleblower firms who have
  Hagens Berman represents investors in a case against China
                                                                       pivoted into this area, Hagens Berman has a strong background
  MediaExpress, which purported to be the owner of a network
                                                                       and history of success in securities, antitrust and other areas of
  of advertising terminals on buses throughout China. The case
  alleges that the company and its auditor (Deloitte Touche            fraud enforcement, making us an ideal partner for these cases. Our
  Tohmatsu) participated in accounting fraud that ultimately led       matters before the SEC/CFTC include a range of claims, including
  to the demise of the company. In early 2014, the court entered       market manipulation and fraudulent financial statements.


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PRACTICE AREAS

Investor Fraud - Institutional Investor Portfolio Monitoring
and Recovery Services
Hagens Berman is a leading provider of specialized securities litigation services to public,
private and Taft-Hartley pension funds. We offer proprietary and unparalleled asset protection
and recovery services to both foreign and domestic institutions. Our institutional services
provide participants with the ability to identify, investigate and react to potential wrongdoing by
companies in which the institution invests.

PORTFOLIO MONITORING. Timely information and analysis are                 Our Portfolio Monitoring Service performs its functions with
the critical ingredients of a successful fraud recovery program.          almost no inconvenience to participating institutions. A client’s
Institutions must receive quick, reliable determinations concerning       custodian bank provides us with records detailing the client’s
the source and extent of their losses, the likelihood of recoupment       transactions from the prior several years and on a regular basis
and the best manner for pursuing it. Our Portfolio Monitoring             thereafter. Importantly, none of the institution’s own personnel is
Service provides these services at no cost to participating               required to share in this task, as we acquire the information directly
institutions. The Hagens Berman Portfolio Monitoring Service has          from the custodian bank.
three primary components:
                                                                          We provide our Portfolio Monitoring service with no strings
TRACKING. Alerts clients of any significant portfolio losses due to       attached and allow our clients to act without cost or commitment.
suspected fraud.                                                          In instances where a litigation opportunity arises, we believe our
                                                                          skills make us the ideal choice for such a role, although the client is
ANALYSIS. Provide clients with necessary legal and factual
                                                                          free to choose others.
analyses regarding possible recovery options, removing from the
institution any burden connected with scrutinizing myriad instances       When a portfolio loses money because of corporate deception,
of potential wrongdoing and attempt to decipher whether direct,           our litigation services seek to recover a substantial percentage of
recoverable injuries have resulted.                                       those losses, thereby increasing a fund’s performance metric. As
                                                                          fiduciaries, money managers may not have the ability or desire
REPORTING. Attorneys and forensic accounting fraud experts
                                                                          to risk funds on uncertain litigation using typical hourly-rate law
deliver a concise monthly report that furnishes comprehensive
                                                                          firms. Hagens Berman seeks to minimize the burden on the money
answers to these inquiries. On a case-by-case basis, the report
                                                                          manager by pursuing cases on a contingent-fee basis.
specifies each of the securities in which the client lost a significant
amount of money, and matches those securities with an analysis
of potential fraud likelihood, litigation options and an expert
recommendation on how best to proceed for maximum recovery.




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PRACTICE AREAS

Personal Injury and Abuse

For nearly two decades, Hagens Berman’s blend of professional expertise and commitment to
our clients has made our firm one of the most well-respected and successful mass tort and
personal injury law firms in the nation. We deliver exceptional results for our clients by obtaining
impressive verdicts and settlements in personal injury litigation.

Our attorneys have experience in wrongful death, brain injury           elderly adults, are responsible for critical aspects of the lives of
and other catastrophic injury cases, as well as deep experience         tens of thousands of citizens who are unable to protect themselves.
in social work negligence, medical malpractice, nursing home            Many social workers do a fine job. Tragically, many do not. The
negligence and sexual abuse cases.                                      results are often catastrophic when a social worker fails to monitor
                                                                        and protect his or her vulnerable client. All too often, the failure
Hagens Berman also has unparalleled experience in very specific
                                                                        to protect a child or disabled citizen leads to injury or sexual
areas of abuse law, recovering damages on behalf of some of the
                                                                        victimization by predators. With more than $40 million in recoveries
most vulnerable people in our society.
                                                                        on behalf of vulnerable citizens who were neglected by social
Sexual Abuse Litigation Hagens Berman has represented a wide            workers, Hagens Berman is the most experienced, successful and
spectrum of individuals who have been victims of sexual abuse,          knowledgeable group of attorneys in this dynamic area of the law.
including children and developmentally disabled adults. We treat
                                                                        Workplace Injury While many workplace injury claims are
each case individually, with compassion and attention to detail and
                                                                        precluded by workers compensation laws, many instances of
have the expertise, resources and track record to stand up to the
                                                                        workplace injury are caused by the negligence and dangerous
toughest opponents. In the area of sexual abuse, our attorneys have
                                                                        oversight of third parties. In these instances, victims may have
obtained record-breaking verdicts, including the largest personal
                                                                        valid claims. Hagens Berman’s personal injury legal team has
injury verdict ever upheld by an appellate court in the state of
                                                                        successfully brought many workplace injury claims, holding third
Washington. More about Hagens Berman’s sexual abuse practice ca
                                                                        parties liable for our clients’ serious bodily injuries.
be found on the following page.
                                                                        Medical Malpractice Litigating a medical malpractice case takes
Nursing Home Negligence Nursing home negligence is a growing
                                                                        acute specialization and knowledge of medical treatments and
problem throughout the nation. As our population ages, reports of
                                                                        medicine. Notwithstanding these facts, Hagens Berman pursues
elder abuse and nursing home negligence continue to rise. Today,
                                                                        meritorious medical malpractice claims in instances where clients
elder abuse is one of the most rapidly escalating social problems
                                                                        have suffered life-altering personal injuries. Our firm’s personal
in our society. Hagens Berman is uniquely qualified to represent
                                                                        injury attorneys handle medical malpractice cases with the
victims of elder abuse and nursing home negligence. Our attorneys
                                                                        dedication and detail necessary to make victims whole. Hagens
have secured outstanding settlements in this area of the law
                                                                        Berman is very selective in accepting medical malpractice cases
and have committed to holding nursing homes accountable for
                                                                        and has been successful in recovering significant compensation for
wrongdoing.
                                                                        victims of medical error and negligence.
Social Work Negligence Social workers play a critical role in the
daily lives of our nation’s most vulnerable citizens. Social workers,
assigned to protect children, the developmentally disabled and




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PRACTICE AREAS

Sexual Abuse and Harassment

Hagens Berman’s attorneys recently achieved a nationwide sexual harassment settlement on
behalf of 16,000 women and also tried the first ever sexual harassment case in Washington
state, and has represented women violated by Harvey Weinstein, as well as USC alumnae
abused by the university’s former gynecologist, Dr. George Tyndall. Our firm is committed to
protecting and empowering individuals.

At Hagens Berman, we believe no one is above the law, and that          In these industries, victims are routinely subjected to widespread
no position of power should shield someone from being held              policies and practices that create an environment promoting quid
accountable.                                                            pro quo arrangements in which victims feel pressured to take part
                                                                        in sexual acts and feel powerless against unwanted advancements.
Right now, we are witnessing the silencing, belittling and abuse
                                                                        Victims are also often punished for not taking part.
that women everywhere in this nation are subjected to. They are
subjected to a system that does not respect them. The backlash          The firm has represented women violated by Harvey Weinstein,
against the brave survivors who have stepped forward to report          as well as USC alumnae abused by the university’s former
sexual assault is unacceptable.                                         gynecologist, Dr. George Tyndall, tried the first ever sexual
                                                                        harassment case in Washington state, and achieved a nationwide
We believe survivors. Our firm’s sexual harassment attorneys
                                                                        sexual harassment settlement on behalf of 16,000 women.
have protected their rights for decades throughout their legal
careers, and we are dedicated to upholding the rights of the most       Representative sexual harassment successes and cases on behalf
vulnerable. Women should be heard, respected and protected from         of our clients include:
systemic abuse.
                                                                        > USC, Dr. Tyndall Sexual Harassment
Sexual harassment is present and pervasive in many workplaces,            In May of 2018, Hagens Berman filed a class-action lawsuit
industries and professional environments, and has damaged the             against the University of Southern California (USC) and Dr.
lives and careers of countless individuals. It affects hundreds of        George Tyndall, the full-time gynecologist at USC’s student health
thousands of women and men in the U.S., 51 percent of which are           clinic. Tyndall sexually harassed, violated and engaged in wildly
harassed by an authority figure, making it harder to come forward         inappropriate behavior with female students who sought his
for fear of retaliation.                                                  medical care, according to news outlets, which stated he saw
                                                                          tens of thousands of female patients during his time at USC.
All too often, acts of sexual harassment and sexual misconduct
are protected by systemic cover-ups by companies and organized            Official complaints of Dr. Tyndall’s behavior began to surface at
agreements between those in power. Particular industries are more         USC in the 1990s, but despite the university’s knowledge of Dr.
susceptible to these cover-ups including: entertainment and sports        Tyndall’s behavior, it did not report him to the agency responsible
media, STEM, law enforcement, food service, politics, military, tech,     for protecting the public from problem doctors. USC did nothing,
finance, hospitality and transportation. But sexual harassment is         for decades, as more and more female students were sent into
pervasive in many other environments and is often obscured from           Dr. Tyndall’s office.
view for years.
                                                                          The settlement’s three-tier structure allows class members to



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PRACTICE AREAS

Sexual Abuse and Harassment

 choose how much they want to engage with the claims process.          > Fairfax Behavioral Health
 Those who do not want to revisit a private, traumatic event can        Attorneys from Hagens Berman filed a class-action complaint
 simply keep the guaranteed Tier 1 payment of $2,500. Those             on behalf of a proposed class of hundreds of patients that were
 who choose to provide additional information in a claim form           arbitrarily strip-searched and video recorded while receiving
 about their experience with Tyndall and how it affected them are       treatment for mental illness at one of three Fairfax locations in
 eligible for up to $20,000 and those who choose to provide an          Washington state.
 interview are eligible for up to $250,000. The special master and
                                                                        The suit’s named plaintiff recalls being ordered to undress for an
 her team of experts will evaluate claims and allocate awards to
                                                                        invasive strip-search when she presented for inpatient admission,
 Tier 2 and Tier 3 claimants. This focus on choice ensures that
                                                                        even after disclosing her history of sexual abuse to the staff
 all class members receive compensation while giving each class
                                                                        member. She was not given a gown or towel to cover up during
 member the autonomy to decide for herself how involved she
                                                                        the search, and the staff member watched her undress and left
 wants to be in the settlement process.
                                                                        the door open where other staff members could see her.
 The class-action settlement also goes beyond monetary
                                                                        Video cameras were located in the hallway, the holding area
 compensation and forces USC to implement real changes to their
                                                                        outside bathroom, and the room where the strip search was
 policies and procedures to help ensure that what happened at
                                                                        conducted. The cameras recorded her undressing and the strip-
 USC does not happen again.
                                                                        search.
 RESULT:   $215 million settlement

                                                                        The complaint states that Fairfax’s practices—and its failure to
> Harvey Weinstein Sexual Harassment
                                                                        limit the discretion of its staff—means that a substantial number
 In a first-of-its-kind class-action lawsuit, Hagens Berman
                                                                        of its mental health patients do not have reasonable access to
 represented women on behalf of a class of all victims who were
                                                                        inpatient care for mental health disorders.
 harassed or otherwise assaulted by Harvey Weinstein, seeking
 to hold him and his co-conspirators accountable for a years-long      > CB Richard Ellis Sexual Harassment Litigation
 pattern of sexual harassment and cover-ups.                            Filed a class action against CB Richard Ellis, Inc., on behalf of
                                                                        16,000 current and former female employees who alleged that
 The lawsuit, filed Nov. 15, 2017, in the U.S. District Court for
                                                                        the company fostered a climate of severe sexual harassment
 the Central District of California states that Miramax and The
                                                                        and discriminated against female employees by subjecting them
 Weinstein Company (which Weinstein co-founded) facilitated
                                                                        to a hostile, intimidating and offensive work environment, also
 Weinstein’s organized pattern of predatory behavior, equating to
                                                                        resulting in emotional distress and other physical and economic
 an enterprise that violates the Racketeer Influenced and Corrupt
                                                                        injuries to the class.
 Organizations Act, commonly referred to as the RICO Act, the
                                                                        RESULT:   An innovative and unprecedented settlement requiring
 same law brought against members of the Mafia for organized
                                                                        changes to human resources policies and procedures, as well
 criminal behavior.
                                                                        as the potential for individual awards of up to $150,000 per
 The lawsuit brought various charges against Weinstein and his          class member. The company agreed to increase supervisor
 companies for violating the RICO Act, mail and wire fraud, assault,    accountability, address sexually inappropriate conduct in the
 civil battery, negligent supervision and retention, and intentional    workplace, enhance record-keeping practices and conduct annual
 infliction of emotional distress.                                      reviews of settlement compliance by a court appointed monitor.
 RESULT:   Settlement reached



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PRACTICE AREAS

Sexual Abuse and Harassment

> King County Child Sex Abuse                                               > Workplace Sexual Harassment & Other Investigations
 Hagens Berman represented the victim of eight years of sexual               Sexual harassment is present and pervasive in many workplaces.
 abuse as a minor, at the hands of her brother-in-law. The lawsuit           It affects hundreds of thousands of women and men in the U.S.,
 states that from 2005 to 2012, the case’s defendant repeatedly              51 percent of which are harassed by a supervisor, making it
 sexually abused Hagens Berman’s client. She was only eleven                 harder to come forward for fear of retaliation.
 years old when the abuse began and was a minor during the
                                                                             All too often, sexual harassment in the workplace is protected by
 entire duration of the abuse. In 2013, the state of Washington
                                                                             systemic cover-ups by companies and those in power. Particular
 charged Willis with three counts of child molestation, to which he
                                                                             industries are more susceptible to these cover-ups including:
 pled guilty. Court documents state, “Joshua Blaine Willis used his
                                                                             commercial real estate, law enforcement, politics, military, tech,
 position of trust, confidence, or fiduciary responsibility to facilitate
                                                                             entertainment, sports media, finance, restaurants and hospitality,
 the commission of the … offense[s]…”
                                                                             advertising and trucking.
 Court documents in the civil case filed in June of 2017 detail
                                                                             In these industries, employees are routinely subjected to
 Willis’ highly disgusting and horrifying actions including groping
                                                                             widespread policies that create an environment promoting quid
 and molestation, exposing himself and other highly sexual and
                                                                             pro quo arrangements in which they feel pressured to take part in
 inappropriate behavior.
                                                                             sexual acts and feel powerless against unwanted advancements.
 Following the years of sexual abuse, Hagens Berman’s client                 Employees are also often punished for not taking part.
 suffers from Post-Traumatic Stress Disorder and the court
                                                                             Hagens Berman is also investigating sexual harassment and
 awarded damages for treatment of her condition and other
                                                                             abuse in various specific areas of study, including STEM
 emotional distress, as well as loss of earning capacity and
                                                                             programs. The also maintains a keen watch over various
 other economic damages in her “struggle with consistency and
                                                                             work environments that are statistically prone to instances of
 stability.”
                                                                             misconduct. These include hospitality, college campuses and
 RESULT:   $4,031,000 judgment awarded in a King County Superior
                                                                             research labs, boarding schools and the entertainment industry,
 Court
                                                                             especially within the area of professional music.
> State of Washington Sexual Assault, DSHS
                                                                             The firm remains committed to uncovering instances of sexual
 Our client, a disabled Spokane, Wash. woman, was a patient
                                                                             harassment in the workplace, and within fields of study and areas
 at Eastern State Hospital. The hospital assigned a male nurse
                                                                             prone to harboring misconduct and abusive behavior.
 to provide one-on-one care and supervision for our client.
 The nurse trapped our client in a laundry room and raped her.
 Hagens Berman determined that the nurse, a state employee,
 had been reprimanded and accused on previous occasions of
 sexual assault of vulnerable patients. Hagens Berman initiated
 a negligence and civil rights lawsuit against the hospital and
 its administrators for failing to protect our client from a known
 sexual predator and for allowing that predator to remain on staff
 with the responsibility to care for vulnerable patients.
 RESULT:   $2.5 million settlement



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PRACTICE AREAS

Sports Litigation

Hagens Berman has one of the nation’s most highly regarded sports litigation law practices.
Our attorneys are the vanguard of new and innovative legal approaches to protect the rights
of professional and amateur athletes in cases against large, well-financed interests, including
the National Collegiate Athletic Association (NCAA), the National Football League (NFL), the
Fédération Internationale de Football Association (FIFA) and other sports governing institutions.

> NCAA: Scholarships/Grants-In-Aid (GIAs)                               > NCAA: Concussions
 In a first-of-its-kind antitrust action and potentially far-reaching    Cases of particular nationwide interest for fans, athletes and the
 case, Hagens Berman filed a class-action affecting approximately        general public involve numerous cases filed by Hagens Berman
 40,000 Division I collegiate athletes who played men’s or               against the NCAA. Recently, the firm took on the NCAA for its
 women’s basketball, or FBS football, brought against the NCAA           failure to prevent concussions and protect student-athletes
 and its most powerful members, including the Pac-12, Big Ten,           who suffered concussions. Steve Berman served as lead
 Big-12, SEC and ACC, claiming they violated federal antitrust laws      counsel in multi-district litigation and led the firm to finalize a
 by drastically reducing the number of scholarships and financial        settlement bringing sweeping changes to the NCAA’s approach
 aid student-athletes receive to an amount below the actual cost         to concussion treatment and prevention. The core settlement
 of attendance and far below what the free market would bare.            benefits include a 50-year medical monitoring program overseen
                                                                         by a medical science committee appointed by the court that will
 The case resulted in a $208.9 million settlement, bringing an
                                                                         screen and track concussions, funded by a $70 million medical
 estimated average amount of $6,500 to each eligible class
                                                                         monitoring fund, paid by the NCAA and its insurers. Examinations
 member who played his or her sport for four years.
                                                                         include neurological and neurocognitive assessments to evaluate
 In March of 2019, the firm as co-lead trial counsel on the              potential injuries.
 injunctive aspect of the case which resulted in a change of
                                                                         The settlement also mandates significant changes to and
 NCAA rules limiting the financial treatment of athletes, and in a
                                                                         enforcement of the NCAA’s concussion management policies
 unanimous 9-0 Supreme Court Victory, the injunctive portion of
                                                                         and return-to-play guidelines. All players will now receive a
 the case also resulted in a monumental victory for plaintiffs. The
                                                                         seasonal, baseline test to better assess concussions sustained
 Court ruled that NCAA college athletes should legally be able to
                                                                         during the season. All athletes who have sustained a concussion
 receive compensation from schools or conferences for athletic
                                                                         will now need to be cleared before returning to play. A medical
 services other than cash compensation untethered to education-
                                                                         professional trained in the diagnosis of concussions will be
 related expenses, prohibiting the NCAA from enforcing rules
                                                                         present at all games involving contact-sports. The settlement also
 limiting those payments. The media called the firm’s victory in the
                                                                         creates reporting mandates for concussions and their treatment.
 scholarships case against the NCAA a “major ruling” (ABC World
 News Tonight), that “will change the game” (ABC Good Morning           > Player Name, Image & Likeness Rights in Videogames
 America), “…the highest court left the NCAA unhoused and naked,         Hagens Berman attorneys represented student-athletes who
 with nothing left but its pretensions,” (The Washington Post),          claimed that the NCAA illegally used student-athletes’ names,
 it “delivered a heavy blow,” (AP), and leaves the NCAA “more            images and likenesses in Electronic Arts’ popular NCAA Football,
 vulnerable than ever.”                                                  Basketball and March Madness video game series reached a




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                                                                   HAGENS BERMAN SOBOL SHAPIRO                                                 LLP




PRACTICE AREAS

Sports Litigation

 combined $60 million settlement with the NCAA and EA, marking            > FIFA/U.S. Soccer: Concussions
 the first time the NCAA has agreed to a settlement that pays              Several soccer players filed a class action against U.S. soccer’s
 student-athletes for acts related to their participation in athletics.    governing bodies, which led to life-changing safety measures
 Settlement checks were sent to about 15,000 players, with                 brought to millions of U.S. youth soccer players. Players
 average amounts of $1,100 and some up to $7,600.                          represented by Hagens Berman alleged these groups failed to
                                                                           adopt effective policies to evaluate and manage concussions,
 The firm began this case with the knowledge that the NCAA
                                                                           leaving millions of players vulnerable to long-lasting brain injury.
 and member schools were resolute in keeping as much control
 over student-athletes as possible, and fought hard to ensure              The settlement against six of the largest youth soccer
 that plaintiffs would not be exploited for profit, especially by the      organizations completely eliminates heading for youth soccer’s
 organization that vowed to prevent the college athletes from              youngest players, greatly diminishing risks of concussions and
 exploitation.                                                             traumatic head injuries. Prior to the settlement, no rule limited
                                                                           headers in children’s soccer.
 The firm also represented NFL legend Jim Brown in litigation
 against EA for improperly using his likeness in its NFL video             It also sets new benchmarks for concussion measurement
 games, culminating in a $600,000 voluntary judgment offered by            and safety protocols, and highlights the importance of on-staff
 the video game manufacturer.                                              medical personnel at youth tournaments. Under the settlement,
                                                                           youth players who have sustained a concussion during practice
> Continued NIL Litigation
                                                                           or a game will need to follow certain return-to-play protocols
 Hagens Berman has continued efforts against the NCAA in an
                                                                           before they are allowed to play again. Steve Berman, a youth
 additional pending antitrust case regarding NIL rights. In June
                                                                           soccer coach, has seen first-hand the settlement’s impacts and
 2020, the firm filed its case against the NCAA claiming the
                                                                           life-changing effects every time young athletes take to the field.
 institution had knowingly violated federal antitrust laws in abiding
 by a particular subset of NCAA amateurism rules that prohibit
 college-athletes from receiving anything of value in exchange for        > NCAA: Transfer Antitrust
 the commercial use of their name and likeness. The firm holds             Hagens Berman has taken on the NCAA for several highly
 that the NCAA’s regulations illegally limiting the compensation           recruited college athletes whose scholarships were revoked
 that Division I college athletes may receive for the use of their         after a coaching change, or after the student-athletes sought to
 names, images, likenesses and athletic reputations.                       transfer to another NCAA-member school. The suit claims the
                                                                           organization’s limits and transfer regulations violate antitrust law.
 In unanimously upholding the rights of NCAA athletes in Alston,
 Justice Gorsuch wrote the NCAA had sought “immunity from the              The firm’s case hinges on a destructive double-standard. While
 normal operation of the antitrust laws,” and Justice Kavanaugh            Non-student-athletes are free to transfer and are eligible for
 stated, “The NCAA is not above the law.” The firm looks forward           a new scholarship without waiting a year, and coaches often
 to continuing to uphold that same sentiment in regard to NCAA             transfer to the tune of a hefty pay raise, student-athletes are
 athlete name, image and likeness rights.                                  penalized and forced to sit out a year before they can play
                                                                           elsewhere, making them much less sought after by other college
 In July 2021, following the firm’s victory in the Alston case, the
                                                                           athletic programs. Hagens Berman continues to fights for
 NCAA chose to temporarily lift rules restricting certain NIL deals
                                                                           student-athletes’ rights to be treated fairly and terminate the
 in what the firm believes will be the first step in another massive
                                                                           NCAA’s anticompetitive practices and overbearing regulations
 change in college sports to support college athletes.
                                                                           that limit players’ options and freedoms.

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PRACTICE AREAS

Sports Litigation

> Pop Warner                                                              In December of 2015, MLB’s commissioner Rob Manfred issued
 Hagens Berman represented youth athletes who have suffered               a recommendation to all 30 MLB teams to implement extended
 traumatic brain injuries due to gross negligence, and filed a            safety measures, including additional safety netting at ballparks.
 lawsuit on behalf of former Pop Warner football player Donnovan          While the firm commends the league for finally addressing the
 Hill and his mother Crystal Dixon. The suit claims that the league       serious safety issue at stake, the firm continues to urge MLB and
 insisted Hill use improper and dangerous tackling techniques             its commissioner to make these more than recommendations
 which left the then 13-year-old paralyzed from the neck down.            to help end senseless and avoidable injuries to baseball’s
                                                                          biggest fans. We believe our case sparked the eventual move to
 Hagens Berman sought to hold Pop Warner, its affiliates, Hill’s
                                                                          netting. After one of the owners of the Mariners belittled Steve
 coaches and members of the Lakewood Pop Warner board of
                                                                          for having filed the case, the firm happily saw the addition of
 directors accountable for the coaches’ repeated and incorrect
                                                                          netting extended to the foul poles at T-Mobile Park in the firm’s
 instruction that Hill and his teammates tackle opposing players
                                                                          headquarters of Seattle.
 by leading with the head. In January of 2016, the firm reached
 a settlement on behalf of Donnovan and his mother, the details          > Other Cases
 of which were not made public. Sadly, months later, 17-year-             In addition to its class actions, Hagens Berman has filed several
 old Donnovan passed away. The firm believes that his case                individual cases to uphold the rights of athletes and ensure a fair
 will continue to have a lasting impact on young athletes for             and safe environment. The firm has filed multiple individual cases
 generations and will help ensure safety in youth sports.                 to address concussions and other traumatic head injuries among
                                                                          student-athletes at NCAA schools and in youth sports. Hagens
> MLB Foul Ball Injuries
                                                                          Berman continues to represent the interests of athletes and find
 Hagens Berman filed a class-action lawsuit on behalf of baseball
                                                                          innovative and effective applications of the law to uphold players’
 fans, seeking to extend safety netting to all major and minor
                                                                          rights.
 league ballparks from foul pole to foul pole. The suit alleges that
 tens of millions attend an MLB game annually, and every year             The firm has also brought many concussions cases on behalf of
 fans of all ages, but often children, suffer horrific and preventable    individual athletes, challenging large universities and institutions
 injuries, such as blindness, skull fractures, severe concussions         for the rights those who have suffered irreversible damage due
 and brain hemorrhages when struck by a fast-moving ball or               to gross negligence and lack of even the most basic concussion-
 flying shrapnel from a shattered bat. The lawsuit was dismissed          management guidelines.
 with the court ruling that the plaintiffs lacked standing because
 the chance of getting hit by a ball is remote.




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PRACTICE AREAS

Whistleblower Litigation

Hagens Berman represents whistleblowers under various programs at both the state and
federal levels. All of these whistleblower programs reward private citizens who blow the whistle
on fraud. In many cases, whistleblowers report fraud committed against the government and
may sue those individuals or companies responsible, helping the government recover losses.

Our depth and reach as a leading national plaintiffs’ firm with         > In U.S. ex rel. Lagow v. Bank of America
significant success in varied litigation against industry leaders in     Represented former District Manager at Landsafe, Countrywide
finance, health care, consumer products, and other fields causes         Financial’s mortgage appraisal arm, who alleged systematic
many whistleblowers to seek us to represent them in claims               abuse of appraisal guidelines as a means of inflating mortgage
alleging fraud against the government.                                   values.
                                                                         RESULT:   The case was successful, ultimately triggering a
Our firm also has several former prosecutors and other
                                                                         settlement of $1 billion, and our client received a substantial
government attorneys in its ranks and has a long history of working
                                                                         reward.
with governments, including close working relationships with
attorneys at the U.S. Department of Justice. The whistleblower          > In U.S. ex rel. Mackler v. Bank of America
programs under which Hagens Berman pursues cases include:                Represented a whistleblower who alleged that Bank of America
                                                                         failed to satisfy material conditions of its government contract to
FALSE CLAIMS ACT
                                                                         provide homeowners mortgage relief under the HAMP program.

Under the federal False Claims Act, and more than 30 similar             RESULT:   The case succeeded and was settled as part of the 2012

state laws, a whistleblower reports fraud committed against the          global mortgage settlement, resulting in an award to our client.

government, and under the law’s Qui Tam provision, may file suit
                                                                        > In U.S. ex rel. Horwitz v. Amgen
on its behalf to recover lost funds. False claims acts are one of
                                                                         Represented Dr. Marshall S. Horwitz, who played a key role in
the most effective tools in fighting Medicare and Medicaid fraud,
                                                                         uncovering an illegal scheme to manipulate the scientific record
defense contractor fraud, financial fraud, under-payment of
                                                                         regarding two of Amgen’s blockbuster drugs.
royalties, fraud in general services contracts and other types of
                                                                         RESULT:   $762 million in criminal and civil penalties levied by the
fraud perpetrated against governments.
                                                                         U.S. Department of Justice and an award to our client.

The whistleblower initially files the case under seal, giving it only
                                                                        > In U.S. ex rel. Thomas v. Sound Inpatient Physicians Inc. and
to the government and not to the defendant, which permits the
                                                                         Robert A. Bessler
government to investigate. After the investigation, the government
                                                                         Represented a former regional vice president of operations for
may take over the whistleblower’s suit, or it may decline. If the
                                                                         Sound Physicians, who blew the whistle on Sound’s alleged
government declines, the whistleblower can proceed alone on
                                                                         misconduct.
his or her behalf. In successful suits, the whistleblower normally
                                                                         RESULT:   Tacoma-based Sound Physicians agreed to pay the United
receives between 15 and 30 percent of the government’s recovery
                                                                         States government $14.5 million.
as a reward.
                                                                        > In U.S. ex rel. Plaintiffs v. Center for Diagnostic Imaging Inc.
Since 1986, federal and state false claims act recoveries have
                                                                         In May 2010, Hagens Berman joined as lead trial counsel a qui
totaled more than $22 billion. Some examples of our cases brought
                                                                         tam lawsuit on behalf of two whistleblowers against Center for
under the False Claims Act include:

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PRACTICE AREAS

Whistleblower Litigation

  Diagnostic Imaging, Inc. (CDI), alleging that CDI violated anti-       by Direct Edge Holdings (and since acquired by Bats Global
  kickback laws and defrauded federally funded health programs by        Markets, the second-largest financial exchange in the country).
  presenting false claims for payment.                                   The exchanges agreed to pay $14 million to settle charges that the
  RESULT:   In 2011, the government intervened in the claims,            exchanges failed to accurately and completely disclose how order
  which the company settled for approximately $1.3 million.              types functioned on its exchanges and for selectively providing
  The government declined to intervene, however, in the no-              such information only to certain high-frequency trading firms.
  written-orders and kickback claims, leaving those claims for
                                                                         Hagens Berman also represents an anonymous whistleblower
  the whistleblowers and their counsel to pursue on their own.
                                                                         who brought his concerns and original analysis related to the May
  The non-intervened claims settled for an additional $1.5 million
                                                                         2, 2010 Flash Crash to the CFTC after hundreds of hours spent
  payment to the government.
                                                                         analyzing data and other information.
> Medtronic
                                                                         Both the U.S. Commodity Futures Trading Commission (CFTC)
  On Feb. 19, 2008 the court unsealed a qui tam lawsuit brought
                                                                         and the Department of Justice, in separate criminal and civil
  by Hagens Berman against Medtronic, one of the world’s largest
                                                                         enforcement actions, brought charges of market manipulation and
  medical technology companies, for fraudulent medical device
                                                                         spoofing against Nav Sarao Futures Limited PLC (Sarao Futures)
  applications to the FDA and off-label promotion of its biliary
                                                                         and Navinder Singh Sarao (Sarao) based on the whistleblower’s
  devices.
                                                                         information.
  RESULT:   The case settled in 2012 for an amount that remained
  under seal.                                                            Hagens Berman has worked alongside government officials and
                                                                         regulators, establishing the credibility necessary to bring a case to
                                                                         the SEC or CFTC. When Hagens Berman brings a claim, we work
SECURITIES AND EXCHANGE COMMISSION /
                                                                         hard to earn their respect and regulators pay attention.
COMMODITY FUTURES TRADING COMMISSION

                                                                         A few of the firm’s most recent whistleblower cases in this area
Since implementation of the SEC/CFTC Dodd Frank whistleblower
                                                                         include:
programs in 2011, Hagens Berman has naturally transitioned into
representation of whistleblowers with claims involving violations of     > EDGA Exchange Inc. and EDGX Exchange Inc.
the Securities Exchange Act and the Commodities Exchange Act.              Represented HFT whistleblower and market expert, Haim Bodek,
                                                                           in an SEC fraud whistleblower case against two exchanges
Unlike the False Claims Act, whistleblowers with these new
                                                                           formerly owned by Direct Edge Holdings and since acquired by
programs do not initially file a sealed lawsuit. Instead, they provide
                                                                           Bats Global Markets, the second-largest financial exchange in the
information directly to the SEC or the CFTC regarding violations of
                                                                           country for spoofing.
the federal securities or commodities laws. If the whistleblower’s
                                                                           RESULT:   The case prompted the U.S. Securities and Exchange
information leads to an enforcement action, they may be entitled to
                                                                           Commission to bring record-breaking fine of $14 million against
between 10 and 30 percent of the recovery.
                                                                           defendants, the largest ever brought against a financial exchange.
The firm currently represents HFT whistleblower and market
expert, Haim Bodek, in an SEC fraud whistleblower case that
prompted the U.S. Securities and Exchange Commission to bring
record-breaking fines against two exchanges formerly owned




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PRACTICE AREAS

Whistleblower Litigation

> Nav Sarao Futures Limited PLC                                       INTERNAL REVENUE SERVICE
 Hagens Berman represents an anonymous whistleblower who
                                                                      Hagens Berman also represents whistleblowers under the IRS
 brought his concerns and original analysis to the CFTC after
                                                                      whistleblower program enacted with the Tax Relief and Health Care
 hundreds of hours spent analyzing data and other information.
                                                                      Act of 2006.
 The claim brought about legal action against a market
 manipulator who profited more than $40 million from market           The IRS program offers rewards to those who come forward
 fraud and contributed to the May 6, 2010 Flash Crash.                with information about persons, corporations or any other entity
 RESULT:   Both the CFTC and the Department of Justice, in separate   that cheats on its taxes. In the event of a successful recovery of
 criminal and civil enforcement actions, brought charges of market    government funds, a whistleblower can be rewarded with up to 30
 manipulation and spoofing against Nav Sarao Futures Limited          percent of the overall amount collected in taxes, penalties and legal
 PLC and Navinder Singh Sarao based on the whistleblower’s            fees.
 information. The case is still pending under seal.
                                                                      Hagens Berman helps IRS whistleblowers present specific, credible
                                                                      tax fraud information to the IRS. Unlike some traditional False
                                                                      Claims Act firms, Hagens Berman has experience representing
                                                                      governments facing lost tax revenue due to fraud, making us well-
                                                                      positioned to prosecute these cases.




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                                               Appellate Victories




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APPELLATE VICTORIES

Strengthening Consumer Law

At Hagens Berman, we distinguish ourselves not merely by the results we obtain, but by how
we obtain them. Few class-action firms have our firm’s combination of resources and acumen
to see a case through as long as needed to obtain a favorable outcome. Our attorneys were
instrumental in obtaining these federal appellate decisions that have shaped consumer law and
bolstered the rights of millions nationwide:

> In Matter of Motors Liquidation Co., 829 F.3d 135 (2d Cir. 2016)        > Agnew v. Nat’l Collegiate Athletic Ass’n, 683 F.3d 328 (7th Cir.
  (General Motors bankruptcy reorganization did not bar claims              2012) (NCAA bylaws limiting scholarships per team and
  stemming from defective ignition switches)                                prohibiting multi-year scholarships are subject to antitrust
> George v. Urban Settlement Servs., 833 F.3d 1242 (10th Cir. 2016)         scrutiny and do not receive pro-competitive justification at
  (complaint adequately alleged Bank of America’s mortgage                  pleading stage)
  modification program violated RICO)                                     > In re Lupron Mktg. & Sales Practices Litig., 677 F.3d 21, 24 (1st Cir.
> In re Loestrin 24 Fe Antitrust Litig., 814 F.3d 538 (1st Cir. 2016)       2012) (approving cy pres provision in $150 million settlement)
  (“reverse payments” for antitrust purposes under Actavis are not        > In re Pharm. Indus. Average Wholesale Price Litig., 582 F.3d 156
  limited to cash payments)                                                 (1st Cir. 2009) (AstraZeneca illegally published inflated average
> Osborn v. Visa Inc., 797 F.3d 1057 (D.C. Cir. 2015) (complaint            wholesale drug prices, thereby giving windfall to physicians and
  adequately alleged Visa and MasterCard unlawfully agreed to               injuring patients who paid inflated prices)
  restrain trade in setting ATM access fees)
> Little v. Louisville Gas & Elec. Co., 805 F.3d 695 (6th Cir. 2015)      We set ourselves apart not only by getting results but by litigating
  (Clean Air Act did not preempt state nuisance claims against coal       every case through to finish – to trial and appeal, if necessary.
  plant for polluting surrounding community)                              This tenacious drive has led our firm to generate groundbreaking
> City of Miami v. Citigroup Inc., 801 F.3d 1268 (11th Cir. 2015)         precedents in consumer law.
  (reversing dismissal of complaint alleging Citigroup violated Fair
                                                                          Hagens Berman has also been active in state courts nationwide.
  Housing Act by pattern of discriminatory lending)
                                                                          Notable examples of our victories include:
> Rajagopalan v. NoteWorld, LLC, 718 F.3d 844 (9th Cir. 2013) (non-
  party could not invoke arbitration clause against plaintiff suing       > Garza v. Gama, 379 P.3d 1004 (Ariz. Ct. App. 2016) (reinstating
  debt services provider)                                                   certified class in wage-and-hour action prosecuted by Hagens
> In re Neurontin Mktg. & Sales Practices Litig., 712 F.3d 21 (1st Cir.     Berman since 2005)
  2013) (affirming $142 million verdict for injury suffered from          > In re Farm Raised Salmon Cases, 42 Cal. 4th 1077 (Cal. 2008)
  RICO scheme by Neurontin manufacturer Pfizer)                             (Federal Food, Drug and Cosmetic Act did not preempt state
> In re NCAA Student-Athlete Name & Likeness Licensing Litig., 724          claims for deceptive marketing of food products)
  F.3d 1268 (9th Cir. 2013) (First Amendment did not shield video         > Pickett v. Holland Am. Line-Westours, Inc., 35 P.3d 351 (Wash. 2001)
  game developer’s use of college athletes’ likenesses)                     (reversing state court of appeals and upholding class action
> Garcia v. Wachovia Corp., 699 F.3d 1273 (11th Cir. 2012) (Wells           settlement with cruise line)
  Fargo could not rely on Concepcion to evade waiver of any right
  to compel arbitration)


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                                                                Legal Team




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                                   MANAGING PARTNER

                                   Steve W. Berman
                                   Served as co-lead counsel against Big Tobacco, resulting in the largest
                                   settlement in world history, and at the time the largest automotive, antitrust,
                                   ERISA and securities settlements in U.S. history.


CONTACT                            Steve Berman represents consumers, investors and employees in large, complex litigation held in state
1301 Second Avenue                 and federal courts. Steve’s trial experience has earned him significant recognition and led The National
Suite 2000                         Law Journal to name him one of the 100 most powerful lawyers in the nation, and to repeatedly name
Seattle, WA 98101
                                   Hagens Berman one of the top 10 plaintiffs’ firms in the country. Steve was named an MVP of the Year
                                   by Law360 in 2016 and 2017 for his class-action litigation and received the 2017 Plaintiffs’ Trailblazer
(206) 623-7292 office
                                   award. He was recognized for the third year in a row as an Elite Trial Lawyer by The National Law
(206) 623-0594 fax
steve@hbsslaw.com                  Journal.

YEARS OF EXPERIENCE                Steve co-founded Hagens Berman in 1993 after his prior firm refused to represent several young children
> 41                               who consumed fast food contaminated with E. coli—Steve knew he had to help. In that case, Steve proved
                                   that the poisoning was the result of Jack in the Box’s cost cutting measures along with gross negligence.
PRACTICE AREAS                     He was further inspired to build a firm that vociferously fought for the rights of those unable to fight for
>   Antitrust/Trade Law            themselves. Berman’s innovative approach, tenacious conviction and impeccable track record have earned
>   Consumer Protection
                                   him an excellent reputation and numerous historic legal victories. He is considered one of the nation’s
>   Governmental Representation
                                   most successful class-action attorneys, and has been praised for securing record-breaking settlements
>   Securities/Investment Fraud
>   Whistleblower/Qui Tam
                                   and tangible benefits for class members. Steve is particularly known for his tenacity in forging consumer
>   Patent Litigation              settlements that return a high percentage of recovery to class members.

BAR ADMISSIONS                     CURRENT ROLE
> Washington
> Illinois Foreign                 > Managing Partner, Hagens Berman Sobol Shapiro LLP
> Registered Attorney in
  England and Wales                RECENT CASES

COURT ADMISSIONS                   > Emissions Litigation
> Supreme Court of the United        Steve has pioneered pursuing car manufacturers who have been violating emissions standards,
  States                             including: Mercedes BlueTEC vehicles, GM Chevy Cruze, Dodge Ram 2500 and 3500 trucks, Dodge
> Supreme Court of Illinois          Ram 1500 and Jeep Cherokee EcoDiesel vehicles, Chevy Silverado, GMC Sierra as well as other
> Supreme Court of                   models made by Ford, Audi and BMW. Steve and the firm’s unmatched work in emissions-cheating
  Washington                         investigations is often ahead of the EPA and government regulators.
> U.S. District Court for the
  Eastern and Western Districts    > General Motors Ignition Switch Defect Litigation
  of Washington                      Steve serves as lead counsel seeking to obtain compensation for the millions of GM car owners who
> U.S. District Court for the        overpaid for cars that had hidden safety defects.
  Northern and Central Districts   > Climate Change – New York City, King County, Wash.
  of Illinois
                                     Steve has always been a fighter for the rights of the environment. In 2017, he began the firm’s latest
> U.S. District Court for the
                                     endeavor to combat global climate change through novel applications of the law. Steve currently
  District of Colorado
> U.S. District Court for the
                                     represents the city of New York and Washington state’s King County in lawsuits filed against the
  Eastern District of Michigan       world’s largest producers of oil: BP, Chevron Corp., Exxon Mobil Corp., Royal Dutch Shell PLC and
> First Circuit Court of Appeals     ConocoPhillips. The cases seek to hold the Big Oil titans accountable for their brazen impact on global



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> Second Circuit Court of Appeals      MANAGING PARTNER

                                       Steve W. Berman
> Third Circuit Court of Appeals
> Fifth Circuit Court of Appeals
> Sixth Circuit Court of Appeals
> Seventh Circuit Court of Appeals
                                         warming-induced sea level rise and related expenses to protect the cities and their millions of residents.
> Eighth Circuit Court of Appeals
> Ninth Circuit Court of Appeals       > Opioids - Orange and Santa Clara County, Seattle
> Tenth Circuit Court of Appeals         Steve has been retained by various municipalities, including the states of Ohio, Mississippi and Arkansas,
> Eleventh Circuit Court of Appeals      Orange County, as well as the city of Seattle to serve as trial counsel in a recently filed state suit against
> DC Circuit Court of Appeals            five manufacturers of opioids seeking to recover public costs resulting from the opioid manufacturer’s
> Federal Circuit Court of Appeals
                                         deceptive marketing.
> U.S. Court of Federal Claims
> Foreign Registered Attorney in       > Antitrust Litigation
  England and Wales                      Corporate fraud has many faces, and Steve has taken on some of the largest perpetrators through
                                         antitrust law. Steve serves as co-lead counsel in Visa MasterCard ATM, Batteries, Optical Disc Drives
EDUCATION                                and is in the leadership of a class-action lawsuit against Qualcomm for orchestrating a monopoly that
> University of Chicago Law School,      led to purchasers paying significantly more for mobile devices. He serves as interim class counsel
  J.D., 1980
                                         in a case against Tyson, Purdue and other chicken producers for conspiring to stabilize prices by
> University of Michigan, B.A., 1976
                                         reducing chicken production. Steve also filed a proposed class-action lawsuit against the world’s largest
                                         manufacturers of Dynamic Random Access Memory (DRAM) for cornering the market and driving up
                                         DRAM prices. Most recently, Steve’s antitrust case against the NCAA involving rights of college athletes
                                         to receive grant-in-aid scholarships saw a unanimous Supreme Court victory, in what media called a
                                         “major ruling” (ABC World News Tonight), that “will change the game” (ABC Good Morning America),
                                         and leaves the NCAA “more vulnerable than ever” (AP).
                                       > Consumer Protection
                                         Steve is a leader in protecting millions of consumers in large-scale cases that challenge unfair,
                                         deceptive and fraudulent practices. He leads a class action on behalf of owners of Ford vehicles
                                         equipped with MyFord Touch, an in-car entertainment system, who claim the system is flawed, putting
                                         drivers at risk of an accident while causing economic hardship. Steve recently filed a class-action
                                         lawsuit against Facebook for allowing personal data to be harvested for psychographic profiling.


                                       RECENT SUCCESS
                                       > Volkswagen Franchise Dealerships - $1.6 billion
                                         Lead counsel for VW franchise dealers suit, in which a settlement of $1.6 billion has received final
                                         approval, and represents a substantial recovery for the class.
                                       > Stericycle Sterisafe Contract Litigation – $295 million
                                         Hagens Berman’s team, led by Steve Berman, filed a class-action lawsuit against Stericycle, a massive
                                         medical waste disposal company and achieved a sizable settlement for hundreds of thousands of its
                                         small business customers.
                                       > NCAA Grant-in-Aid Scholarships – $208 million
                                         Served as co-lead counsel in the Alston case that successfully challenged the NCAA’s limitations on the
                                         benefits college athletes can receive as part of a scholarship, culminating in a $208 million settlement
                                         and injunction upheld by the Supreme Court. The recovery amounts to 100 percent of single damages in
                                         an exceptional result in an antitrust case. Steve also co-led the 2018 trial on the injunctive aspect of the
                                         case which resulted in a change of NCAA rules limiting the financial treatment of athletes.
                                         The injunction, which was upheld in a unanimous Supreme Court decision in June 2021, prohibits the
                                         NCAA from enforcing any rules that fix or limit compensation provided to college athletes by schools
                                         or conferences in consideration for their athletic services other than cash compensation untethered to
                                         education-related expenses. According to the Ninth Circuit, the NCAA is “permanently restrained and
                                         enjoined from agreeing to fix or limit compensation or benefits related to education” that conferences


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                                                             HAGENS BERMAN SOBOL SHAPIRO                                           LLP




                      MANAGING PARTNER

                      Steve W. Berman
                        may make available. In the Supreme Court’s 9-0, Justice Kavanaugh stated, “The NCAA is not above the
                        law.”
                      > Dairy Price-Fixing – $52 million
                        This antitrust suit’s filing unearthed a massive collusion between the biggest dairy producers in the
                        country, responsible for almost 70 percent of the nation’s milk. Not only was the price of milk artificially
                        inflated, but this scheme ultimately also cost 500,000 young cows their lives.


                      CAREER HIGHLIGHTS
                      > State Tobacco Litigation - $260 billion
                        Special assistant attorney general for the states of Washington, Arizona, Illinois, Indiana, New York,
                        Alaska, Idaho, Ohio, Oregon, Nevada, Montana, Vermont and Rhode Island in prosecuting major actions
                        against the tobacco industry. In November 1998, the initial proposed settlement led to a multi-state
                        settlement requiring the tobacco companies to pay the states $260 billion and to submit to broad
                        advertising and marketing restrictions – the largest civil settlement in history.
                      > Visa MasterCard ATM Antitrust Litigation - $27 billion
                        Co-lead counsel in what was then the largest antitrust settlement in history: a class-action lawsuit
                        alleging that Visa and MasterCard, together with Bank of America, JP Morgan Chase and Wells Fargo,
                        violated federal antitrust laws by establishing uniform agreements with U.S. banks, preventing ATM
                        operators from setting ATM access fees below the level of the fees charged on Visa’s and MasterCard’s
                        networks.
                      > Toyota Sudden, Unintended Acceleration - $1.6 billion
                        Hagens Berman was co-lead counsel in this massive MDL alleging that Toyota vehicles contained a
                        defect causing sudden, unintended acceleration (SUA). It was the largest automotive settlement in
                        history at the time, valued at up to $1.6 billion. The firm did not initially seek to lead the litigation, but
                        was sought out by the judge for its wealth of experience in managing very complex class-action MDLs.
                        Hagens Berman and managing partner Steve Berman agreed to take on the role of co-lead counsel for
                        the economic loss class and head the plaintiffs’ steering committee.
                      > Washington Public Power Supply System (WPPSS) - $700 million settlement
                        Represented bondholders and the bondholder trustee in a class-action lawsuit stemming from the
                        failure of two WPPSS nuclear projects. The case was one of the most complex and lengthy securities
                        fraud cases ever filed. The default was one of the largest municipal bond defaults in history. After years
                        of litigation, plaintiffs were awarded a $700 million settlement agreement brought against more than
                        200 defendants.
                      > E-books Antitrust Litigation - $560 million settlement
                        Fought against Apple and five of the nation’s top publishers for colluding to raise the price of e-books,
                        resulting in recovery equal to twice consumers’ actual damages. The firm recovered an initial settlement
                        of more than $160 million with defendant publishing companies in conjunction with several states
                        attorneys general. Steve then led the firm to pursue Apple for its involvement in the e-book price hike.
                        Apple took the case to the Supreme Court, where it was ruled that Apple had conspired to raise prices,
                        and the firm achieved an additional $450 million settlement for consumers.
                      > Enron Pension Protection Litigation - $250 million settlement
                        Led the class-action litigation on behalf of Enron employees and retirees alleging that Enron leadership,
                        including CEO Ken Lay, had a responsibility to protect the interests of those invested in the 401(k)
                        program, an obligation they abrogated. The court selected Steve to co-lead the case against Enron and
                        the other defendants.
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                                                             HAGENS BERMAN SOBOL SHAPIRO                                        LLP




                      MANAGING PARTNER

                      Steve W. Berman
                      > Charles Schwab Securities Litigation - $235 million settlement
                        Led the firm to file the first class-action lawsuit against Charles Schwab on Mar. 18, 2008, alleging that
                        Schwab deceived investors about the underlying risk in its Schwab YieldPlus Funds Investor Shares
                        and Schwab YieldPlus Funds Select Shares.
                      > JP Morgan Madoff Lawsuit - $218 million settlement
                        Represented Bernard L. Madoff investors in a suit filed against JPMorgan Chase Bank, one of the
                        largest banks in the world.
                      > NCAA Grants-in-Aid Scholarships - $208 million settlement, and permanent injunction upheld by the
                        Supreme Court
                        Led the firm’s tenacious antitrust class action against the NCAA on behalf of college athletes, claiming
                        that the NCAA had violated the law when it kept the class from being able to receive compensation
                        provided by schools or conferences for athletic services other than cash compensation untethered to
                        education-related expenses. The Supreme Court upheld the favorable opinion of the Ninth Circuit in
                        a 9-0 ruling. Justice Kavanaugh’s opinion further underscored the massive win for plaintiffs and the
                        ruling’s ongoing effects: “The NCAA couches its arguments for not paying student athletes in innocuous
                        labels. But the labels cannot disguise the reality: The NCAA’s business model would be flatly illegal in
                        almost any other industry in America,” pushing for further scrutiny of the NCAA’s regulations.
                      > Boeing Securities Litigation - $92.5 million settlement
                        Represented a class of tens of thousands of shareholders against Boeing, culminating in a proposed
                        settlement that was the second-largest awarded in the Northwest.
                      > NCAA Concussions - $75 million settlement, and 50-year medical monitoring fund
                        Led the firm’s pioneering NCAA concussions suit that culminated in a proposed settlement that will
                        provide a 50-year medical-monitoring program for student-athletes to screen for and track head
                        injuries; make sweeping changes to the NCAA’s approach to concussion treatment and prevention; and
                        establish a $5 million fund for concussion research, preliminarily approved by the court.
                      > US Youth Soccer Settlement
                        Revolutionary settlement that changed U.S. Soccer regulations and bought sweeping safety measures
                        to the game. Steve spearheaded a lawsuit against soccer-governing bodies, achieving a settlement that
                        ended heading of the ball for U.S. Soccer’s youngest players and greatly diminished risk of concussions
                        and traumatic brain injuries. Additionally, the settlement highlights the importance of on-staff medical
                        personnel at youth tournaments, as well as ongoing concussion education for coaches.


                      RECOGNITION
                      > 2023 Best Lawyers in America in Litigation - Securities and Product Liability Litigation - Plaintiffs
                      > 2018, 2020, 2022 Titan of the Plaintiffs Bar, Law360
                      > 2022 Leading Commercial Litigators, The Daily Journal
                      > 2022 Hall of Fame, Lawdragon
                      > 2017, 2022 Plaintiffs’ Attorneys Trailblazer, The National Law Journal
                      > 1999-2022 Washington Super Lawyers
                      > 2021 Sports & Entertainment Law Trailblazer, The National Law Journal
                      > 2021, 2019, 2018 Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice,
                        American Antitrust Institute

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                                                             HAGENS BERMAN SOBOL SHAPIRO                                      LLP




                      MANAGING PARTNER

                      Steve W. Berman
                      > 2016-2020 Class Action MVP of the Year, Law360
                      > 2014-2016, 2018-2019 Elite Trial Lawyers, The National Law Journal
                      > 2019-2020 Lawdragon 500 Leading Lawyers in America, Plaintiff Financial Lawyers
                      > 2014-2019 Lawdragon 500 Leading Lawyers in America
                      > 2018 State Executive Committee member, The National Trial Lawyers
                      > 2017 Class Actions (Plaintiff) Law Firm of the Year in California, Global Law Experts
                      > 2014 Finalist for Trial Lawyer of the Year, Public Justice
                      > 2013 One of the 100 most influential attorneys in America, The National Law Journal
                      > 2000 Most powerful lawyer in the state of Washington, The National Law Journal
                      > One of the top 10 plaintiffs’ firms in the country, The National Law Journal


                      ACTIVITIES
                      > In April of 2021, the University of Michigan School for Environment and Sustainability (SEAS) launched
                        the Kathy and Steve Berman Western Forest and Fire Initiative with a philanthropic gift from Steve
                        (BS ’76) and his wife, Kathy. The program will improve society’s ability to manage western forests to
                        mitigate the risks of large wildfires, revitalize human communities and adapt to climate change.
                        Steve studied at the School of Natural Resources (now SEAS) and volunteered as a firefighter due to
                        his focus on environmental stewardship.
                       > In 2003, the University of Washington announced the establishment of the Kathy and Steve Berman
                        Environmental Law Clinic. The Berman Environmental Law Clinic draws on UW’s environmental law
                        faculty and extensive cross-campus expertise in fields such as Zoology, Aquatic and Fishery Sciences,
                        Forest Resources, Environmental Health and more. In addition to representing clients in court, the clinic
                        has become a definitive information resource on contemporary environmental law and policy, with
                        special focus on the Pacific Northwest.
                      OTHER NOTABLE CASES
                      > VW Emissions Litigation - $14.7 billion settlement
                        Steve served as a member of the Plaintiffs Steering Committee representing owners of Volkswagen
                        CleanDiesel vehicles that were installed with emissions-cheating software.
                      > McKesson Drug Class Litigation - $350 million settlement
                        Lead counsel in an action that led to a rollback of benchmark prices of hundreds of brand name drugs,
                        and relief for third-party payers and insurers. His discovery of the McKesson scheme led to follow up
                        lawsuits by governmental entities and recovery in total of over $600 million.
                      > Average Wholesale Price Litigation - $338 million settlement
                        Steve served as lead trial counsel, securing trial verdicts against three drug companies that paved the
                        way for settlement.
                      > DRAM Memory Antitrust - $345 million settlement
                        Forged a class-action suit against leading DRAM (Dynamic Random Access Memory) manufacturers,
                        claiming the companies secretly agreed to reduce the supply of DRAM in order to artificially raise prices.
                      > Hyundai / Kia Fuel Efficiency - $210 million settlement
                        Led the firm’s aggressive fight as court-appointed co-lead counsel against Hyundai and Kia on behalf
                        of defrauded consumers who alleged the automakers had misrepresented fuel economies in vehicles,
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                      MANAGING PARTNER

                      Steve W. Berman
                        securing what was believed to then be the second-largest automotive settlement in history.
                      > Bextra/Celebrex Marketing and Products Liability Litigation - $89 million settlement
                        Served as court-appointed member of the Plaintiffs Steering Committee and represented nationwide
                        consumers and third party payers who paid for Celebrex and Bextra. The firm was praised by the court
                        for its “unstinting” efforts on behalf of the class.
                      > McKesson Governmental Entity Class Litigation - $82 million settlement
                        Steve was lead counsel for a nationwide class of local governments that resulted in a settlement for
                        drug price-fixing claims.
                      > NCAA/Electronic Arts Name and Likeness - $60 million settlement
                        Represented current and former student-athletes against the NCAA and Electronic Arts concerning
                        illegal use of college football and basketball players’ names and likenesses in video games without
                        permission or consent from the players.
                      > State and Governmental Drug Litigation
                        Steve served as outside counsel for the state of New York for its Vioxx claims, several states for AWP
                        claims and several states for claims against McKesson. In each representation, Steve recovered far
                        more than the states in the NAAG multi-state settlements.
                      > Exxon Mobile Oil Spill
                        Steve represented clients against Exxon Mobil affected by the 10 million gallons of oil spilled off the
                        coast of Alaska by the Exxon Valdez (multimillion-dollar award).
                      > Lumber Liquidators Flooring
                        Steve was court-appointed co-lead counsel in litigation against Lumber Liquidators representing
                        consumers who unknowingly purchased flooring tainted with toxic levels of cancer-causing
                        formaldehyde. The consumer settlement was confidential.


                      PRESENTATIONS
                      > Steve is a frequent public speaker and has been a guest lecturer at Stanford University, University of
                        Washington, University of Michigan and Seattle University Law School.

                      PERSONAL INSIGHT
                      Steve was a high school and college soccer player and coach. Now that his daughter’s soccer skills
                      exceed his, he is relegated to being a certified soccer referee and spends weekends being yelled at by
                      parents, players and coaches. Steve is also an avid cyclist and is heavily involved in working with young
                      riders on the international Hagens Berman Axeon cycling team.




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                                   PARTNER, EXECUTIVE COMMITTEE MEMBER

                                   Thomas M. Sobol

                                   Voted Massachusetts Ten Leading Litigators
                                   —The National Law Journal



CONTACT                            CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                   > Partner & Executive Committee Member, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109                   > Leads HBSS’s Boston office
                                   > Lead negotiator in court-approved settlements totaling more than $2 billion
(617) 475-1950 office
(617) 482-3003 fax                 > Court-appointed lead or co-lead in ten active antitrust cases alleging injury to businesses and/or
tom@hbsslaw.com                      consumers caused by the delayed availability of generic drug, including:

YEARS OF EXPERIENCE
                                    - In re Glumetza Antitrust Litigation, No. 19-cv-05822-WHA (N.D. Cal.) (Hon. William Alsup)
> 39                                - FWK Holdings LLC v. Shire (Intuniv), No. 16-cv-12653 (D. Mass.) (Hon. Allison D. Burroughs)
                                    - In re Zetia (Ezetimibe) Antitrust Litigation, No. 18-md-2836 (E.D. Va.) (Hon. Rebecca Beach Smith)
PRACTICE AREAS
> Pharmaceutical Fraud             CAREER HIGHLIGHTS
> Consumer Protection
> Antitrust Litigation             > $325 million: third party payer class settlement, In re Neurontin Marketing, Sales Practices, and
                                   Products Liability Litigation, No. 04-md-1629 (D. Mass) (Hon. Patti B. Saris)
BAR ADMISSIONS
> Massachusetts                    > ~$200 million: tort victim recoveries via bankruptcy plan, In re New England Compounding Pharmacy,
> Rhode Island                     Inc. Products Liability Litigation, MDL No. 2419 (D. Mass.) (Hon. Rya W. Zobel)

COURT ADMISSIONS                   > $150 million: direct purchaser class settlement, In re Flonase Antitrust Litigation, No. 08-cv-03149 (E.D.
> First Circuit Court of Appeals   Pa.) (Hon. Anita B. Brody)
> Second Circuit Court of
  Appeals                          > 4% price reduction of most retail drugs: New England Carpenters Health Benefits Fund v. First
> Supreme Court of the United      DataBank, Inc., No. 05-cv-11148 (D. Mass.) (Hon. Patti B. Saris)
  States
                                   > $350 million: consumers and third party payers, San Francisco Health Plan v. McKesson Corp., No. 08-
EDUCATION                          cv-10843 (D. Mass.) (Hon. Patti B. Saris)
> Boston University School of
  Law, J.D., cum laude, 1983       > $25 million: State of Connecticut, In re Zyprexa Products Liability Litigation, MDL No. 1596 (E.D.N.Y.)
> Clark University, B.A., summa    (Hon. Jack B. Weinstein)
  cum laude, Phi Beta Kappa,
  1980                             RECENT SUCCESS
                                   > $120 million: direct purchaser class settlement, In re Loestrin 24 Fe Antitrust Litigation, No. 13-md-
                                     02472 (D.R.I.) (Hon. William E. Smith)
                                   > $51.25 million: direct purchaser class settlement, In re Restasis (Cyclosporine Ophthalmic Emulsion)
                                     Antitrust Litigation, No. 18-md-02819 (E.D.N.Y.) (Hon. Nina Gershon)
                                   > $166 million: direct purchaser class settlement, In re Lidoderm Antitrust Litigation, MDL No. 2521 (N.D.
                                     Cal.) (Hon. William Orrick)
                                   > $72.5 million: direct purchaser class settlement, In re Solodyn (Minocycline Hydrochloride) Antitrust
                                     Litigation, No. 14-md-02503 (D. Mass.) (Hon. Denise J. Casper)


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                      PARTNER, EXECUTIVE COMMITTEE MEMBER

                      Thomas M. Sobol
                      EXPERIENCE
                      > Has Led almost 20 generic delay cases, involving various theories, on behalf of both direct and end
                        payers to settlement and distributions to classes (or aggregated groups)
                      > Helped develop the econometric model used to show the relationship between marketing and the opioid
                        epidemic in the opioids MDL. In re National Prescription Opiate Litigation, No. 17-md-02804 (N.D. Ohio)
                        (Hon. Dan Aaron Polster)
                      > Originated the Ranbaxy fraudulent ANDA litigation, alleging novel theory that a generic company’s
                        fraudulent statements to FDA in order to obtain exclusivities violated federal RICO and antitrust laws,
                        Meijer, Inc. v. Ranbaxy Inc., No. 15-cv-11828 (D. Mass.) (Hon. Nathaniel M. Gorton)
                      > Served as Lead counsel in the New England Compounding MDL and a member of the creditors’
                        committee in the related bankruptcy, representing more than 700 victims who contracted fungal
                        meningitis or other serious health problems as a result of receiving contaminated products produced,
                        resulting in about a $200 million settlement, In re New England Compounding Pharmacy, Inc. Products
                        Liability Litigation, MDL No. 2419 (D. Mass.) (Hon. F. Dennis Saylor, IV; Hon. Rya W. Zobel)
                      > In the Vioxx MDL, developed a win-win lien resolution program for consumers and health plans that
                        dispensed with the inefficiencies of resolving insurance liens piecemeal that is now a routine part of
                        mass tort MDLs, In re Vioxx Products Liability Litigation, MDL No. 1657 (E.D. La.) (Hon. Eldon E. Fallon)
                      > Obtained a $142 million RICO jury verdict against Pfizer for fraudulently marketing its drug Neurontin;
                        negotiated a separate $325 million settlement on behalf of a class of health plans, In re Neurontin
                        Marketing, Sales Practices, and Products Liability Litigation, MDL No. 1629 (D. Mass) (Hon. Patti B.
                        Saris)
                      > Brought ground-breaking suit alleging widespread fraudulent marketing and sales practices for the
                        prostate cancer drug Lupron (In re Lupron Marketing and Sales Practices Litigation, No. 01-md-1430 (D.
                        Mass.) (Hon. Richard Stearns), which uncovered pricing theories later litigated in the Average Wholesale
                        Price litigation (In re Pharmaceutical Industries Average Wholesale Price Litigation, No. 02-md-1456
                        (D. Mass) (Hon. Patti B. Saris), over $250 million in settlements) and related litigation against First
                        Databank, (New England Carpenters Health Benefits Fund v. First DataBank, Inc., No. 05-cv-11148 (D.
                        Mass.) (Hon. Patti B. Saris), major price rollback on hundreds of drugs)
                      > Worked closely with consumer groups trying to bring down the prices of prescription drugs, including
                        serving as lead counsel to the former Prescription Access Litigation (PAL) project, a large coalition
                        of health care advocacy groups that fought illegal, loophole-based overpricing by pharmaceutical
                        companies.
                      > Since 2002, has represented consumers, consumer groups, health plans, governments and institutions
                        in complex class actions involving waste, fraud, and abuse in the pharmaceutical industry.
                      > Special Assistant Attorney General for the Commonwealth of Massachusetts and the states of New
                        Hampshire and Rhode Island, including in ground-breaking litigation against tobacco industry (injunctive
                        relief and recovery of more than $10 billion).
                      > Spent seventeen years at a large Boston firm handling large complex civil and criminal litigation.


                      PRO BONO
                      > Chairman of the board, New England Shelter for Homeless Veterans, 1995 - 2002


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                      PARTNER, EXECUTIVE COMMITTEE MEMBER

                      Thomas M. Sobol

                      RECOGNITION
                      > Massachusetts Ten Leading Litigators, The National Law Journal
                      > Massachusetts Super Lawyer 2008-2021
                      > Nominated in 2011 for Trial Lawyer of the Year by Public Justice for verdict in In re Neurontin Marketing,
                      > Sales Practices, and Products Liability Litigation, MDL No. 1629 (D. Mass.).




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                 LLP




                                    PARTNER, EXECUTIVE COMMITTEE MEMBER

                                    Robert B. Carey
                                    Rob added to HB’s office a built-in mock courtroom, complete with jury
                                    box, audio-visual equipment to record witnesses and lawyers, and separate
                                    deliberation rooms for two juries. Download photo »


CONTACT                             Mr. Carey handles various types of injury and consumer claims. Mr. Carey was lead counsel on a jury trial
11 West Jefferson St.               that produced the largest medical-malpractice verdict in 2018, secured class certification in class actions
Suite 1000                          on behalf of consumers and workers where damages are almost $2 billion, and investigated the dialysis
Phoenix, AZ 85003
                                    industry’s role in deaths caused by central venous catheter infections and misuse of dialysis solutions.
(602) 840-5900 office               CURRENT ROLE
(602) 840-3012 fax
                                    > Partner & Executive Committee Member, Hagens Berman Sobol Shapiro LLP
rob@hbsslaw.com
                                    > Leads Hagens Berman’s Phoenix office
YEARS OF EXPERIENCE
                                    > Practice focuses on class-action lawsuits, including auto defect, insurance, right of publicity and fraud
> 34
                                      cases. Mr. Carey’s work also extends to bad-faith insurance, personal injury and medical malpractice,
                                      with several trials involving verdicts in the hundreds of millions.
PRACTICE AREAS
> Personal Injury Litigation         - Frequently asked to handle jury trials for high-value cases
> Insurance Bad Faith               RECENT SUCCESS
> Breach of Contract Claims
                                    > In June 2018, a Denver jury awarded a monumental $383.5 million jury verdict against GranuFlo dialysis
BAR ADMISSIONS                        provider, DaVita Inc. culminating lawsuits brought by families of three patients who suffered cardiac
> Arizona                             arrests and died after receiving dialysis treatments at DaVita clinics. Each of the three parties was
> Colorado                            awarded $125 million in punitive damages from the jury, with compensatory damages ranging from $1.5
                                      million to $5 million.
COURT ADMISSIONS
> U.S. Supreme Court                > Over the summer of 2012, Rob was lead counsel in Robin Antonick’s case against Electronic Arts,
> United States Court of              where a jury heard evidence that Electronic Arts failed to pay Antonick for over 20 years for his work in
  Appeals for the Federal Circuit     coding and developing the legendary Madden NFL Football video game. This trial, held in the Northern
> U.S. Court of Appeals,              District of California, resulted in two verdicts for Antonick and was dubbed a “Top Trial Verdict of 2013”
  Fifth Circuit                       by The Daily Journal, a leading legal publication.
> U.S. Court of Appeals,
                                    > Prevailed at the Arizona Court of Appeals for the second time, keeping intact class certification for tens
  Seventh Circuit
> U.S. Court of Appeals,
                                      of thousands of truck drivers suing to recover underpayments caused by misuse of Rand McNally’s
  Ninth Circuit                       HHG software by Swift Transportation.
> U.S. Court of Appeals,            > Helped originate the Toyota Sudden Unintended Acceleration case, filing the initial Hagens Berman
  Tenth Circuit                       complaints for a case that eventually settled for $1.6 billion
> Various federal district courts
                                    > Led Hagens Berman’s efforts on the $97 million settlement with Hyundai and Kia corporations over
                                      misrepresentations about MPG ratings
EDUCATION
                                    > Helped secure a first-ever ($60 million) settlement for collegiate student-athletes (Keller, consolidated
> University of Denver, M.B.A.,
                                      with O’Bannon) from Electronic Arts (EA) and the NCAA for the misappropriation of the student-
  J.D., 1986
                                      athletes’ likenesses and images for the EA college football video game series. This groundbreaking suit
> Arizona State University, B.S.,
  1983                                went up to the U.S. Supreme Court before a settlement was reached, providing student-athletes—even
> Harvard University, John            current ones—with cash recoveries for the use of their likenesses without permission.
  F. Kennedy School of              > Represented Donnovan Hill against Pop Warner after he was paralyzed at 13. With Rachel Fitzpatrick,
  Government, State & Local           Rob secured a settlement that “forever changed youth football” (OC Weekly) and was “unprecedented”
  Government Program, 1992
                                      and owed a debt of gratitude by those who care about the safety of kids playing football (Washington
www.hbsslaw.com                                                                                                                                   56
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                                                             HAGENS BERMAN SOBOL SHAPIRO                                       LLP




                      PARTNER, EXECUTIVE COMMITTEE MEMBER

                      Robert B. Carey
                        Post). Donnovan died tragically during a 2016 surgery.
                      > Rob secured a record verdict for a mother suing her deceased son’s estate for negligence in starting a
                        home fire. He then took an assignment of the estate’s claim and pursued a bad faith claim against the
                        insurer, resulting in lifetime financial security for the badly burned mother.
                      > After successfully reforming an insurance policy to cover a client – a student-athlete injured in a roll-
                        over accident that caused incomplete tetraplegia and traumatic brain injury – Rob went to the jury,
                        which awarded damages for all harms and losses requested and for insurance bad faith, with a verdict
                        exceeding over 15 times policy limits.
                      > Rob sued the leading auto carrier for refusal to fully cover a pedestrian struck by the carrier’s driver.
                        The verdict was valued over seven figures, and included a finding of willful and wanton conduct, trebling
                        the damages.
                      > After Rob cross-examined the CEO and CFO of a pharmacy benefits company, the jury entered a verdict
                        for his client in the liability phase of a $75-million dispute.
                      > During his representation of a driver paralyzed by a car’s roof collapse, the insurance company ignored
                        that the agent did not understand or offer required high-end coverages. The jury returned a verdict with
                        a value over seven figures, including a finding for treble damages.
                      > Rob represented passengers of drunk driver, and persuaded the jury to award future earning capacity,
                        essential services, medical bills and to find willful and wanton conduct against the insurer (treble
                        damages). After a successful trip to the state supreme court, the verdict was maintained and had a
                        value in excess of 15 times the policy limits.
                        RECOGNITION
                      > Best Lawyers in America 2023 in Litigation - Insurance and Personal Injury Litigation - Plaintiffs
                      > One of 500 Leading Lawyers in America selected (again) by Lawdragon, and the only Arizona or
                        Colorado attorney to make the list.
                      > Listed since 2008 as a Top 100 Trial Lawyer by Arizona’s Finest Lawyers and National Trial Lawyers
                      > Recognized by the judges of the Superior Court of Arizona in Maricopa County for outstanding
                        contributions to the justice system.
                      > Member of Hagens Berman’s Toyota team selected as a Finalist for Public Justice’s 2014 Trial Lawyer
                        of the Year
                      > Selected as a Leading Plaintiff Financial Lawyer in America and a Leading Plaintiff Consumers Lawyer
                        in America
                      > U.S. Department of Justice, recognized for victims’ rights efforts
                      EXPERIENCE
                      > Adjunct Professor, Sandra Day O’Connor College of Law, teaching class actions. Has taught law and
                        policy courses at other universities.
                      > Judge Pro Tempore, Maricopa County Superior Court, presiding over contract and tort jury trials
                      > In the 90s, he served as trial counsel on claims by counties for damages stemming from tobacco-




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                                                             HAGENS BERMAN SOBOL SHAPIRO                                         LLP




                      PARTNER, EXECUTIVE COMMITTEE MEMBER

                      Robert B. Carey
                        related illnesses (and acted as special counsel for Hagens Berman in seeking to recover damages in the
                        landmark tobacco litigation), and since then has led dozens of consumer and insurance class actions in
                        various states.
                      > While serving as Arizona Chief Deputy Attorney General Mr. Carey helped secure a $4 billion divestiture
                        and a landmark $165 million antitrust settlement. He also was a principal drafter of the first major
                        overhaul of Arizona’s criminal code and authored the section of the federal Prisoner Litigation Reform
                        Act of 1995 for Senators Dole and Kyl that virtually eliminated frivolous prisoner lawsuits. Mr. Carey
                        oversaw all major legal, policy, legislative and political issues for the Arizona attorney general’s office.
                        He developed and spearheaded passage of Arizona’s law requiring the DNA testing of all sex offenders
                        and the law requiring that criminals pay the cost of victims’ rights.
                      > Campaign staffer, intern, and staff member for U.S. Senator John McCain, during and after Senator
                        McCain’s first run for public office


                      LEGAL ACTIVITIES
                      > Member and Former Chairman, Arizona State Bar Class Action and Derivative Suits Committee
                      PUBLICATIONS
                      > Co-author of “7 Punitive Damages Strategies,” Trial Magazine, April 2019
                      > Co-author of the Arizona chapter of the ABA’s “A Practitioner’s Guide to Class Actions”
                      > Co-author of the Arizona and Colorado chapters of the ABA’s “A Practitioner’s Guide to Class Actions”
                        (2d ed.)
                      NOTABLE CASES
                      > Propane Exchange Tank Litigation
                      > Hyundai/Kia MPG Litigation
                      > Swift Truckers Litigation
                      > Toyota Unintended Acceleration Litigation
                      > NCAA Student-Athlete Name and Likeness Licensing Litigation
                      > Hyundai Subframe Defect Litigation
                      > Hyundai Occupant Classification System / Airbag Litigation
                      > Hyundai Horsepower Litigation
                      > Arizona v. McKesson False Claims and Consumer Protection Litigation (representing State of Arizona)
                      > Apple Refurbished iPhone/iPad Litigation
                      > Jim Brown v. Electronic Arts
                      > LifeLock Sales and Marketing Litigation
                      > Rexall Sundown Cellasene Litigation




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                  LLP




                                      PARTNER

                                      Lauren Guth Barnes
                                      Ms. Barnes was honored with the American Association for Justice’s Marie
                                      Lambert Award in 2018, given to a female attorney in recognition of her
                                      exemplary leadership to the profession, to her community, to AAJ and to the
                                      Women Trial Lawyers Caucus.

CONTACT                               CURRENT ROLE
1 Faneuil Hall Sq.
                                      > Partner & Management Committee Member, Hagens Berman Sobol Shapiro LLP
5th Floor
Boston, MA 02109                      > Practice focuses on antitrust, consumer protection and RICO litigation against drug and medical device
                                        manufacturers in complex class actions and personal injury cases for consumers, large and small health
(617) 482-3700 office                   plans, direct purchasers and state governments
(617) 482-3003 fax
lauren@hbsslaw.com
                                      > Co-lead class counsel for direct purchasers in In re Glumetza Antitrust Litigation (N.D. CA.)
                                      > Co-lead class counsel for direct purchasers in In re Intuniv Antitrust Litigation (D. Mass.)
YEARS OF EXPERIENCE
                                      > Co-lead interim class counsel for end payors in In re Humira (Adalimumab) Antitrust Litigation (N.D. Ill.)
> 17
                                      > Co-lead interim class counsel for student purchasers in In re Inclusive Access Course Materials
PRACTICE AREAS                          Antitrust Litigation (S.D. N.Y.)
> Antitrust Litigation
> Class Actions                       EXPERIENCE
> Consumer Rights
> Mass Torts
                                      > As co-lead class counsel, helped secure $72.5 million class settlement for direct purchaser class three
> Medical Devices                       days before trial in MDL 2503: In re Solodyn Antitrust Litigation
> Pharmaceuticals/Health Care         > Helped reach a $73 million class settlement for direct purchasers in MDL No. 2343: In re. Skelaxin
  Fraud                                 Antitrust Litigation
> RICO
                                      > Represented the state of Connecticut and helped secure a $25M settlement in its action against Eli Lilly
BAR ADMISSIONS                          over unlawful promotion of and misrepresentations about Zyprexa
> Massachusetts                       > Represented health benefit providers in the firm’s Ketek and copay subsidies class litigation, and
                                        individuals harmed by pharmaceuticals such as Yaz, Actos and Granuflo and medical devices including
COURT ADMISSIONS
                                        pelvic mesh
> U.S. District Court, District of
  Massachusetts                       > Served as pro bono counsel in a successful constitutional challenge to the Commonwealth of
> U.S. Court of Appeals, Second         Massachusetts’ exclusion of legal immigrants from the state’s universal healthcare program
  Circuit, Eleventh Circuit           > Served as liaison counsel for In re Fresenius Granuflo/Naturalyte Dialysate Products Liability Litigation
> Supreme Court of the United
  States                              > Active in the fights against forced arbitration federal preemption of consumer rights, working to ensure
                                        the public maintains access to the civil justice system and the ability to seek remedies when companies
EDUCATION                               violate the law
> Boston College Law School,
                                      > Co-authored an amicus brief to the Supreme Court in Pliva v. Mensing on behalf of practitioners and
  J.D., cum laude, Articles Editor,
                                        professors who teach and write on various aspects of pharmaceutical regulation and the delivery of
  Boston College Law Review,
                                        healthcare
  2005
> Williams College, B.A.,             > Worked at Conflict Management Group where she worked with members of the United Nations High
  International Relations, cum          Commissioner for Refugees on a pilot project in Bosnia-Herzegovina designed to ease tensions and
  laude, 1998                           encourage reconciliation in post-conflict societies, and contributed to Imagine Coexistence, a book
                                        developed out of the collaboration



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                                                             HAGENS BERMAN SOBOL SHAPIRO                                    LLP




                      PARTNER

                      Lauren Guth Barnes
                      > Serves on the Board of On The Rise, a Cambridge, MA daytime shelter for homeless women and
                        women in crisis

                      LEGAL ACTIVITIES
                      > American Association for Justice (AAJ)
                        - Executive Committee, Member (2014-2015, 2019-present)
                        - Board of Governors, Member (2012-present)
                        - Law Schools Committee, Co-Chair (2010-present)
                        - Committee on the Judiciary, Chair (2018-present)
                        - Antitrust Litigation Group, Former Chair (2016-2018)
                        - Women Trial Lawyers Caucus, Former Chair (2012-2013)
                        - Class Action Litigation Group, Former Co-Chair (2011-2012)
                        - New Lawyers Division, Board of Governors (2009-2014)
                        - Committees (various), Member
                        - AAJ Trial Lawyers Care Task Force, Member (2012-present)
                      > Public Justice
                        - Board of Directors, Member (2018-present)
                        - Class Action Preservation Project, Chair (2020-present); Vice Chair (2019-2020)
                      > Massachusetts Academy of Trial Attorneys
                        - Executive Committee, Member (2012-2014; 2017-present)
                        - Board of Governors, Member (2011-present)
                      > Institute for Complex Litigation and Mass Claims at Emory Law, Emerging Leaders Board of Advisors
                        (2015-2017)
                      > Boston Bar Association, Class Action Committee, Co-Chair (2014-2018)


                      RECOGNITION
                      > Lawdragon 500 Leading Lawyers in America, Plaintiff Financial Lawyers (2020)
                      > Massachusetts Super Lawyer (2018, 2019)
                      > AAJ Marie Lambert Award (2018)
                      > AAJ Distinguished Service Award (2015, 2017, 2018)
                      > AAJ Women’s Caucus Excellence in Leadership Award (2017, 2019)
                      > AAJ Above and Beyond Award (2016)
                      > Institute for Complex Litigation and Mass Claims at Emory Law, Emerging Leaders Board of Advisors –
                        inaugural class (2015-2017)
                      > National Law Journal Boston Rising Star Award (2014)
                      > Massachusetts Academy of Trial Attorneys President’s Award (2014)
                      > Massachusetts Bar Association Up & Coming Lawyer Award (2013)
                      > Massachusetts Rising Star (2014, 2015)
                      > AAJ New Lawyers Division Excellence Award (2010, 2011, 2013, 2014)




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                                                             HAGENS BERMAN SOBOL SHAPIRO                                       LLP




                      PARTNER

                      Lauren Guth Barnes
                      > AAJ New Lawyers Division Above and Beyond Award (2012)
                      > AAJ Wiedemann & Wysocki Award (2012, 2013)
                      NOTABLE CASES
                      > $72.5 Million Recovery in Solodyn Antitrust Action
                        In July 2018, the Honorable Denise J. Casper of the District of Massachusetts granted final approval to
                        a $72.5 million class settlement for direct purchasers of brand and generic Solodyn. HBSS was co-lead
                        class counsel in this case alleging Medicis entered into a series of reverse payment deals to delay entry
                        of generic Solodyn and used the period of delay to effectuate a product hop, all resulting in overcharges
                        by direct purchasers. The case settled three days before trial.
                        In re Solodyn Antitrust Litigation, D. Mass., MDL No. 2503
                      > $73 Million Recovery for Direct Purchasers of Skelaxin
                        On Sept. 24, 2014, Judge Curtis Collier of the Eastern District of Tennessee approved a $73 million
                        settlement for direct purchasers of Skelaxin in litigation alleging Skelaxin’s manufacturer colluded with
                        would-be generic competitors, fraudulently delaying generic competition and leading to higher prices.
                        Metaxalone was sold under the brand name Skelaxin since 1962, but the original patent expired in
                        1979. Manufacturers applied to market generic metaxalone in 2002, and generic competitors remained
                        foreclosed from marketing generic metaxalone until 2010. Hagens Berman served as lead counsel for
                        direct purchasers.
                        In re Skelaxin (Metaxalone) Antitrust Litigation, E.D.TN., Civil Action No. 1:12-md-2343.
                      > Health care coverage for 40,000 legal immigrants in Massachusetts
                        On Jan. 5, 2012, the Massachusetts Supreme Judicial Court ruled unanimously that a state law barring
                        40,000 low-income legal immigrants from the state’s universal health care program unconstitutionally
                        violates those immigrants’ rights to equal protection under the law and must be struck down. Hagens
                        Berman served as pro bono counsel.
                        Finch v. Commonwealth Health Insurance Connector Authority, Mass., Civil Action No. SJC-11025.
                      > $25 million for the state of Connecticut for Zyprexa fraud
                        On Oct. 5, 2009, U.S. District Court Judge Jack B. Weinstein approved a $25 million settlement
                        reached by the parties to conclude the state’s Zyprexa litigation that alleged Lilly engaged in unlawful
                        off-label promotion and misrepresented Zyprexa’s safety and efficacy, resulting in millions of dollars in
                        excess pharmaceutical costs. Hagens Berman served as outside counsel to Attorney General Richard
                        Blumenthal.
                        State of Connecticut v. Eli Lilly & Co., E.D.N.Y., Civil Action No. 08-cv-955-JBW.
                      PUBLICATIONS

                      > “How Mandatory Arbitration Agreements and Class Action Waivers Undermine Consumer Rights and
                        Why We Need Congress to Act,” Harvard Law and Policy Review, August 2015


                      PERSONAL INSIGHT
                      Unlike many of her colleagues at HBSS, Lauren does not run marathons – unless chasing after her three
                      children counts. Lauren did wrestle in college but refused to don the wrestling singlet. Whenever she can,
                      Lauren rock climbs with her in-laws, breathes deeply at yoga, and hosts dinner parties to, despite usual
                      advice, try totally new recipes. She also keeps the pizza delivery guy on speed dial as back-up for such
                      occasions.
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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                    LLP




                                     PARTNER

                                     Kristen A. Johnson
                                     Public Justice nominated Ms. Johnson and the rest of the Neurontin trial team
                                     for Trial Lawyer of the Year for securing a $142 million verdict against Pfizer
                                     for suppressing and manipulating results of scientific studies.


CONTACT                              CURRENT ROLE
1 Faneuil Hall Sq.
                                     > Partner, Hagens Berman Sobol Shapiro LLP
5th Floor
Boston, MA 02109                     > Court-appointed lead counsel for the proposed class of direct purchasers in multidistrict litigation
                                       alleging that brand company Merck and generic company Glenmark struck an anticompetitive pay-
(617) 475-1961 office                  for-delay agreement to resolve patent-infringement litigation over the drug Zetia. In re Zetia Antitrust
(617) 482-3003 fax                     Litigation, 2:18-md-2836, E.D. Va., ECF No. 105.
kristenjp@hbsslaw.com                > Member of the HBSS team litigating antitrust claims on behalf of a proposed class of direct purchasers
                                       of brand and generic Glumetza. In re Glumetza Antitrust Litigation, 3:19-cv-05822, N.D. Cal.
YEARS OF EXPERIENCE
> 14                                 > Working with experts in In re: Ranbaxy Generic Drug Application Antitrust Litigation, 1:19-md-02878, D.
                                       Mass.
PRACTICE AREAS                       > Instrumental in new case investigation work directed to combating waste, fraud, and pricing abuse in
> Class Actions                        the pharmaceutical industry.
> Consumer Rights                    RECENT SUCCESS
> RICO
> Antitrust                          > The First Circuit reversed a district court’s dismissal of antitrust litigation premised on wrongfully listing
                                       patents covering insulin injector pens in FDA’s Orange Book. In re Lantus Direct Purchaser Antitrust
                                       Litigation, 18-cv-2086, 1st Cir., Feb. 13, 2020.
BAR ADMISSIONS
> Massachusetts                      > Directed HBSS’s litigation efforts, as co-lead counsel for the certified class of direct purchasers, and ran
                                       the patent team through the run up to trial in In re Loestrin 24 Fe Antitrust Litigation. The parties have
COURT ADMISSIONS                       reached a proposed $120 million settlement shortly before trial. In re Loestrin 24 Fe Antitrust Litigation,
> U.S. District Court, District of     1:13-md-02472, D.R.I., ECF Nos. 10, 1050.
  Massachusetts                      > Court-appointed Interim lead/liaison class counsel for the proposed direct purchaser class in
> First Circuit Court of Appeals       multidistrict litigation alleging that Allergan engaged in an anticompetitive scheme to delay generic
                                       versions of Restasis from coming to market. The parties have reached a proposed $51.25 million
EDUCATION                              settlement on behalf of the proposed settlement class of direct purchasers of the drug Restasis, In re
> Boston College Law School,           Restasis Antitrust Litigation, 18-md-2819, E.D.N.Y., ECF No. 50.
  J.D.
> Dartmouth College, cum laude,      LEGAL ACTIVITIES
  B.A.                               > Public Justice, Class Action Preservation Committee
                                     > American Association for Justice
                                     RECOGNITION
                                     > The National Trial Lawyers: Top 100, 2022
                                     > In 2014 and 2015, the National Law Journal honored Ms. Johnson as one of Boston’s Rising Stars, one
                                       of 40 outstanding lawyers under 40.
                                     > In 2020, Lawdragon named Ms. Johnson one of 500 Leading Lawyers in America, Plaintiff Financial
                                       Lawyers.




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                                                             HAGENS BERMAN SOBOL SHAPIRO                                         LLP




                      PARTNER

                      Kristen A. Johnson
                      > In 2011, Public Justice nominated Ms. Johnson and the rest of the Neurontin trial team for Trial
                        Lawyer of the Year for their work in securing a $142 million verdict against Pfizer for suppressing and
                        manipulating the results of scientific studies that showed Neurontin did not work to treat the off-label
                        indications Pfizer was heavily promoting.
                      NOTABLE CASES
                      > $94 million settlement for the certified class of direct purchasers in In re Celebrex (Celecoxib) Antitrust
                        Litigation, 2:13-cv-361, E.D. Va., ECF Nos. 64, 455 (court-appointed co-lead counsel).
                      > $98 million settlement for the direct purchaser class in In re Prograf Antitrust Litigation, D. Mass., MDL
                        No. 2242 (team member).
                      > Personally appointed alternate lead counsel in the In re New England Compounding Pharmacy Litigation
                        Multidistrict Litigation, 12-md-2419, D. Mass. During the nascent stages of the MDL, the court appointed
                        Ms. Johnson liaison counsel to speak for the hundreds of victims who contracted fungal meningitis or
                        suffered other serious health problems as a result of receiving contaminated products made and sold by
                        NECC. This case resulted in a $189+ million settlement on behalf of tort victims.
                      > Member of the trial team that achieved a $142 million civil RICO verdict against Pfizer for suppressing
                        and manipulating results of scientific studies concerning the drug Neurontin. Post-trial, the third-party
                        payer class settled with Pfizer for an additional $325 million. In re Neurontin Marketing, Sales Practices,
                        and Products Liability Litigation, D. Mass., MDL No. 1629.
                      > $150 million settlement for the direct purchaser class in In re Flonase Antitrust Litigation, E.D. Pa., 08-
                        cv-3149 (team member).


                      PERSONAL INSIGHT
                      Ms. Johnson grew up in a family law practice (they literally turned a closet into a playroom) in Canfield,
                      Ohio. Her grandfather, uncle, father, brother and sister are all lawyers, all practice together, and her
                      mother runs the law office. Ms. Johnson’s career choice was perhaps inevitable, though her departure for
                      Boston makes her a bit of a black sheep.




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                LLP




                                     PARTNER

                                     Sean R. Matt
                                     Leads the firm’s innovation in organizing and prosecuting individual class cases
                                     across many states involving the same defendants and similar factual and legal
                                     issues, an approach that continues to be a key factor in the firm’s success


CONTACT                              CURRENT ROLE
1301 Second Avenue
Suite 2000
                                     > Partner, Hagens Berman Sobol Shapiro LLP, since its founding in 1993
Seattle, WA 98101                    > Practice focuses on multi-state and nationwide class actions and complex commercial litigation
                                       encompassing securities and finance, consumer, antitrust, insurance and products
(206) 268-9327 office
(206) 623-0594 fax                   > Diverse experience in most of the firm’s practice areas, involving appearances in state and federal
sean@hbsslaw.com                       courts across the country at both the trial and appellate levels
                                     > Key member of the firm’s securities litigation team, most recently co-leading the prosecution and
YEARS OF EXPERIENCE
                                       settlement of the In re Charles Schwab Securities Litigation, the In re Oppenheimer Champion Income
> 29
                                       Fund Securities Class Actions and the Oppenheimer Core Bond Fund Class Action Litigation

PRACTICE AREAS                       > Key member of the firm’s pharmaceutical litigation team that confronts unfair and deceptive pricing and
> Securities Litigation                marketing practices in the drug and dietary supplement industries including Average Wholesale Price
> Consumer Rights                      Litigation, the First Databank/McKesson Pricing Fraud Litigation and the Enzyte Litigation
> Antitrust Litigation
                                     > Key member of the firm’s automobile defect litigation team
> Insurance
> Products Liability                 RECOGNITION
                                     > In 2014, Public Justice nominated Mr. Matt and the In re Toyota Motor Corp. Sudden, Unintended
INDUSTRY EXPERIENCE
                                       Acceleration team for the Trial Lawyer of the Year Award for their work in securing a $1.6 billion
> Complex Financial Instruments
                                       settlement for car owners.
> Investments
> Pharmaceuticals                    > In 2020, Lawdragon named Mr. Matt one of 500 Leading Lawyers in America, Plaintiff Financial
> Automotive                           Lawyers.
                                     PUBLICATIONS
COURT ADMISSIONS
> Supreme Court of Washington        > Providing a Model Responsive to the Needs of Small Businesses at Formation: A Focus on Ex Ante
> U.S. District Court, Western         Flexibility and Predictability, 71 Oregon Law Review 631, 1992
  District of Washington             NOTABLE CASES
> U.S. District Court, District of
  Colorado                           > Mercedes Emissions ($763 settlement)
> Ninth Circuit U.S. Court of        > In re Charles Schwab Securities Litigation ($235 million settlement)
  Appeals
                                     > In re Oppenheimer Champion Income Fund Securities Fraud Class Actions ($52.5 million proposed
EDUCATION                              settlement)
> Indiana University, B.S.,
                                     > Oppenheimer Core Bond Fund Class Action Litigation ($47.5 million settlement)
  Finance, Highest Distinction,
  1988                               > Morrison Knudsen and Costco Wholesale Corp. Securities Litigation
> University of Oregon School
                                     > In re Pharmaceutical Industry Average Wholesale Price Litigation ($338 million settlement)
  of Law, J.D., Order of the Coif
  (top 10%), Associate Editor of     > In re Toyota Motor Corp. Unintended Acceleration Marketing, Sales Practices, and Products Liability
  the Law Review, 1992




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                                                             HAGENS BERMAN SOBOL SHAPIRO                                       LLP




                      PARTNER

                      Sean R. Matt
                        Litigation
                      > In re Checking Account Overdraft cases pending against many of the country’s largest banks
                      > Washington State Ferry Litigation, which resulted in one of the most favorable settlements in class
                        litigation in the history of the state of Washington
                      > Microsoft Consumer Antitrust cases
                      > State Attorneys General Tobacco Litigation, assisted with client liaison responsibilities, working closely
                        with assistant attorneys general in Oregon, Ohio, Arizona, Alaska and New York, as well as assisting in
                        all litigation matters
                      PERSONAL INSIGHT
                      Sean, whose four-man team won cycling’s prestigious Race Across America with a time of six days and
                      three hours, still occasionally rides a bike.




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                                                                 HAGENS BERMAN SOBOL SHAPIRO                                                     LLP




                                    PARTNER

                                    Shana E. Scarlett
                                    Shana has achieved hundreds of millions of dollars in recovery for classes
                                    in antitrust matters, and has been named a Northern California Super
                                    Lawyer and top California antitrust attorney.


CONTACT                             CURRENT ROLE
715 Hearst Ave.
                                    > Partner & Management Committee Member, Hagens Berman Sobol Shapiro LLP
Suite 300
Berkeley, CA 94710                  > Managing Partner of Hagens Berman’s Berkeley office
                                    > Practice is devoted entirely to representing plaintiffs in complex litigation, and primarily in the areas of
(510) 725-3000 office                 antitrust and unfair competition
(510) 725-3001 fax
shanas@hbsslaw.com
                                    RECENT SUCCESS
YEARS OF EXPERIENCE                 > Ms. Scarlett has played a leading role in obtaining sizable settlements for antitrust plaintiffs in the
> 21                                  following cases:
                                      - In re Broiler Chicken Antitrust Litig., No. 16-CV-08637 (N.D. Ill.) (co-lead counsel for indirect
PRACTICE AREAS                        purchaser class; recovery to date of $106 million)
> Antitrust Litigation                - In re Animation Workers Antitrust Litig., No. 14-cv-4062 (N.D. Cal.) (team at Hagens Berman acting
> Consumer Protection                 as co-lead counsel for class of workers; recovery of nearly $169 million)
> Securities Litigation               - In re Lithium Ion Batteries Antitrust Litig., No. 13-md-02420 (N.D. Cal.) (team at Hagens Berman
                                      acting as co-lead counsel for indirect purchaser class; recovery of $113.45 million)
INDUSTRY EXPERIENCE                   - In re EBooks Antitrust Litig., No. 11-md-02293 (S.D.N.Y.) (team at Hagens Berman acting as co-lead
> Technology Companies                counsel for indirect purchaser class; recovery of $568 million)
> Internet Companies
                                      - In re Optical Disk Drive Antitrust Litig., No. 10-md-02143 (N.D. Cal.) (team at Hagens Berman acting
> Agricultural Companies              as lead counsel for indirect purchaser class; recovery of $205 million)
                                      - In re Railway Industry Employee No-Poach Antitrust Litigation, MDL No. 2850 (W.D. Pa.) (team at
BAR ADMISSIONS                        Hagens Berman on executive committee; recovery of $48.95 million)
> California

COURT ADMISSIONS                    RECOGNITION
> U.S. District Courts for the      > Northern California Super Lawyer, 2013 - 2022
  Northern, Southern, Eastern
                                    > Who’s Who Legal, Thought Leaders - Global Elite, 2022
  and Central Districts of
  California                        > The Daily Journal, Top Plaintiff Lawyers, 2022
> U.S. Court of Appeals, Second     > Lawdragon 500 Leading Plaintiff Consumer Lawyers, 2022
  Circuit                           > Lawdragon Leading Lawyers in America, Plaintiff Consumer Litigation, 2022
> U.S. Court of Appeals,
  Seventh Circuit                   > Top Antitrust Attorney, Daily Journal of California, 2021-2022
> U.S. Court of Appeals, Ninth      > Top 100 Civil Plaintiff Trial Lawyers in California, The National Trial Lawyers , 2021
  Circuit                           > Lawdragon 500 Leading Plaintiff Financial Lawyers, 2020-2022
> U.S. Court of Appeals, Federal
  Circuit
                                    > Lawdragon Leading Plaintiff Lawyer, 2020 – 2021
                                    > Band 2 Ranking by Chambers and Partners, 2020; Band 1 Ranking, 2021
EDUCATION                           > Top 50 Women Northern California Super Lawyers, 2020-2021
> Stanford Law School, J.D.         > Rising Star Award for Northern California, Super Lawyers, 2009 – 2011
> University of British Columbia,
  B.A.

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                                                             HAGENS BERMAN SOBOL SHAPIRO                                         LLP




                       PARTNER

                       Shana E. Scarlett
                      EXPERIENCE
                      > Associate, Coughlin Stoia Geller Rudman & Robbins LLP (2004-2007)
                      > Associate, Milberg Weiss Bershad Hynes & Lerach LLP (2002-2004)
                      > Associate, Lieff Cabraser Heimann & Bernstein LLP (2001-2002)


                      LEGAL ACTIVITIES
                      > Panelist, Antitrust and Unfair Competition Law, California Lawyers Association, Views from the Top
                        (November 2021)
                      > Panelist, American Antitrust Institute, Taken and Defending Depositions of Economists in Panelist,
                        American Antitrust Institute, Taken and Defending Depositions of Economists in Private Class Actions
                        (November 2019)
                      > Panelist, American Bar Association, Key Considerations for Working with Expert Witnesses in Class
                        Actions (September 2019)
                      > Panelist, American Antitrust Institute, The Consumer and Food Sovereignty: Concentration and its
                        Effects on Food Prices, Choice, and Quality (December 2018)
                      > Panelist, Complex Litigation E-Discovery Forum: Tar and Validation Protocols (September 2018)
                      > Panelist, Civil Law Symposium: Class Actions for the Northern District Practice Program (September
                        2018) (spoke at the request of Judge Gonzalez Rogers on distribution of settlements and best practices
                        of notice)
                      > Panelist, The Impact Fund, Advanced Class Notice Issues (August 2018)
                      > Panelist, American Bar Association Meeting: Procedural Steps and Pitfalls in Antitrust Class Actions
                        (May 2018)
                      > Panelist, Northern District Judicial Conference: Class Actions (April 2018)
                      > Panelist, Class Certification – Making Sense of Class Certification Doctrine, Economics and
                        Econometrics, American Antitrust Institute (Nov. 2017)


                      NOTABLE CASES
                      > Ms. Scarlett is also serving as lead or co-lead class counsel in the following cases currently being
                        litigated:
                        - Klein v. Meta Platforms, No. 20-cv-08570 (N.D. Cal.) (co-lead counsel for a consumer class against
                        Facebook for gaining a monopoly through deceptive data use and collection practices)
                        - In re Pork Antitrust Litig., No. 18-CV-01776 (D. Minn.) (co-lead counsel for indirect purchaser class)
                        - In re Beef Purchasers Antitrust Litig. (Peterson v. JBS USA Food Co. Holdings et al.), No. 0:19-cv-
                        01129 (D. Minn.) (co-lead counsel for indirect purchaser class)
                        - In re Turkey Antitrust Litig., No. 1:19-cv-08318 (N.D. Ill.) (co-lead counsel for direct purchaser class)
                        - Jien v. Perdue Farms, Inc., No. 19-cv-2521 (D. Md.) (co-lead counsel for class of hourly and salaried
                        workers)
                      PERSONAL INSIGHT
                      Shana is Canadian and the daughter of the noted Canadian jurist, the Hon. Edward D. Scarlett. When not
                      in the Berkeley office of Hagens Berman, Shana usually can be found in Canada with her four sisters, nine
                      nieces and nephews.




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                 LLP




                                     PARTNER

                                     Leonard W. Aragon

                                     Before attending college, Mr. Aragon fulfilled his dream
                                     as a scout for the 2/68 Armored Tank Battalion.



CONTACT                              CURRENT ROLE
11 West Jefferson St.
Suite 1000
                                     > Partner, Hagens Berman Sobol Shapiro LLP
Phoenix, AZ 85003                    > Practice focuses on nationwide class actions and other complex litigation

(602) 840-5900 office
                                     > Currently counsel for plaintiffs in the highly publicized cases Keller v. Electronic Arts and In re NCAA
(602) 840-3012 fax                     Student-Athlete Name and Likeness Licensing Litigation which alleges that video game manufacturer
leonard@hbsslaw.com                    Electronic Arts, the National Collegiate Athletic Association, and the Collegiate Licensing Company used
                                       the names, images and likenesses of student-athletes in violation of state right of publicity laws and the
YEARS OF EXPERIENCE                    NCAA’s contractual agreements with the student-athletes. The plaintiffs reached a settlement with EA
> 20                                   and the CLC in May for $40 million and reached a settlement in June with the NCAA for $20 million.
                                       The parties are in the process of seeking approval from the Court for the two settlements.
PRACTICE AREAS                       RECENT SUCCESS
> Commercial Litigation
> Mass Tort                          > Multimillion-dollar jury verdict believed to be the largest in Columbiana County, Ohio history
> Appellate Advocacy                 > Multimillion-dollar class-action settlement on behalf of a nationwide class of student-athletes
> Personal Injury                      whose images were used on a website affiliated with CBS Interactive without their permission or
                                       compensation
COURT ADMISSIONS                     > Obtained two jury verdicts in favor of the original developer of the Madden Football video game
> U.S. District Court, District of     franchise in phased trial over unpaid royalties
  Arizona
> U.S. District Court, District of   RECOGNITION
  Colorado
                                     > Super Lawyers, Rising Star: Class Action/Mass Tort
EDUCATION                            LEGAL ACTIVITIES
> Stanford Law School, J.D.,
                                     > Adjunct Professor, Sandra Day O’Connor College of Law, Arizona State University
  2001
> Arizona State University, B.A.,    > State Bar of Arizona Bar Leadership Institute Class I
  History and Political Science,
  summa cum laude, 1998              > Pro bono work in insurance, immigration, family and contract law
                                     NOTABLE CASES
INDUSTRY EXPERIENCE
> Consumer Fraud
                                     > In re NCAA Student-Athlete Name and Likeness Licensing Litigation
> Software                           > Keller v. Electronic Arts Inc.
> Sports Law                         > Antonick v. Electronic Arts Inc.
> Health Care                        > In re Swift Transportation Co., Inc.
> Pharmaceuticals                    > Hunter v. Hyundai Motor America
> Election Law
                                     > Jim Brown v. NCAA; Liebich v. Maricopa County Community College District
> Gambling
> Administrative Procedures Act
                                     > Liebich v. Maricopa County Community College District
                                     PERSONAL INSIGHT
                                     Before entering the practice of law, Mr. Aragon was a scout for the 2/68 Armored Tank Battalion,
                                     communications director for a successful congressional campaign, and waited on season tickets holders
                                     at America West Arena so that he could secretly watch the Phoenix Suns.

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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                    LLP




                                     PARTNER

                                     Gregory T. Arnold

                                     Greg devotes his practice to pursuing remedies for those injured by antitrust
                                     violations, particularly within the pharmaceutical industry.



CONTACT                              CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                     > Partner, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109                     > Practice focuses on prosecution of large-scale, nationwide class actions, primarily against the
                                       pharmaceutical industry
(617) 475-1954 office
(617) 482-3003 fax                   > Works on behalf of large health care providers, seeking recoveries from tortfeasors associated with
grega@hbsslaw.com                      payments the providers make as a result of the harm they have caused
                                     > Directs Hagens Berman’s work on numerous pending direct purchaser class-action cases, including
YEARS OF EXPERIENCE
                                       In re Ranbaxy Generic Drug Application Antitrust Litigation, In re Actos Direct Purchaser Antitrust
> 25
                                       Litigation, In re Lipitor Antitrust Litigation, and In re Effexor XR Antitrust Litigation, as well as multiple
                                       actions brought on behalf of end payors, including Louisiana Health Service & Indemnity Comp., et al. v.
PRACTICE AREAS
                                       Janssen Biotech, Inc., et al., and Staley, et al. v. Gilead Sciences, Inc. et al.,
> Antitrust Litigation
> Personal Injury Litigation         RECENT SUCCESS
                                     > Part of a team that secured substantial recoveries on behalf of a class of direct purchasers in
BAR ADMISSIONS                         connection with wrongfully delayed entry of generic versions of various pharmaceutical drugs
> Massachusetts
> U.S. District Court, District of
                                     > Defeated motion to dismiss in case alleging misconduct on the part of a large Indian generic
  Massachusetts                        pharmaceutical manufacturer which caused delays in generic competition on multiple drugs with
> Court of Appeals, 2nd Circuit        billions of dollars of annual sales
                                     EXPERIENCE
EDUCATION
> Fairfield University, B.S.,        > Income Partner, Litigation Department for a large Boston-based law firm
  Marketing, 1991                    NOTABLE CASES
> Villanova University School
  of Law, J.D., 1996 (served on      > Bankruptcy-related litigation
  Law Review)                        - Lead efforts on behalf of three law firms protecting the interests of more than 25,000 claimants
                                       suffering from asbestos-related diseases to block a proposed plan of reorganization. During more
                                       than five years of litigation, Mr. Arnold succeeded in forcing numerous changes to the proposed
                                       plan, including the voting methodology, amount of contribution and distributions. He pursued several
                                       interlocutory appeals throughout the case and oversaw and managed all aspects of this complex
                                       litigation, culminating in a successful 20-day bench trial conducted in the bankruptcy court for the
                                       Southern District of New York, after which the court rejected the proposed bankruptcy plan, thereby
                                       securing a substantial benefit for the clients.
                                     - One of a team of lawyers representing the interests of the Ad Hoc Committee of Trade Creditors in the
                                       In re WorldCom matter, resulting in increasing our clients’ recoveries by nearly 50 percent.
                                     > Mass Torts/Class Actions
                                     - Played pivotal role in representing the Commonwealth of Massachusetts in landmark litigation against




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                                                             HAGENS BERMAN SOBOL SHAPIRO                                           LLP




                      PARTNER

                      Gregory Arnold
                        the Tobacco Industry, including establishing personal jurisdiction in Massachusetts over the United
                        Kingdom-based parent company to Brown & Williamson. This work product, as well as the resulting
                        court decision, was relied upon by Attorneys General throughout the country in their cases against the
                        tobacco Industry.
                      - Following the Commonwealth of Massachusetts’ action, lead efforts in pursuing a nationwide class
                        action on behalf of all persons injured as a result of the tobacco industry’s misconduct.
                      - Successfully defended a class-action case brought against a major credit card issuer, obtaining a denial
                        of class certification and dismissal of individual’s claims.
                      > Complex Financial Litigation
                      - Successfully represented a group of more than 65 investors in offshore hedge funds, pursuing
                        recoveries for more than $600 million of invested capital lost due to fraudulent practices of hedge fund
                        manager.
                      > General Commercial Litigation
                      - Represented former attorney whose malpractice insurer had refused defense and indemnity after an
                        office worker embezzled millions of dollars in client funds. Following a five-week Superior Court trial,
                        secured a verdict in favor of the client, holding the insurance company responsible for more than $2
                        million in liability to the insured’s former client. Successfully defended insurer’s appeal of the trial court
                        decision in the Appeals Court. Subsequently brought a case against the insurance company under
                        Chapter 93a, resulting in a multimillion-dollar recovery for the client.
                      - Obtained a substantial recovery for a client whose intellectual property was wrongfully assigned to a
                        third party. Achieved a pre-trial settlement with the assigning party while pursuing a bench trial in
                        Middlesex Superior Court against the party using the software.
                      - Served as “first chair” in a complex, multi-week bench trial in federal court over breach of multimillion-
                        dollar commercial contract concerning sale of radiology equipment, including prevailing on counterclaim
                        seeking to impose multimillion-dollar liability.
                      > Patent Litigation
                      - Represented national and international clients on a full range of patent litigation issues, including trials.
                      - Successful litigator before the United States International Trade Commission, including obtaining
                        favorable outcome for a client protecting their intellectual property rights against an infringer based in
                        Sweden.
                      > Labor and Employment Litigation
                      - Defended client interests in a variety of matters, including those involving non-competition agreements,
                        wrongful terminations, and harassment claims.
                      - Successfully represented companies enforcing non-compete agreements against former employees, as
                        well as new employers/former employees in avoiding the terms of non-compete agreements.
                      - Handled trials before administrative bodies, including the U.S. Department of Labor, including defending
                        a client against claims made under the Surface Transportation Assistance Act following the termination
                        of an employee/truck driver.




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                                                             HAGENS BERMAN SOBOL SHAPIRO                                      LLP




                      PARTNER

                      Gregory Arnold
                      > Other Litigation
                      - Represented client in an eminent domain trial, resulting in a jury award more than 10 times the
                        Commonwealth’s pro tanto offer.
                      PERSONAL INSIGHT
                      Greg is married with three children and lives in Mansfield, Mass. He played varsity ice hockey in college.




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                                                                    HAGENS BERMAN SOBOL SHAPIRO                                                LLP




                                    PARTNER

                                    Hannah Brennan
                                    Hannah is committed to improving access to medicines – both domestically
                                    and abroad – and has experience in drug pricing, patent and international right
                                    to health litigation.


CONTACT                             CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109                    > Practice focuses on drug pricing, consumer access to medications, healthcare fraud, antitrust and patent
                                      fraud
(617) 475-1950 office
(617) 482-3003 fax                  > Member of the HBSS team representing a proposed class of insulin consumers in their claims against
hannahb@hbsslaw.com                   Eli Lilly, Novo Nordisk and Sanofi for fraudulently and unfairly increasing the cost of live-saving insulin
                                      medications. HBSS has been named lead counsel in this case.
PRACTICE AREAS
                                    > Member of the HBSS team litigating claims against GSK for its fraudulent marketing of the diabetes
> Antitrust Litigation
                                      medication, Avandia. HBSS has been named lead counsel in this case.
> Civil & Human Rights
  Litigation                        > Member of the HBSS team litigating claims against the Commonwealth of Massachusetts for its failure
> Consumer Rights                     to enforce the Endangered Species Act to protect the Northern Atlantic right whale.
> Medical Devices
                                    RECENT SUCCESS
> Pharmaceutical Fraud
> RICO                              > Successful Third Circuit appeal of sealing orders in In re Avandia Marketing, Sales Practices and
                                      Products Liability Litigation. Hannah briefed and argued the class plaintiffs’ appeal of two district
INDUSTRY EXPERIENCE                   court orders sealing the entire summary judgment record. The Third Circuit issued a precedential
> Drug Pricing                        opinion adopting the standard the plaintiffs urged for the public’s common law right of access and
> Patent                              vacated the district courts’ orders. The Third Circuit also instructed the district court to consider the
> International Right to Health
                                      First Amendment argument the plaintiffs’ advanced. In re Avandia Mktg., Sales Practices & Prod. Liab.
  Litigation
                                      Litig., 924 F.3d 662 (3d Cir. 2019). Hannah also successfully briefed the issue on remand to the United
> International Trade
  Agreements
                                      States District Court for the Eastern District of Pennsylvania: the Court unsealed all of the summary
                                      judgment records at issue. In re Avandia Mktg., Sales Practices & Prod. Liab. Litig., No. 07-MD-01871,
BAR ADMISSIONS                        2020 WL 5358287 (E.D. Pa. Sept. 3, 2020).
> Massachusetts                     > Successful Third Circuit appeal of summary judgment ruling in In re Avandia Marketing, Sales
                                      Practices and Products Liability Litigation. Hannah lead the team that briefed the class plaintiffs’
COURT ADMISSIONS
                                      appeal of the district court’s grant of summary judgment in favor of the defendant. The Third Circuit
> Third Circuit
                                      issued a precedential opinion siding with the plaintiffs on all three issues presented in the appeal. The
CLERKSHIPS
                                      Third Circuit remanded the case to the district court and ordered further discovery for the plaintiffs.
> Honorable Timothy B. Dyk of       > $51.25 million class recovery in In re Restasis Antitrust Litigation. Assisted in the litigation of
  the United States Court of          claims against Allergan for engaging in an anticompetitive scheme to keep generic versions of the
  Appeals for the Federal Circuit     eye medication, Restasis, off the market. The alleged scheme included fraud on the U.S. Patent and
> Honorable Theodore McKee,
                                      Trademark Office, sham litigation against generic manufacturers, meritless citizen petitions to the Food
  Former Chief Judge of United
                                      and Drug Administration and sham transfer of patents to a Native American Tribe in an attempt to avoid
  States Court of Appeals for
  the Third Circuit
                                      invalidation. In re Restasis Antitrust Litigation, 18-md-2819, E.D.N.Y., ECF No. 50.
                                    > $94 million class recovery in In re Celebrex Antitrust Litigation. Hannah was member of the HBSS
EDUCATION                             team that litigated claims against Pfizer for fraudulently obtaining patents from the U.S. Patent and
> Yale Law School, J.D., 2013         Trademark Office and then asserted those patents to delay generics competition in violation of federal
> Brown University, B.A., 2009
                                      antitrust law. The case settled mere weeks before trial. In re Celebrex (Celecoxib) Antitrust Litigation,

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                                                             HAGENS BERMAN SOBOL SHAPIRO                                         LLP




                      PARTNER

                      Hannah Brennan
                        2:13-cv-361, E.D. Va., ECF Nos. 64, 455.
                      EXPERIENCE
                      > Prior to joining Hagens Berman, Ms. Brennan clerked for the Honorable Timothy B. Dyk of the United
                        States Court of Appeals for the Federal Circuit and the Honorable Theodore McKee, Chief Judge of
                        United States Court of Appeals for the Third Circuit.
                      > She was awarded a Yale Gruber Fellowship in Global Justice and Women’s Rights to work for Public
                        Citizen’s Global Access to Medicines Program. At Public Citizen, she worked on a broad range of
                        healthcare issues, including: negotiation of the intellectual property provisions of the Trans-Pacific
                        Partnership Agreement, compulsory licensing of HIV medications in Peru, and policies for improving
                        access to Hepatitis C medications for veterans, Native Americans and prisoners.
                      > In law school, Ms. Brennan worked in the Global Health and Justice Clinic, where she helped develop
                         a human rights approach to intellectual property law. She also served in the Workers and Immigrants’
                         Rights Advocacy Clinic, where she obtained a substantial settlement for a group of Latino construction
                         workers with unpaid wage claims. She further represented Connecticut DREAMers in their legislative
                         and regulatory campaigns to secure financial aid for undocumented students at Connecticut state
                         universities.
                      > Prior to law school, Ms. Brennan served as Fulbright Scholar in Lima, Peru, where she researched labor
                        rights abuses in the domestic housework industry and advocated for greater government regulation of
                        this area.
                      LEGAL ACTIVITIES
                      > Member, American Association for Justice
                      > Member, Federal Bar Association
                      > Member, Boston Bar Association
                      RECOGNITION
                      > Charles G. Albom Prize for Excellency in Appellate Advocacy
                      PUBLICATIONS
                      > Hannah Brennan, Unsealing Court Records: Key Learnings from the Third Circuit’s Avandia
                        Jurisprudence, American Association for Justice Trial Magazine (July 2021).
                      > Hannah Brennan, Christine Monahan, Zain Rizva, & Amy Kapczynski, Government Patent Use: How a
                        Little Known Statute Can Bring Down Drug Prices and Transform Health, 18 Yale J. of L. & Tech. 275
                        (2016).
                      > Hannah Brennan, The Cost of Confusion: The Paradox of Trademarked Pharmaceuticals, 22 Mich.
                        Telecomm. & Tech. L. Rev. 1 (2016)
                      > Hannah Brennan & Burcu Kilic, Freeing Trade at the Expense of Local Crop Markets?: A Look at the
                        Trans-Pacific Partnership’s New Plant Related Intellectual Property Rights From Human Rights
                        Perspective, Harv. Hum. Rts. J. Online (2015)
                      > Burcu Kilic, Hannah Brennan, & Peter Maybarduk, What Is Patentable Under the Trans-Pacific Trade
                        Partnership?, 40 Yale J. Int’l L. Online 1 (2015)
                      > Inside Views: The TPP’s New Plant-Related Intellectual Property Provisions, Intellectual Property Watch
                         (Oct. 17, 2014)
                      > A Human Rights Approach to Intellectual Property and Access to Medicines, Yale Global Health and
                        Justice Partnership
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                                                             HAGENS BERMAN SOBOL SHAPIRO                                       LLP




                      PARTNER

                      Hannah Brennan
                      > Trabajo en servicio doméstico: capacitación laboral y agencias de empleo [Domestic House Work: Labor
                        Training and Employment Agencies] (Asociación Grupo de Trabajo Redes eds., 2010)


                      LANGUAGES
                      > Spanish
                      PERSONAL INSIGHT
                      Hannah’s favorite city is Lima, her favorite state is Vermont and her favorite 90s action movie is The
                        Fugitive.




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                                                                 HAGENS BERMAN SOBOL SHAPIRO                                                 LLP




                                   PARTNER

                                   Erin C. Burns

                                   Ms. Burns devotes her practice to serving those who have been injured by
                                   antitrust violations in a variety of industries.



CONTACT                            CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                   > Partner, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109
                                   EXPERIENCE
(617) 482-3700 office
(617) 482-3003 fax
                                   > Prior to joining Hagens Berman, Ms. Burns founded ECB Law LLC, and previously worked as an
erinb@hbsslaw.com                    associate attorney at NastLaw LLC and RodaNast P.C.
                                   > Erin was a member of the Law & Briefing Committee for In re Zoloft (Serataline Hydrochloride)
YEARS OF EXPERIENCE                  Products Liability Litigation, MDL No. 2342 (E.D. Pa.) and also served as a member of the deposition
> 20
                                     team for Shane Group, Inc., et al. v. Blue Cross/Blue Shield of Michigan, Case No. 2:10-cv-14360-DPH-
                                     MKM (E.D. Mich.). She was also mediation counsel for In re Skelaxin (Metaxalone) Antitrust Litigation,
PRACTICE AREAS                       MDL No. 2343 (E.D. Tenn.).
> Antitrust
> Class Actions
                                   RECENT CASES
BAR ADMISSIONS                     > In re Zetia (Ezetimibe) Antitrust Litigation, MDL No. 2836 (E.D. Va.).
> Pennsylvania
                                   > In re Avandia Marketing, Sales Practices and Products Liability Litigation, MDL No. 1871 (E.D. Pa.).
> United States Courts of
  Appeals for the District of      > In re Ranbaxy Generic Drug Application Antitrust Litigation, MDL No. 2878 (D. Mass.).
  Columbia and the Third
  Circuits
                                   NOTABLE CASES
> U.S. District Court for
  the Eastern District of          > In re Zoloft (Serataline Hydrochloride) Products Liability Litigation, MDL No. 2342 (E.D. Pa.).
  Pennsylvania
                                   > Shane Group, Inc., et al. v. Blue Cross/Blue Shield of Michigan, Case No. 2:10-cv-14360-DPH-MKM
> U.S. District Court for the
  Eastern District of Michigan
                                     (E.D. Mich.).
                                   > In re Skelaxin (Metaxalone) Antitrust Litigation, MDL No. 2343 (E.D. Tenn.).
EDUCATION
> Villanova University School of
  Law, J.D., 2002                  LEGAL ACTIVITIES
> University of Delaware, B.A.     > Member of the American Bar Association and Pennsylvania Bar Association
  Psychology, 1999
                                   > Featured panelist for the Legal Intelligencer’s first annual Litigation Summit, speaking about taxation of
                                     costs under 28 U.S.C. §1920 for e-discovery expenses (2012)
                                   > Chairperson of the Young Lawyers’ Division and member of the Board of Directors of the Lancaster Bar
                                     Association (2005)
                                   > Vice-Chairperson of the Young Lawyers’ Division (2004)
                                   > Leader for the Law Explorers Post (2004 – 2006). Erin taught monthly class for high school-aged
                                     children interested in careers in law. Her work included mock trial activities, sample law school and bar
                                     exam questions and guest speakers.



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                                                             HAGENS BERMAN SOBOL SHAPIRO                                  LLP




                      PARTNER

                      Erin C. Burns
                      PERSONAL INSIGHT
                      When not practicing law, Erin spends as much time as possible with her husband and four children. She
                      has spent nearly as much time patching up scraped knees and elbows as she has writing briefs. She
                      and her husband have also served as foster parents. Erin also enjoys using their smoker to try to make
                      various kinds of barbeque, with varying degrees of success.




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                                                                   HAGENS BERMAN SOBOL SHAPIRO                                                  LLP




                                     PARTNER

                                     Elaine T. Byszewski

                                     Litigated Milk Antitrust from complaint filing to settlement of $52 million



CONTACT                              CURRENT ROLE
301 North Lake Ave.
Suite 920
                                     > Partner, Hagens Berman Sobol Shapiro LLP
Pasadena, CA 91101                   > Ms. Byszewski has litigated a number of complex class actions on behalf of consumers, employees
                                       and whistleblowers resulting in multimillion-dollar settlements, including cases against Toyota, Ford,
(213) 330-7149 office                  AstraZeneca Pharmaceuticals, Berkeley Premium Nutraceuticals, Solvay Pharmaceuticals, Costco,
(213) 330-7152 fax
                                       Apple and KB Homes.
elaine@hbsslaw.com
                                     > She also litigated a multi-state antitrust action against major dairy cooperatives for colluding in the
YEARS OF EXPERIENCE                    premature slaughter of a half a million cows to drive up the price of milk, which the defendants
> 20                                   described in their attempted petition for review to the United States Supreme Court as “one of the most
                                       expansive classes in history.”
PRACTICE AREAS
                                     > Currently, Ms. Byszewski focuses her practice on brief writing for a wide variety of firm cases,
> Consumer Protection
                                       including:
> Qui Tam
> Antitrust Litigation                 - Auto defect cases and other product defect cases on behalf of consumers;
> Appellate
                                       - College refund cases seeking return of tuition paid for promised in-person and on campus education;
                                       and
BAR ADMISSIONS
> California                           - Antitrust cases, including collusion in the agriculture.

COURT ADMISSIONS
                                       RECENT SUCCESS
> U.S. District Court for the
  Central District of California     > Drafted petition for en banc review in Hyundai/Kia Fuel Economy Litig.., which was granted and
> U.S. District Court for the          resulted in affirmance of the nationwide class action settlement in 2019.
  Northern District of California
> U.S. District Court for the        > Litigated Milk Antitrust from complaint filing to settlement of $52 million and received the American
  Southern District of California      Antitrust Institute’s 2018 award for Outstanding Antitrust Litigation Achievement in Private Law
> U.S. District Court for the          Practice
  Eastern District of California
> U.S. Court of Appeals for the      > Member of litigation team that settled Toyota Unintended Acceleration Litigation for $1.6 billion and
  First Circuit                        was a finalist for Public Justice’s 2014 Trial Lawyer of the Year award
> U.S. Court of Appeals for the
  Seventh Circuit
                                       EXPERIENCE
> U.S. Court of Appeals for the
                                       > Prior to joining Hagens Berman, Ms. Byszewski focused her practice on labor and employment
  Ninth Circuit
                                       litigation and counseling. During law school she worked in the trial division of the office of the
EDUCATION                              Attorney General of Massachusetts.
> Harvard Law School, J.D.,
  cum laude, 2002
                                     RECOGNITION
> University of Southern
  California, B.S., Public Policy,    > Lawdragon 500 Leading Plaintiff Financial Lawyers, 2020, 2022
  summa cum laude, 1999



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                                                             HAGENS BERMAN SOBOL SHAPIRO                                LLP




                      PARTNER

                      Elaine T. Byszewski
                        NOTABLE CASES
                      > Dairy Cooperatives Antitrust Litigation
                      > Toyota Unintended Acceleration
                      > Hyundai/Kia
                      > Ford Spark Plugs
                      > AstraZeneca Pharmaceuticals (Nexium) Litigation
                      > Merck (Vioxx) Litigation
                      > Berkeley Nutraceuticals (Enzyte) Litigation
                      > Solvay Pharmaceuticals (Estratest) Litigation
                      > Apple iPod Litigation
                      > Costco Wage and Hour Litigation

                      PUBLICATIONS
                      > “Valuing Companion Animals in Wrongful Death Cases: A Survey of Current Court and Legislative Action
                        and A Suggestion for Valuing Loss of Companionship,” Animal Law Review, 2003, Winner of the Animal
                        Law Review’s 5th Annual Student Writing Competition
                      > “What’s in the Wine? A History of FDA’s Role,” Food and Drug Law Journal, 2002
                      > “ERISA and RICO: New Tools for HMO Litigators,” Journal of Law, Medicine & Ethics, 2000

                      PERSONAL INSIGHT
                      Ms. Byszewski enjoys spending time outdoors with her husband and their two sons, whether swimming,
                      hiking or scootering around the neighborhood.




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                 LLP




                                     PARTNER

                                     John DeStefano

                                     Mr. DeStefano takes special pride in protecting the public against
                                     broad-based frauds and swindles and the corruption of honest enterprise.



CONTACT                              CURRENT ROLE
11 West Jefferson St.
Suite 1000
                                     > Partner, Hagens Berman Sobol Shapiro LLP
Phoenix, AZ 85003                    > Practice focuses on consumer, insurance, and antitrust class actions as well as appellate representation
                                     RECENT SUCCESS
(602) 224-2628 office
(602) 840-3012 fax                   > When Continental Casualty Co. decided to seek and impose massive premium hikes on its long-term-
johnd@hbsslaw.com                      care insurance customers, Hagens Berman filed suit to stop them and correct the abuse. The federal
                                       court initially granted Continental’s motion to dismiss, but Mr. DeStefano obtained a published reversal
PRACTICE AREAS                         of that ruling from the U.S. Court of Appeals for the Seventh Circuit in 2020. After the case was
> Appellate Advocacy
                                       remanded, he defeated three additional motions to dismiss in similar cases against Continental Casualty
> Class Action
                                       and discovery is ongoing.
> Commercial Litigation
> Consumer Rights                    > Mr. DeStefano has also been active in litigation challenging insurers’ deliberate underpayments of total
> Insurance Law                        loss auto claims—unfair practices that short consumers after serious car accidents when they are often
                                       injured and at their most vulnerable. In early 2022, the U.S. District Court for the District of New Jersey
BAR ADMISSIONS                         granted Mr. DeStefano’s motion to certify a class of New Jersey consumers challenging GEICO’s use of
> U.S. Supreme Court                   improper adjustments to lower payments and its failure to pay substantial taxes and fees owed.
> U.S. Court of Appeals, Seventh
Circuit                              > Mr. DeStefano also helped represent NFL legend Jim Brown in the appeal of his right-of-publicity suit
> U.S. Court of Appeals, Eighth        against Electronic Arts for the unauthorized use of his likeness in Madden NFL video games. Shortly
Circuit                                after briefing, Electronic Arts agreed to a $600,000 judgment in favor of Brown.
> U.S. Court of Appeals, Ninth
                                     > Mr. DeStefano was part of the Hagens Berman team that obtained court approval of $400 million
Circuit
> U.S. Court of Appeals, Tenth
                                       settlement to compensate Hyundai and Kia owners for misstatement of EPA fuel economy ratings and
Circuit                                successfully defended the settlement before the U.S. Court of Appeals for the Ninth Circuit, sitting en
> U.S. District Court, District of     banc. Settlement payments averaged $353 for Hyundai owners and $667 for Kia owners.
Arizona                              EXPERIENCE
> U.S. District Court, District of
Colorado                             > Snell & Wilmer LLP 2009-2013
> Supreme Court of Arizona           > American Inns of Court Pegasus Scholar 2012: study of commercial, media, and privacy law with
                                       barristers and judges in the U.K.
EDUCATION
> University of Arizona Law          > U.S. District Court for the District of Arizona, Law Clerk to the Hon. Neil V. Wake 2008-2009
  School, J.D., Senior Managing      > U.S. Court of Appeals for the Ninth Circuit, Law Clerk to the Hon. William C. Canby, Jr. 2007-2008
  Editor, Arizona Law Review
> Harvard University, B.A.,          LEGAL ACTIVITIES
  Classics                           > Trustee and past Treasurer, American Inns of Court
                                     > Membership Chair, Lorna Lockwood American Inn of Court
                                     > American Association for Justice
                                     RECOGNITION



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                                                             HAGENS BERMAN SOBOL SHAPIRO                                   LLP




                      PARTNER

                      John DeStefano
                      > Super Lawyers, Rising Star: Class Action/Mass Tort 2015 - 2017

                      > Arizona Foundation for Legal Services & Education, Top Pro Bono Attorneys in Arizona Award 2013
                      NOTABLE CASES
                      > Gunn v. Continental Casualty Co.
                      > Sieving v. Continental Casualty Co.
                      > Cheslow v. Continental Casualty Co.
                      > Brown v. Continental Casualty Co.
                      > Kronenberg v. Allstate Insurance Co.
                      > Lewis v. GEICO
                      > In re Hyundai & Kia Fuel Economy Litigation
                      > Jim Brown v. Electronic Arts Inc.


                      PUBLICATIONS
                      > Co-author of the Arizona and Colorado chapters of the ABA’s “A Practitioner’s Guide to Class Actions”
                        (2d ed.)
                      PERSONAL INSIGHT
                      When John’s great-grandfather came from Italy to Boston, he lost his life savings to a man he met named
                      Charles Ponzi. A century later, John takes special pride in protecting the public against broad-based
                      frauds and swindles and the corruption of honest enterprise.




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                             LLP




                                  PARTNER

                                  Catherine Y.N. Gannon

                                  Super Lawyers magazine has recognized Ms. Gannon as a “Rising Star” in
                                  Washington state from 2016 to 2022.



CONTACT                           CURRENT ROLE
1301 Second Avenue
Suite 2000
                                  > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                 > Practice focuses on securities and antitrust matters, as well as nationwide consumer protection cases
                                    involving large corporations
(206) 268-9319 office
(206) 623-0594 fax                > Extensive experience working with expert witnesses, often in economic and other highly technical areas
catherineg@hbsslaw.com
                                  NOTABLE CASES
YEARS OF EXPERIENCE
> 13                              > Volkswagen/Audi/Porsche Diesel Emissions Scandal
                                  > Aequitas Capital Management Securities Litigation
PRACTICE AREAS
                                  > Insulin Overpricing
> Securities and Antitrust
> Consumer Protection             > In re MyFord Touch Consumer Litigation
                                  > NCAA Grant-In-Aid Cap Antitrust Litigation
BAR ADMISSIONS
> Washington                      > Ford Shelby GT350 Mustang Overheating
> New York
> Ontario (Canada)
                                    EXPERIENCE
EDUCATION                         > Litigation Associate at Am Law 10 Law Firm, New York, New York
> York University, Osgoode Hall
  Law School, Senior Editor,
                                  > Articling Student at “Seven Sister” Law Firm, Toronto, Canada
  Osgoode Hall Law Journal
  J.D., 2008                        LEGAL ACTIVITIES
> Carleton University, Bachelor
  of Public Affairs and Policy    > President, Board of Directors, Eastside Legal Assistance Program (ELAP)
  Management, summa cum
  laude, 2005                       RECOGNITION
                                  > Rising Star, Washington Super Lawyers, 2016-2022
                                  > National Trial Lawyers Top 40 Under 40 in Washington State – Civil Plaintiff, 2022


                                    PUBLICATIONS
                                  > Co-author of the American Bar Association’s “A Practitioner’s Guide to Class Actions – Vermont
                                    Chapter,” 2017
                                  > “Designing a New Playbook for the New Paradigm: Global Securities Litigation and Regulation,” 2011
                                    Harvard Law School Forum on Corporate Governance and Financial Regulation
                                  > “Legal Vulnerability of Bioethicists in Canada: Is a New Era Upon Us?” 30 Health Law in Canada 132,
                                    2010


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                                                             HAGENS BERMAN SOBOL SHAPIRO                                   LLP




                      PARTNER

                      Catherine Y.N. Gannon
                      > “The Threat of the Oppression Remedy to Reorganizing Insolvent Corporations,” Annual Review of
                        Insolvency Law 429 (with Stephanie Ben-Ishai), 2009
                      PERSONAL INSIGHT
                      Ms. Gannon previously worked at leading law firms in both New York City and Toronto prior to joining
                      Hagens Berman in Seattle. Outside of work, Ms. Gannon serves on the board of directors for the Eastside
                      Legal Assistance Program, which provides pro bono civil legal services in the greater Seattle area. She
                      has also volunteered with organizations such as Legal Voice, Disability Rights Washington, Advocates for
                      Children of New York and The Innocence Project. A seasoned backpacker, Ms. Gannon once spent six
                      months traveling to more than a dozen countries across five continents. She is fluent in French and can
                      still pack a suitcase in less than 5 minutes.




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                  LLP




                                    PARTNER

                                    Lucas E. Gilmore

                                    Dedicated plaintiff attorney with more than a decade of experience prosecuting
                                    securities fraud, shareholder derivative, antitrust, and consumer class actions.



CONTACT                             CURRENT ROLE
715 Hearst Ave.
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Suite 300
Berkeley, CA 94710                  > Advises institutional, government and individual investors on issues related to corporate governance,
                                      shareholder rights and securities litigation
(510) 725-3000 office               > Key member of the firm’s investor fraud team in which he, along with a group of attorneys, financial
(510) 725-3001 fax                    analysts, and investigators, counsels the firm’s investor clients on their legal claims and prosecutes
lucasg@hbsslaw.com                    financial fraud cases
                                    EXPERIENCE
YEARS OF EXPERIENCE
                                    > Litigated dozens of securities class actions against the largest companies and banks, including BNY
> 11
                                      Mellon, BP, Citibank, Deutsche Bank, HSBC, Quality Systems, Symantec, U.S. Bank and Wells Fargo
                                    > Prosecuted a number of cases related to the financial crisis, including several actions arising out of the
PRACTICE AREAS
                                      issuance of residential mortgage-backed securities and other complex financial products
> Securities
                                    > Represented litigants in all phases of litigation, at both the trial court and appellate levels
BAR ADMISSIONS                      LEGAL ACTIVITIES
> California
                                    > Member, National Association of Public Pension Attorneys (NAPPA)
COURT ADMISSIONS                    > Member, State Association of County Retirement Systems (SACRS)
> U.S. District Court for the       RECOGNITION
  Northern District of California
> U.S. District Court for the       > Super Lawyers, Rising Star: Securities 2014 - 2017
  Northern District of California   PUBLICATIONS
  (Bankruptcy Court)
                                    > “The Fraud-on-the-Market Presumption Is Alive and Well,” Association of Business Trial Lawyer, San
> U.S. District Court for the
                                      Diego, ABTL Report, Fall 2014
  Central District of California
> U.S. District Court for the       PERSONAL INSIGHT
  Southern District of California
                                    Outside of the office, Mr. Gilmore enjoys boxing and serving as Defensive Coordinator of his sons’ flag
> U.S. Court of Appeals, Ninth
                                    football teams.
  Circuit
> U.S. Court of Appeals, Second
  Circuit

EDUCATION
> University of California
  Hastings College of the Law,
  JD, 2007
> Vanderbilt University, BA, cum
  laude, 2002




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                                                                 HAGENS BERMAN SOBOL SHAPIRO                                               LLP




                                  PARTNER

                                  Ben Harrington
                                  Ben focuses on challenging fraudulent business practices and enforcing
                                  antitrust laws, drawing from his extensive experience representing both
                                  plaintiffs and defendants at all stages of litigation.


CONTACT                           CURRENT ROLE
715 Hearst Ave.
Suite 300
                                  > Partner, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710                EXPERIENCE
                                  > Prior to joining Hagens Berman, Ben worked as a litigation associate in the New York office of Quinn
(510) 725-3000 office
(510) 725-3001 fax
                                    Emanuel Urquhart & Sullivan LLP
benh@hbsslaw.com                  PERSONAL INSIGHT
                                  If Ben is not working you will probably find him chasing after his young daughter, noodling on a guitar or
YEARS OF EXPERIENCE               tending to his ever-growing stable of bicycles.
> 14


INDUSTRY EXPERIENCE
> Antitrust Litigation
> Consumer Rights
> Pharmaceutical Fraud

BAR ADMISSIONS
> California
> New York

COURT ADMISSIONS
> U.S. District Court for the
  Southern District of New York
> U.S. District Court for the
  Eastern District of New York

CLERKSHIPS
> Honorable Nina Gershon,
  U.S. District Court for the
  Eastern District of New York,
  2014-2016
> Honorable Harris Hartz,
  U.S. Court of Appeals, Tenth
  Circuit, 2008-2009

EDUCATION
> University of California,
  Hastings College of the Law,
  J.D., summa cum laude, 2008
> The Evergreen State College,
  B.A., 2001




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                                                                 HAGENS BERMAN SOBOL SHAPIRO                                             LLP




                              PARTNER

                              Anne F. Johnson
                              Ms. Johnson specializes in high-stakes, complex litigation challenging Big Pharma’s
                              schemes to block consumer access to less expensive generic drugs, as well as mass
                              actions fighting corporate indifference and greed.



CONTACT                       CURRENT ROLE
68 3rd Street
Suite 249
                              > Partner, Hagens Berman Sobol Shapiro LLP
Brooklyn, NY 11231            RECENT SUCCESS
                              > Ms. Johnson was instrumental in achieving a $200+ million aggregate settlement for her clients in
212-752-5455 office
212-210-3980 fax
                                General Motors LLC Ignition Switch Litigation.
annej@hbsslaw.com             EXPERIENCE
                              > Prior to joining Hagens Berman, Ms. Johnson was a partner at a Texas litigation firm and an associate
YEARS OF EXPERIENCE
> 19
                                at two New York City plaintiffs’ class-action firms.
                              > Led the discovery, briefing and trial preparation teams on behalf of court-appointed co-lead counsel for
PRACTICE AREAS                  the wrongful death and personal injury plaintiffs in General Motors LLC Ignition Switch Litigation, one
> Personal Injury               of the largest product liability litigations in U.S. history.
> Antitrust
                              > Member of the trial team in the first pay-for-delay pharmaceutical antitrust case to go to trial after the
> Consumer Protection
                                U.S. Supreme Court’s watershed decision in FTC v. Actavis.

INDUSTRY EXPERIENCE           > Developed and filed multiple pharmaceutical antitrust cases challenging drug companies’ schemes to
> Pharmaceuticals               prevent less expensive generic versions of brand name drugs from entering the market, including by
> Automotive                    using sham litigation, sham citizen petitions, pay-for-delay settlements and “product hopping.”
                              ACTIVITIES
BAR ADMISSIONS
> New York                    > Fundraising volunteer for Annie’s List, which helps to elect progressive women to office in Texas
> Texas                       > Organized the American Constitution Society’s Constitution in the Classroom program for New York City
                                schools
COURT ADMISSIONS
> U.S. District Courts for    RECOGNITION
  the Southern and Eastern    > Brooklyn Law Review
  Districts of New York
                              NOTABLE CASES
EDUCATION                     > General Motors LLC Ignition Switch Litigation
> Brooklyn Law School, cum
                              > Solodyn Antitrust Litigation
  laude
> James Madison University,   > Suboxone Antitrust Litigation
  magna cum laude
                              > Nexium Antitrust Litigation
                              > Provigil Antitrust Litigation
                              > Tricor Antitrust Litigation
                              PERSONAL INSIGHT
                              When she’s not working, Anne is on her porch listening to records – rhythm and blues, country or rock ‘n’
                              roll – with her family and dogs.


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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                  LLP




                                    PARTNER

                                    Reed R. Kathrein

                                    Mr. Kathrein represents institutional, government and individual
                                    investors in securities fraud, and corporate governance cases.



CONTACT                             CURRENT ROLE
715 Hearst Ave.
Suite 300
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710                  > Regular public speaker on securities, class action and consumer law issues
                                    RECOGNITION
(510) 725-3000 office
(510) 725-3001 fax                  > Super Lawyer, Super Lawyers Magazine, 2007 - 2019
reed@hbsslaw.com
                                    EXPERIENCE
YEARS OF EXPERIENCE                 > Litigated over 100 securities fraud class actions
> 45
                                    > Worked behind the scenes in shaping the Private Securities Litigation Reform Act, the Securities
                                      Litigation Uniform Standards Act and the Sarbanes-Oxley Act
PRACTICE AREAS
> Securities Litigation             > Lawyer Representative, Ninth Circuit Court of Appeals
                                    > Lawyer Representative, U.S. District Court for the Northern District of California, 2008-2011
BAR ADMISSIONS
> State of California               > Chaired the Magistrate Judge Merit Selection Panel, U.S. District Court, Northern District of California,
> State of Illinois                   2006-2008
> State of Florida
                                    > Co-chaired the Securities Rules Advisory Committee, U.S. District Court, Northern District of California,
                                      2004-2006
COURT ADMISSIONS
> Supreme Court of California       LEGAL ACTIVITIES
> Supreme Court of Florida          > Member, National Association of Public Pension Attorneys (NAPPA)
> Supreme Court of Illinois
                                    > Member and Speaker, National Conference on Public Employee Retirement Systems (NCPERS)
> U.S. District Court for the
  Northern District of California   > Member, Council of Institutional Investors (CII)
> U.S. District Court for the       > Member, State Association of County Retirement Systems (SACRS)
  Northern District of Illinois     > Member, National Council on Teacher Retirement (NCTR)
> U.S. District Court of Colorado
                                    > Member, California Association of Public Retirement Systems (CALAPRS)
> U.S. Court of Appeals, Ninth
  Circuit                           > Member, Michigan Association of Public Employee Retirement Systems (MAPERS)
                                    > Member, Illinois Public Pension Fund (IPPFA)
EDUCATION
                                    > Member, Standing Committee on Professional Conduct, U.S. District Court, Northern District of
> University of Miami, J.D., 1977     California (Term expires 2017)
> University of Miami, B.A., 1974
                                    > Expedited Trial Rules Committee, U.S. District Court, Northern District of California, 2010-2012
                                    > Lawyer Representative to the Ninth Circuit Court of Appeals, U.S. District Court, Northern District of
                                      California, 2008-2011
                                    > Chair/ Member, Magistrate Judge Merit Selection Panel, U.S. District Court, Northern District of
                                      California, 2006-2008




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                                                             HAGENS BERMAN SOBOL SHAPIRO                                   LLP




                      PARTNER

                      Reed R. Kathrein
                      PUBLICATIONS
                      > “A Look at Recent Demographics and Other Statistics in Securities Fraud Class Actions,” The NAPPA
                        Report, October 2016
                      > “Post-Morrison: The Global Journey Towards Asset Recovery,” Reed R. Kathrein, Peter E. Borkon, Nick
                        S. Singer, contributing members, NAPPA Morrison Working Group, June 2016
                      > “Interview with Bernie Madoff,” Hagens Berman, HBSS Securities News, Fall 2015
                      > “Is Your Fund Prepared for Halliburton?,” March 2014
                      > “O Securities Fraud, Where Art Thou?, Enter Robocop,” Hagens Berman, HBSS Securities News,
                        November 2013
                      > “Professor Coffee to SEC: Hire Plaintiffs Bar!,” Hagens Berman, HBSS Securities News, May 2013
                      > “Living in a Post-Morrison World: How to Protect Your Assets Against Securities Fraud,” Reed R.
                        Kathrein, Peter E. Borkon, contributing members, NAPPA Morrison Working Group, 2012
                      > “SEC Action Necessary, But Not Sufficient to Protect Investors,” Hagens Berman, HBSS Securities
                        News, November 2012
                      > “Are You Watching Your Private Equity Valuations?” Hagens Berman, HBSS Securities News, May 2012
                      > “What Do Trustees Need to Know When Investing In Foreign Equities?,” Hagens Berman, HBSS
                        Securities News, November 2011
                      PRESENTATIONS
                      > “Incoming! How the New Administration’s Approach to Securities Laws and Regulations Affect Investors
                        and Markets,” MAPERS, Spring Conference, May 2017
                      > “Occupy Wall Street through Reform of the Securities Law,” NCPERS, Legislative Conference, February
                        2012
                      > “Legal Issues Facing Public Pensions,” Opal, Public Funds Summit, January 2012
                      > “Protection vs. Interference – What the New Federal Regulations Mean to Institutional Investors,”
                        NCPERS, Annual Conference, May 2011“The Immediate Need for Congress to Act on Investor Friendly
                        Legislation,” NCPERS, Annual Conference, May 2010
                      > “Investor Friendly Legislation in Congress,” NCPERS, Legislative Conference, February 2010
                      NOTABLE CASES
                      > Litigated over 100 securities fraud class actions including cases against 3Com, Adaptive Broadband,
                        Abbott Laboratories, Bank of America, Capital Consultants, CBT, Ceridian, Commtouch, Covad, CVXT,
                        ESS, Harmonics, Intel, Leasing Solutions, Nash Finch, Northpoint, Oppenheimer, Oracle, Pemstar, Retek,
                        Schwab Yield Plus Fund, Secure Computing, Sun Microsystems, Tremont (Bernard Madoff), Titan,
                        Verifone, Whitehall, and Xoma
                      > Litigated many consumer, employment and privacy law cases including AT&T Wiretapping Litigation,
                        Costco Employment, Solvay Consumer, Google/Yahoo Internet Gambling, Vonage Spam, Apple Nano
                        Consumer, Ebay Consumer, LA Cellular Consumer, AOL Consumer, Tenet Consumer and Napster
                        Consumer




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                                                             HAGENS BERMAN SOBOL SHAPIRO                                     LLP




                      PARTNER

                      Reed R. Kathrein
                      PERSONAL INSIGHT
                      Reed is a recovering rock-and-roll drummer and banjo ukulele player. His rock band, the Stowaways, was
                      voted 4th best in the State of Illinois out of 300 bands in the Jaycees Battle of the Bands. Reed’s mother
                      made his band costume of blue jean bell bottoms, sailor shirts and hats. The next year everyone wore
                      blue jean bell bottoms to Woodstock. His prized possession is a 30lb Jeff Ocheltree snare drum made
                      by Led Zeppelin John Bonham’s drum technician. The rest of his kit is patterned after Dave Matthews
                      Band’s drummer, Carter Beauford. In his spare time, Reed works on playing Stairway to Heaven (drums)
                      in his garage or Somewhere Over the Rainbow (banjo ukulele) in the High Sierra mountains.




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                                                                   HAGENS BERMAN SOBOL SHAPIRO                                                 LLP




                                    PARTNER

                                    Abbye Klamann Ognibene
                                    Ms. Ognibene believes in taking on corporations in the fight for plaintiffs’ rights,
                                    including the right to online privacy and to fair pricing in medical care and
                                    consumer goods.


CONTACT                             CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109                    > Core team member in Staley v. Gilead, which seeks to hold HIV drug manufacturers accountable for
                                      allegedly using their market power to artificially inflate prices for HIV medication and prevent safer
(617) 482-3700 office                 medications from coming to market sooner.
(617) 482-3003 fax
abbyeo@hbsslaw.com                  > Involved in cutting-edge litigation in In re Humira (Adalimumab) Antitrust Litigation, alleging novel
                                      theories regarding the suppression of competition for the blockbuster biologic drug, Humira.
YEARS OF EXPERIENCE
>6
                                    EXPERIENCE

PRACTICE AREAS                      > Prior to joining Hagens Berman, Ms. Ognibene was an associate at a start-up litigation boutique, where
> Antitrust Litigation                she helped launch a plaintiffs’ class-action practice group.
> Class Actions                     > She also worked on cutting-edge class-action litigation at Lieff Cabraser Heimann & Bernstein, focusing
> Consumer Rights
                                      on digital privacy and antitrust cases.
BAR ADMISSIONS                      > While in law school, Abbye worked for more than two years as a law clerk to the legal team of DeBoer
> California                          v. Snyder, consolidated sub nom. Obergefell v. Hodges, which guaranteed the nationwide right to marry
> District of Columbia                for same-sex couples.
> New York

COURT ADMISSIONS
                                    RECOGNITION
> U.S. District Court for the       > National Lawyers Guild, Massachusetts Chapter Member
  Northern District of California
> U.S. District Court for the
  Central District of California    PERSONAL INSIGHT
> U.S. Court of Appeals, Ninth      Before attending law school, Abbye worked in radio journalism in her home state of Missouri. She spends
  Circuit                           her time outside of the office with her family and two large rescue dogs, preferably in Vermont with a
                                    glass of whiskey in one hand and a good book in the other.
EDUCATION
> University of Michigan, J.D.,
  cum laude, 2016
> University of Missouri
  Columbia, B.J., cum laude,
  2011




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                                  LLP




                                   PARTNER

                                   Daniel J. Kurowski

                                   2020 “Rising Star” in Illinois, Super Lawyers



CONTACT                            CURRENT ROLE
455 N. Cityfront Plaza Drive
Suite 2410
                                   > Daniel J. Kurowski is a partner at Hagens Berman Sobol Shapiro LLP. Since 2006, Mr. Kurowski has
Chicago, IL 60611                    focused his practice on protecting the interests of individuals and small companies prejudiced by large
                                     corporations and organizations. Based in Chicago, with cases located throughout the country, his
(708) 628-4963 office                current work with the firm covers a diverse variety of complex cases including:
(708) 628-4950 fax
                                   > Representing individuals economically affected by COVID-19, including passengers denied refunds
dank@hbsslaw.com
                                     on flights cancelled by airlines as well as students/payors of tuition and fees in litigation against
                                     U.S. colleges and universities that closed and only offered online only courses due to the outbreak of
YEARS OF EXPERIENCE
> 17                                 COVID-19 but continued to charge full tuition and fees.
                                   > Representing athletes in individual personal injury and class-action litigation arising out of concussions/
PRACTICE AREAS                       traumatic brain injuries suffered during sporting activities, including in In re National Collegiate Athletic
> Antitrust Litigation               Association Student-Athlete Concussion Injury Litigation (N.D. Ill.) and In Re NFL Players’ Concussion
> Class Action                       Injury Litig. (E.D. Pa.).
> Consumer Rights
> Pharmaceutical Fraud             > Representing consumers of electricity in certified class action alleging claims against nearly two dozen
> Sports Litigation                  defendants for perpetuating an extensive fuel oil fraud, resulting in users of electricity in Puerto Rico
                                     being overcharged by more than $1 billion dollars for electricity since 2002.
CLERKSHIPS
                                   > Representing purchasers with antitrust, consumer fraud and/or unjust enrichment claims against sellers
> Hon. Paul E. Plunkett,
                                     and manufacturers of retail products.
  Northern District of Illinois
> Hon. Maria Valdez, Northern      RECENT SUCCESS
  District of Illinois             > In re Pre-Filled Propane Sales & Marketing Practices Litigation (W.D. Mo.) ($35 million in settlements
                                     involving multiple defendants)
BAR ADMISSIONS
> Illinois                         > In re Bayer Combination Aspirin Sales & Marketing Practices Litigation (E.D.N.Y.) ($15 million
                                     settlement)
COURT ADMISSIONS
                                   > In re Aurora Dairy Organic Milk Marketing & Sales Practices Litigation (E.D. Mo.) ($7.5 million
> U.S. Court of Appeals, Second
  & Seventh Circuits
                                     settlement)
> U.S. District Court, Northern,   > Silk v. Bowling Green State University (Ohio Court of Claims) ($712,500 individual settlement for
  Central & Southern Districts       student-athlete injured as a result of alleged failures to properly manage athlete’s concussions)
  of Illinois
                                   > In Re NFL Players’ Concussion Injury Litigation (E.D. Pa.) (over $6.1 million in approved claims for
EDUCATION                            former NFL players)
> John Marshall Law School,        > In re National Collegiate Athletic Association Student-Athlete Concussion Injury Litigation (N.D. Ill.)
  J.D., cum laude, 2005
                                     (creating a $70 million 50-year medical monitoring program for former student-athletes to screen for
> Loyola University Chicago,
                                     and track head injuries, a $5 million fund for concussion research, and implementing changes to NCAA
  B.B.A., with Honors, 2002
                                     concussion rules to protect current student-athletes)
                                   RECOGNITION
                                   > Illinois Class Action/Mass Torts Rising Star, Super Lawyers Magazine, 2020
                                   > Illinois Rising Star, Super Lawyers Magazine, 2015 - 2020
www.hbsslaw.com                                                                                                                                90
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                                                             HAGENS BERMAN SOBOL SHAPIRO                                          LLP




                      PARTNER

                      Daniel J. Kurowski
                      EXPERIENCE
                      > Federal judicial law clerk, Hon. Paul E. Plunkett and Hon. Maria Valdez
                      > Intern, U.S. Department of Housing and Urban Development’s Office of Fair Housing and Equal
                        Opportunity, the U.S. Attorney’s Office for the Northern District of Illinois and with Hon. Ronald A.
                        Guzman and his staff
                      > During law school, Mr. Kurowski received multiple academic scholarships, served as a staff member and
                        Lead Articles Editor for The John Marshall Law Review, and received an award for an appellate brief
                        submitted in a national moot court competition
                      LEGAL ACTIVITIES

                      > Seventh Circuit Council on eDiscovery and Digital Information

                      > Member of American Association for Justice, Illinois State Bar Association, Chicago Bar Association

                      > Investigator, Chicago Bar Association, Judicial Evaluation Committee
                      NOTABLE CASES

                      > Aurora Dairy Corporation Organic Milk Marketing & Sales Practices Litigation (E.D. Mo.)

                      > Bayer Corp. Combination Aspirin Product Marketing & Sales Practices Litigation (E.D.N.Y.)

                      > Pre-Filled Propane Tank Marketing & Sales Practices Litigation (W.D. Mo.)

                      > RC2 Corp. Toy Lead Paint Products Liability Litigation (N.D. Ill.)

                      > In re National Collegiate Athletic Association Student-Athlete Concussion Injury Litigation (N.D. Ill.)


                      PERSONAL INSIGHT
                      An avid cyclist, Dan enjoys staying active by competing in cyclocross races. Dan is also a board member
                      for the DuPage Cycling Foundation, a 501(c)(3) non-profit corporation that raises fund for community
                      non-profits through the hosting and promotion of cycling events.




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                                                                  HAGENS BERMAN SOBOL SHAPIRO                                           LLP




                                PARTNER

                                Thomas E. Loeser
                                Mr. Loeser obtained judgments in cases that have returned billions of
                                dollars to millions of consumers and more than $100 million to the
                                government.


CONTACT                         CURRENT ROLE
1301 Second Avenue
Suite 2000
                                > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101               > Practice focuses on class actions, False Claims Act and other whistleblower cases, consumer protection
                                  and data breach/identity-theft/privacy cases
(206) 268-9337 office
(206) 623-0594 fax              > Successfully litigated class-action lawsuits against mortgage lenders, appraisal management companies,
toml@hbsslaw.com                  automotive manufacturers, national banks, home builders, hospitals, title insurers, technology companies
                                  and data processors
YEARS OF EXPERIENCE
                                > Currently prosecuting consumer protection class-action cases against banks, automobile manufacturers,
> 22
                                  lenders, loan servicing companies, technology companies, national retailers, payment processors and
                                  False Claims Act whistleblower suits now under seal
PRACTICE AREAS
> Consumer Rights               > Obtained judgments in cases that have returned billions of dollars to millions of consumers and more
> False Claims Act/Qui Tam        than $100 million to the government
> Government Fraud              RECOGNITION
> Corporate Fraud
> Data Breach/Identity Theft    > Martindale-Hubbell® AV Preeminent rating, 2016 - 2022
  and Privacy                   > Washington Super Lawyers, 2016 - 2022

INDUSTRY EXPERIENCE             > Lawdragon 500 Leading Lawyers in America, Plaintiff Financial Lawyers, 2020 - 2022
> Automotive                    > Leading Plaintiff Consumer Lawyer, Lawdragon, 2020
> Consumer Fraud
> Cyber and Intellectual        > The National Trial Lawyers: Top 100, 2019 -2020
  Property Crimes               > Leading Plaintiff Consumer Lawyers, Lawdragon, 2019
> Racketeering
> False Claims                  > Lawdragon 500, Lawdragon, 2019
> Government Fraud              > Top Attorneys in Washington, Seattle Met Magazine, 2016 – 2019
> Technology
> Software                      EXPERIENCE
> Recreation                    > Experience trying cases in federal and state courts in San Francisco, Los Angeles and Seattle
> Athletic Apparel
                                > Served as lead or co-lead counsel in 12 federal jury trials and has presented more than a dozen cases
BAR ADMISSIONS                    to the Ninth Circuit Court of Appeals
> California                    > As a federal prosecutor in Los Angeles, Mr. Loeser was a member of the Cyber and Intellectual
> Illinois
                                  Property Crimes Section and regularly appeared in the Central District trial courts and the Ninth Circuit
> District of Columbia
                                  Court of Appeals
COURT ADMISSIONS                > Assistant U.S. Attorney, U.S. Department of Justice
> District of Columbia
                                > Wilson Sonsini Goodrich & Rosati
> U.S. District Court for the
  District of Columbia




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                                                                 HAGENS BERMAN SOBOL SHAPIRO   LLP




                                    PARTNER

                                    Thomas E. Loeser
> U.S. District Court for the       NOTABLE CASES
  Eastern District of California
                                    > Volkswagen Emissions Defect Litigation
> U.S. District Court for the
  Northern District of California   > Shea Homes Construction Defect Litigation
> U.S. District Court for the
                                    > Meracord/Noteworld Debt Settlement Litigation
  Southern District of California
> U.S. District Court for the       > Defective RV Refrigerators Litigation
  Central District of California
                                    > New Jersey Medicare Outlier Litigation
> Supreme Court of California
> U.S. District Court for the       > Center for Diagnostic Imaging Qui Tam Litigation
  Eastern District of Michigan
                                    > Countrywide FHA Fraud Qui Tam Litigation
> U.S. District Court for
  the Western District of           > Chicago Title Insurance Co. Litigation
  Washington
                                    > KB Homes Captive Escrow Litigation
> Supreme Court of Washington
> Ninth Circuit Court of Appeals    > Aurora Loan Modification Litigation
                                    > Wells Fargo HAMP Modification Litigation
EDUCATION
> Duke University School of         > JPMorgan Chase Force-Placed Flood Insurance Litigation
  Law, J.D., magna cum Laude,
                                    > Wells Fargo Force-Placed Insurance Litigation
  Order of the Coif, Articles
  Editor Law and Contemporary       > Target Data Breach Litigation
  Problems, 1999
                                    > Cornerstone Advisors Derivative Litigation
> University of Washington,
  M.B.A., cum laude, Beta           > Honda Civic Hybrid Litigation
  Gamma Sigma, 1994
                                    > Hyundai MPG Litigation
> Middlebury College, B.A.,
  Physics with Minor in Italian,    LANGUAGES
  1988
                                    > French
                                    > Italian




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                LLP




                                     PARTNER

                                     Robert F. Lopez
                                     Mr. Lopez continues practice on qui tam matters at the firm, representing
                                     whistleblowers in cases involving violations of federal and state laws that
                                     prohibit the making of false claims for government payments.


CONTACT                              CURRENT ROLE
1301 Second Avenue
Suite 2000
                                     > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                    > Offers a broad range of legal experience in the fields of:

(206) 268-9304 office                 - Complex commercial litigation                    - Privacy litigation
(206) 623-0594 fax                    - Health care and pharmaceuticals litigation       - Securities litigation
robl@hbsslaw.com                      - Product defect litigation                        - Antitrust litigation
                                      - False Claims Act litigation                      - Creditor-debtor litigation
PRACTICE AREAS
> Complex Commercial                  - Intellectual property litigation
  Litigation
> Health Care &                      > Member of firm’s In re Carrier IQ, Inc. Consumer Privacy Litigation team
  Pharmaceuticals Litigation
> Intellectual Property Litigation   > Member of the firm’s team representing the plaintiffs and proposed class in Free Range Content Inc.
> Privacy Litigation                   v. Google Inc., an class-action case based on allegations that Google unlawfully denies payments to
> Antitrust Litigation                 thousands of website owners and operators who place ads on their sites sold through Google AdWords
> Securities Litigation
                                     > Continues practice on qui tam matters at the firm, representing whistleblowers in cases involving
> Qui Tam Litigation
                                       violations of federal and state laws that prohibit the making of false claims for government payments

BAR ADMISSIONS
                                     EXPERIENCE
> Washington                         > Experienced in prosecuting and defending appeals in the federal and state courts of appeal; representing
                                       institutions and consumers in nationwide class-action lawsuits, including in the federal multidistrict
COURT ADMISSIONS
                                       litigation setting; advising clients in non-litigation settings with respect to trademark, trade-name,
> Western District of
                                       copyright and Internet-communications law
  Washington
> Eastern District of Washington     > Member of firm’s team representing one of the relators in the 2012 settlement with Amgen Inc., in
> U.S. Court of Appeals for the        which the company agreed to pay $612 million to the U.S. and various state governments in order to
  Ninth Circuit                        resolve claims that it caused false claims to be submitted to Medicare, Medicaid and other government
                                       insurance programs
EDUCATION
> Gonzaga University, B.A.,          > Member of the firm’s team that prosecuted In re Charles Schwab Corp. Securities Litigation
  English Literature; Arnold         > Experienced in class-action litigation against DaimlerChrysler Corporation relating to product defects in
  Scholar                              its Neon automobiles, nationwide class-action cases against Trex Company, Inc. and Fiber Composites,
> University of Washington
                                       Inc.
  School of Law, J.D.
                                     > Founding Member and Partner, Socius Law Group PLLC
                                     > Partner, Betts, Patterson & Mines, P.S.




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                                                                  ENS BERMAN SOBOL SHAPIRO   LLP




                      PARTNER

                      Robert F. Lopez
                      NOTABLE CASES
                      > In re Pharmaceutical Industry Average Wholesale Price Litigation
                      > Amgen Inc. Qui Tam Litigation
                      > In re Metropolitan Securities Litigation
                      > In re Charles Schwab Corp. Securities Litigation
                      > In re Carrier IQ, Inc. Consumer Privacy Litigation




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                                                                      ENS BERMAN SOBOL SHAPIRO                                                   LLP




                                    PARTNER

                                    Jessica R. MacAuley

                                    Ms. MacAuley was a fundamental part of the In re: Celebrex Antitrust
                                    Litigation trial team, which resulted in a $94 million settlement.



CONTACT                             CURRENT ROLE
1 Faneuil Hall Sq.
                                    > Partner, Hagens Berman Sobol Shapiro LLP
5th Floor
Boston, MA 02109                    > Practice focuses on nationwide antitrust class actions and consumer fraud
                                    > Member of the HBSS team of attorneys litigating on behalf of direct purchasers in In re: Restasis
(617) 475-1967 office                 Antitrust Litigation. Ms. MacAuley directed day-to-day efforts for HBSS and was the leader of a team
(617) 482-3003 fax
                                      of attorneys investigating allegations related to the defendant’s (Allergan) filing of sham citizen petition.
jessicam@hbsslaw.com
                                      Ms. MacAuley successfully argued the motion for final approval of the $51.25 million settlement for the
YEARS OF EXPERIENCE
                                      direct purchaser class.
>9                                  > Led a team of attorneys investigating privilege claims made by defendants in the In re Glumetza
                                      Antitrust Litigation and is now part of the team preparing for trial.
PRACTICE AREAS                      > Integral part of a trial team for class of direct purchasers in the In re: Celebrex Antitrust Litigation, which
> Antitrust Litigation                 settled before trial for $94 million.
> Consumer Rights
> Pharmaceutical Fraud
                                    > Counsel in the In re: Suboxone Antitrust Litigation and the In re: Niaspan Antitrust Litigation. Tasked
                                      with overseeing the litigation for the HBSS office.
BAR ADMISSIONS                      > Instrumental in reaching a $98 million settlement for direct purchasers of the immunosuppressant,
> Massachusetts                        Prograf.
> District Court of
                                    > Oversaw discovery efforts, including managing meet and confers with defendants and directing factual
  Massachusetts
> Second Circuit Court of
                                      issues for depositions, on behalf of direct purchasers In re: Solodyn Antitrust Litigation, a multi-district
  Appeals                             litigation challenging anticompetitive conduct by pharmaceutical drug makers that settled pre-trial with
                                      four defendants totaling over $76 million.
EDUCATION                           EXPERIENCE
> Northeastern University, B.A.,
                                    > During law school Ms. MacAuley was a certified legal intern for the Rural Economic Development Clinic,
  cum laude, 2005
> The Pennsylvania State
                                      advising clients on Marcellus shale exploration land rights, FDA regulations for artisanal cheese makers
  University, Dickinson School of     and formation of corporate entities for dairy farmers.
  Law, J.D., 2012                   RECOGNITION
                                    > “Rising Star,” Massachusetts Super Lawyers Magazine, 2015 - 2019
                                    NOTABLE CASES
                                    > In re Glumetza Antitrust Litigation
                                    > In re Prograf Antitrust Litigation
                                    > In re Solodyn Antitrust Litigation
                                    > In re Celebrex Antitrust Litigation
                                    > In re Restasis Antitrust Litigation
                                    PERSONAL INSIGHT
                                    Jessica has long been active in social justice movements, starting in kindergarten when she led an
                                    unsuccessful boycott of Columbus Day.


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                                                                       ENS BERMAN SOBOL SHAPIRO                                                  LLP




                                    PARTNER

                                    Barbara Mahoney

                                    Ms. Mahoney received her doctorate in philosophy from the Universität
                                    Freiburg (Germany), where she graduated magna cum laude.



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Focuses primarily on national class actions and pharmaceutical litigation

(206) 268-9308 office
                                    > Currently part of the firm’s legal team representing 2014-16 BMW i3 REx owners in a class action regarding
(206) 623-0594 fax                    a defect in the range extender that causes the cars to suddenly reduce speed and power without warning
barbaram@hbsslaw.com                  when transitioning from pure battery mode to the range extender.
                                    > Represents consumers in a nationwide class action against Dometic Corporation seeking compensation
YEARS OF EXPERIENCE
                                      for RV and boat owners who experienced extensive loss of property due to fires and explosions caused by
> 20
                                      defective refrigerators sold by Dometic.

PRACTICE AREAS                      > Extensively involved in several suits against McKesson relating to allegations the company engaged in a
> Civil RICO                          scheme that raised prices of 400+ brand-name prescription drugs. Resulted in two national class-action
> Consumer Rights                     settlements for $350 million and $82 million. In related litigation, Ms. Mahoney represented Virginia,
> Environmental Litigation            Connecticut, Arizona, Oregon, Utah and Montana in individual cases against McKesson.
> Intellectual Property
                                    > Extensively involved in In re: Generic Pharmaceuticals Pricing Antitrust Litigation on behalf of putative class
> State False Claims
                                      of direct purchasers in MDL alleging generic drug manufacturers engaged in price fixing.
INDUSTRY EXPERIENCE                 > Represents Kentucky homeowners in a putative class action against Louisville Gas & Electricity to recover
> Pharmaceutical Industry             the cost of removing coal ash and dust from their homes.
> Class Action Litigation
                                    > Previously, she was involved in pioneering litigation against oil and energy companies for the village and tribe
BAR ADMISSIONS                        of Kivalina to recover the cost of extensive damage to the village caused by global warming.
> Washington                        RECOGNITION

COURT ADMISSIONS                    > Rising Star, Washington Law & Politics, 2005
> U.S. District Court, Western      EXPERIENCE
  District of Washington
> U.S. District Court, Eastern      > Worked in several areas of commercial litigation, including unlawful competition, antitrust, securities,
  District of Washington              trademark, CERCLA, RICO, FLSA as well as federal aviation and maritime law
> Ninth Circuit Court of Appeals    > Associate, Calfo Harrigan Leyh & Eakes LLP (formerly Danielson Harrigan Leyh & Tollefson)

EDUCATION                           > Law Clerk, Justice Sanders, Washington Supreme Court
> University of Washington, J.D.,   > Law Clerk, Judge Saundra Brown Armstrong, U.S. District Court, N.D. California
  2001
> Universität Freiburg, PhD,        LEGAL ACTIVITIES
  philosophy, magna cum laude,      > Downtown Neighborhood Legal Clinic
  1993
                                    > Q Law
                                    > Cooperating Attorney with American Civil Liberties Union of Washington




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                                                                  ENS BERMAN SOBOL SHAPIRO                                    LLP




                      PARTNER

                      Barbara Mahoney
                      NOTABLE CASES
                      > New England Carpenters v. First DataBank ($350 million class-action settlement)
                      > Douglas County v. McKesson ($82 million class-action settlement)
                      LANGUAGES
                      > Fluent in German
                      > Reads Swedish and French
                      PERSONAL INSIGHT
                      Ms. Mahoney lives in West Seattle with her partner and is very active in local athletic organizations.
                      She is a former board member of Rain City Soccer, where she also organized a summer-long
                      program on basic skills. She is also active in Seattle Frontrunners, a masters track club. She enjoys reading,
                      running, soccer and studying foreign languages.




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                                                                      ENS BERMAN SOBOL SHAPIRO                                               LLP




                                   PARTNER

                                   Martin D. McLean

                                   Mr. McLean is a true trial attorney having tried 30 cases
                                   to verdict in various state and federal courts.



CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000
                                   > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                  > Represents individuals who have suffered catastrophic personal injury or loss

(206) 268-9359 office
                                   > Clientele includes a wide range of individuals, including children who have suffered harm while in state
(206) 623-0594 fax                   care, elderly adults who have experienced abuse or neglect in nursing homes and individuals harmed by
martym@hbsslaw.com                   medical negligence.
                                   > Mr. McLean has been at the forefront of litigation involving the Washington Public Records Act.
YEARS OF EXPERIENCE
> 18
                                   RECENT SUCCESS
PRACTICE AREAS                     > During his tenure with Hagens Berman’s personal injury team, Mr. McLean has contributed to numerous
> Personal Injury                    lawsuits resulting in multimillion-dollar recoveries on behalf of the firm’s clients.
> Civil Rights
> Insurance Bad Faith
> Public Records Act
                                   EXPERIENCE
                                   > Mr. McLean is a seasoned trial attorney, with extensive experience in all phases of litigation.
BAR ADMISSIONS
> U.S. District Court for
  the Western District of          NOTABLE CASES
  Washington                       > Marx v. DSHS, $3 million judgment on behalf of developmentally-disabled patient sexually abused at
> U.S. District Court for the
                                     state-run hospital
  Eastern District of Washington
> Ninth Circuit Court of Appeals   > Tamas v. State of Washington, $525,000 judgment on behalf of three children seeking publicrecords
> Supreme Court of Washington        from state agency
                                   > Wright v. DSHS, $2,850,000 judgment against the state of Washington for negligent child abuse
EDUCATION
                                     investigation
> Seattle University School of
  Law, J.D., cum laude, 2002       > Rudolph v. DSHS, $900,000 judgement on behalf of family of a vulnerable adult severely neglected in
                                     state-licensed adult family home


                                   PERSONAL INSIGHT
                                   Mr. McLean spent a year living in Italy studying art, history, Italian and wine-drinking. When not practicing
                                   law, Mr. McLean enjoys his new favorite hobby: raising his young son and daughter with his wife.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                              LLP




                                    PARTNER

                                    Christopher A. O’Hara

                                    Plays key role in working with notice and claims administrators
                                    on all the firm’s class settlements and class notice programs



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Practice focuses on antitrust, consumer, tax and securities class actions

(206) 268-9351 office
                                    > Serves as plaintiffs’ counsel in Hotel Occupancy Tax litigation against major online travel companies in
(206) 623-0594 fax                    various jurisdictions across the country
chriso@hbsslaw.com                  > Active member of firm’s Microsoft defense team negotiating claims administration policy and processing
                                      rules in twenty consumer and antitrust class-action state settlements around the country
YEARS OF EXPERIENCE
> 34                                > Key role in working with claims administrators on all class settlements and class notice programs
                                    RECENT SUCCESS
PRACTICE AREAS
                                    > Worked on related litigation against Expedia on behalf of a nationwide class of consumers who
> Antitrust Litigation
                                      purchased hotel reservations and paid excessive “taxes and fees” charges. That case resulted in
> Consumer Rights
> Tax Law
                                      summary judgment in plaintiffs’ favor and an eventual settlement for cash and credits totaling $134
> Securities Litigation               million. Mr. O’Hara also played a leading role for the firm on the $235 million settlement of In re Charles
> Pharmaceutical Fraud                Schwab Securities Litigation and the $1.6 billion settlement of In re Toyota Motor Corp. Unintended
                                      Acceleration Marketing, Sales Practices and Products Liability Litigation.
BAR ADMISSIONS                      > Mr. O’Hara deposed more than a dozen of Big Tobacco’s expert witnesses, research scientists and
> Washington                          marketing executives for the tobacco litigation, focusing predominantly on the state of Arizona case.
> Arizona                             Coordinated Arizona’s national and local expert witnesses, while contributing to all aspects of discovery
                                      and motion practice. Mr. O’Hara played a leading role in the firm’s successful defense of the state of
COURT ADMISSIONS
                                      Arizona against claims brought by several Arizona counties in the aftermath of the state’s tobacco
> U.S. Court of Appeals, Ninth
                                      litigation.
  Circuit
                                    RECOGNITION
EDUCATION
                                    > Rising Star, Washington Law and Politics, 2003
> University of Washington,
  B.A., Political Science, French   EXPERIENCE
  Language and Literature, 1987
                                    > Crowell & Moring, Paralegal, 1988-1990
> Seattle University School of
  Law, J.D., cum laude, 1993        > Cozen & O’Connor, Associate, 1993-1997
                                    NOTABLE CASES
                                    > Tobacco Litigation ($260 billion multi-state settlement)
                                    > Expedia Litigation ($134 million settlement)
                                    > Charles Schwab Yieldplus Funds Litigation ($235 million settlement)
                                    > Toyota Unintended Acceleration Litigation ($1.6 billion settlement)
                                    > Microsoft Antitrust Litigation
                                    LANGUAGES
                                    > French
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                                                                      ENS BERMAN SOBOL SHAPIRO                                                LLP




                                   PARTNER

                                   Jerrod C. Patterson
                                   Served as federal prosecutor for over nine years, prosecuting tax cases,
                                   fraud, and other financial crimes. Extensive experience trying complex
                                   cases to verdict.


CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000
                                   > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                  > Practice focuses on antitrust and other fraud and RICO cases, including Generic Pharmaceuticals
                                     Pricing Antitrust, Dodge RAM 2500 and 3500 Emissions, and Ford/GM/FCA CP4 Injection Pump
(206) 268-9378 office                Defect
(206) 623-0594 fax
jerrodp@hbsslaw.com                > Extensive experience in handling complex multidistrict cases.
                                   > Mr. Patterson brings to the firm extensive trial experience and a history of prosecuting complex fraud
YEARS OF EXPERIENCE
                                     cases, including tax fraud, bank fraud, wire fraud, money laundering and prescription fraud.
> 20
                                   RECOGNITION
PRACTICE AREAS                     > Organized Crime and Drug Enforcement Task Force “Best Financial Investigation in the Nation” – 2012
> Antitrust Litigation
                                   > U.S. Attorney General “Outstanding Performance as a Special Assistant U.S. Attorney” – 2010
> Racketeering
> Automotive Litigation            > Assistant Attorney General “Outstanding Tax Division Attorney” – 2009
BAR ADMISSIONS                     > Assistant Attorney General “Outstanding Tax Division Attorney” – 2008
> Washington
> New York                         NOTABLE CASES
> District of Columbia             > In re Animation Workers Antitrust Litig., 14-cv-4062 LHK (N.D. Cal.): Class-action antitrust case
CLERKSHIPS:                           against major animation studios for conspiring to fix wages of their animators. The parties settled the
> The Hon. Louis F. Oberdorfer,       case for $169M.
  U.S. District Court for D.C.
> U.S. Senate Judiciary
                                   > In re Generic Pharmaceuticals Pricing Antitrust Litig. (E.D. Pa.): Class-action antitrust case against
  Committee (Sen. Leahy)             over two dozen generic pharmaceutical manufacturers for conspiring to fix the price of generic drugs.
  Washington, D.C.                 > In re Lithium Ion Batteries Antitrust Litig., 12-cv-5129 YGR (N.D. Cal.): Class-action antitrust case
EDUCATION                             against large battery producers for conspiring to fix prices. The parties settled the case for a total of
> University of California,           $113 million.
  Berkeley School of Law (Boalt
                                   > As a federal prosecutor, led or co-chaired 11 federal jury trials, and 22 bench trials
  Hall), J.D., May 2002; top 15%
  of graduating class              EXPERIENCE
> Johns Hopkins University,
                                   > Prior to joining Hagens Berman, Mr. Patterson served as an Assistant United States Attorney at the U.S.
  School of Advanced
  International Studies
                                     Attorney’s Office in Seattle, WA.
  (SAIS) M.A. in International     - Prosecuted complex fraud cases, including tax fraud, bank fraud, wire fraud, money laundering, and
  Economics and International        prescription fraud
  Relations, December 1997,
  Graduated with distinction       - Served as Project Safe Childhood Coordinator; led efforts to investigate and prosecute child
  (top 10%)                          pornography and child exploitation cases
> Brown University A.B. in         - Led prosecution of large-scale drug trafficking organizations, including cartels and street gangs, to
  International Relations, May
                                     interdict drug smuggling and investigate money laundering
  1995, magna cum laude



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                                                                  ENS BERMAN SOBOL SHAPIRO                                  LLP




                      PARTNER

                      Jerrod C. Patterson
                      > Trial Attorney, U.S. Department of Justice Washington, D.C., Tax Division, Northern Criminal
                        Enforcement Section
                      - Co-chaired prosecution of two defendants, in separate trials, for scheme to defraud the Cleveland
                        Catholic Diocese
                      > Special Assistant U.S. Attorney, U.S. Attorney’s Office for D.C. Nov. 2006 - May 2007
                      - Prosecuted 22 bench trials in Sex Offense/Domestic Violence Section
                      > Associate, Wilmer Cutler Pickering (WilmerHale)
                      PERSONAL INSIGHT
                      Although not a Washington state native, Mr. Patterson has quickly adopted Seattle as his hometown. In his
                      spare time, he and his family enjoy the local wineries, lakes and hiking trails.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                LLP




                                    PARTNER

                                    Rio Pierce

                                    Rio focuses his practice on enforcing antitrust laws and ensuring fair and
                                    free markets for the benefit of consumers.



CONTACT                             CURRENT ROLE
715 Hearst Ave.
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Suite 300
Berkeley, CA 94710                  RECENT SUCCESS

(510) 725-3000 office
                                    > In re Broiler Chicken Antitrust Litig., No. 16-CV-08637 (N.D. Ill.) (part of team at Hagens Berman for
(510) 725-3001 fax                     indirect purchaser class; recovery to date of $106 million)
riop@hbsslaw.com                    > In re Pork Antitrust Litig., No. 18-CV-01776 (D. Minn.) (part of team at Hagens Berman serving as co-
                                       lead counsel for indirect purchaser class; recovery to date of $20 million)
YEARS OF EXPERIENCE
                                    > Qualcomm Antitrust Litigation., No. 5:17-md-02773 (N.D. Cal.) (part of team at Hagens Berman
>8
                                      acting as counsel for indirect purchaser class that resulted in certified class of hundreds of millions of
                                      consumers)
PRACTICE AREAS
> Consumer Protection               > In re Optical Disk Drive Antitrust Litig., No. 10-md-02143 (N.D. Cal.) (team at Hagens Berman acting as
> Intellectual Property                lead counsel for indirect purchaser class; recovery of $205 million)

BAR ADMISSIONS                      RECOGNITION
> California                        > 2021 Top 40 Under 40 Civil Plaintiff Trial Lawyers in California, The National Trial Lawyers
                                    > Chayes Fellow, National Prosecuting Authority in Cape Town, South Africa
COURT ADMISSIONS
> U.S. District Court for the       > Teaching Fellow, Copyright EdX
  Central District of California
> U.S. District Court for the       EXPERIENCE
  Northern District of California   > Prior to joining Hagens Berman, Mr. Pierce worked as an associate for two years at Munger, Tolles &
> U.S. District Court for the         Olson, where he gained significant experience in class action and complex commercial litigation. Mr.
  Southern District of California
                                      Pierce also did extensive pro bono work on immigration matters.
CLERKSHIPS:                         > Law Clerk, U.S. Court of Appeals for the Ninth Circuit, Judge Jerome Farris, 2013-2014
> Honorable Jerome Farris of        > Associate, Munger Tolles & Olson, 2014-2016
  the U.S. Court of Appeals for
  the Ninth Circuit, 2013 - 2014    LEGAL ACTIVITIES
                                    > American Association for Justice
EDUCATION
> Harvard Law School, magna
                                    PUBLICATIONS
  cum laude, 2013
> Duke University, magna cum        > “A Heavy Hand or A Light Touch: What Force Will California’s Anti-SLAPP Statute Have After Baral v.
  laude, 2005                         Schnitt?” California Litigation Review, 2015

                                    PERSONAL INSIGHT
                                    A proud California native, Rio loves exploring the whole state, especially Big Sur. Prior to law school, Rio
                                    worked at Miramax for several years and still loves a good indie film. In his free time, Rio enjoys making
                                    pies.



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                                                                      ENS BERMAN SOBOL SHAPIRO                                            LLP




                                  PARTNER

                                  Christopher R. Pitoun
                                  Christopher R. Pitoun has focused on consumer litigation since graduating
                                  from law school and has gained broad experience representing individuals,
                                  municipalities and small businesses in all forms of complex litigation.


CONTACT                           CURRENT ROLE
301 North Lake Ave.
                                  > Partner, Hagens Berman Sobol Shapiro LLP
Suite 920
Pasadena, CA 91101                > Practice focuses on class actions and other complex litigation
                                  EXPERIENCE
(213) 330-7148 office
                                  > Prior to joining Hagens Berman, Chris worked as an associate at a large plaintiff’s firm gaining
(213) 330-7152 fax
chrisp@hbsslaw.com
                                    extensive experience representing plaintiffs in business litigation involving copyright and trademark
                                    disputes, breach of contract claims and breach of fiduciary duty claims. He also worked on a number
YEARS OF EXPERIENCE                 of nationwide class actions involving products liability matters in the pharmaceutical and construction
> 11                                industries.
                                  > Office of the Attorney General of California, Business and Tax Division, Winter 2010
PRACTICE AREAS                    RECENT SUCCESS
> Consumer Protection
> Intellectual Property           > BofA Countrywide Appraisal RICO, No. 2:16-cv-04166 (C.D. Cal.) (part of team that secured
                                    $250,000,000 settlement on behalf of nationwide class of borrowers against appraiser)
BAR ADMISSIONS
> California
                                  > Sake House Restaurants Racial Discrimination Litigation, Case No. BC7087544 (Cal.Super.) (certified
> U.S. District Court, Central      for settlement purposes first of its kind hostile work environment class of Hispanic/Latino restaurant
  District of California            workers against employer)
> U.S. District Court, Northern
  District of California          > USC, Dr. Tyndall Sexual Harassment, No. 2:18-cv-04258-SVW-GJS (C.D. Cal.) (part of team that secured
> U.S. District Court, Southern     $215,000,000 settlement on behalf of class of sexual assault survivors against university and OB-GYN)
  District of California          NOTABLE CASES
> U.S. District Court, Eastern
  District of California          > CVS Generic Drug RICO Litigation
> U.S. Court of Appeals for the   > Fiat Chrysler Low Oil Pressure Shut Off
  Ninth Circuit
                                  > Fiat Chrysler Gear Shifter Rollaway
EDUCATION                         > Ford F-150 & Ranger Fuel Economy and Sales Practices Litigation
> Loyola Law School, Los          > Gilead HIV TDF Tenofovir Mass Tort
  Angeles, J.D. 2011, Note and
                                  > Mattel/Fisher Price Rock ‘N Play Wrongful Dealth Cases
  Comment Editor, Loyola of
  Los Angeles Entertainment       PRESENTATIONS
  Law Review                      > Panelist, “Conscious Consumerism and the Government’s Role in Regulating Companies’ Ethical
> University of Chicago, M.A.       Promises,” ABA Webinar. March 2022
  2005
                                  LANGUAGES
> University of Michigan, B.A.,
  with High Honors, 2004          > French
> London School of Economics,     PERSONAL INSIGHT
  General Course, 2003
                                  Prior to attending law school, Chris taught English and French to high school students in China. Chris
                                  later decided to become a lawyer while marketing the film “Michael Clayton.” In his spare time, Chris
                                  works as a volunteer for the American Friends of the Israel Museum, a non-profit which helps raise funds
                                  for the Israel Museum in Jerusalem.
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                                                                       ENS BERMAN SOBOL SHAPIRO                                               LLP




                                   PARTNER

                                   Craig R. Spiegel
                                   After helping obtain recent substantial settlements in cases against drug
                                   companies for deceptive marketing, Mr. Spiegel now helps in the firm’s litigation
                                   efforts against auto manufacturers and others for illegal emissions of pollutants.


CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000
                                   > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                  > Practice primarily focuses on class actions concerning unfair pricing of pharmaceutical drugs. Recent
                                     cases include actions against AstraZeneca and Merck.
(206) 623-7292 office
(206) 268-9328 direct              NOTABLE CASES
(206) 623-0594 fax                 > Involved in the firm’s antitrust class-action lawsuit against the NCAA accusing the sports-governing
craigs@hbsslaw.com                    body of engaging in anti-competitive practices in regards to its scholarships or Grants in Aid (GIAs)
                                      program. In March of 2017, U.S. District Judge Claudia Wilken approved a sweeping $209 million
YEARS OF EXPERIENCE
                                      settlement for student-athletes, and in March of 2019, a trial on the injunctive aspect of the case
> 42
                                      resulted in a change of NCAA rules limiting the financial treatment of athletes.

PRACTICE AREAS                     > Helped obtain a substantial settlement for the state of New York and New York City in their litigation
> Consumer Rights                    against Merck for losses suffered from deceptive marketing of the prescription drug Vioxx
                                   > Instrumental in obtaining a settlement for a class of Massachusetts consumers and third-party payors in
BAR ADMISSIONS                        their litigation against AstraZeneca, in which the class claimed that AstraZeneca deceptively marketed
> California State Bar                the prescription drug Nexium as superior to Prilosec
  Association
> Illinois State Bar Association   > Deeply involved in the firm’s lawsuits on behalf of thalidomide victims, who suffered severe personal
> Washington State Bar               injuries when their mothers ingested thalidomide during their pregnancies in the late 1950s and early
  Association                        1960s, without knowing that thalidomide had not been approved by the FDA

EDUCATION
                                   RECOGNITION
> Harvard Law School, J.D.,
  cum laude, 1979                  > 2021, 2019 Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice, American
> St. Olaf College, B.A., summa      Antitrust Institute
  cum laude, 1975




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                LLP




                                    PARTNER

                                    Shayne C. Stevenson
                                    Since fighting against sweatshops and the exploitation of undocumented workers with the
                                    workers’ rights organization he founded at the Yale Law School, Shayne has focused his
                                    legal career on prosecuting cases against individuals and businesses who victimize others
                                    by violence, deception and fraud.


CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Leads the firm’s whistleblower practice and litigates select class-action cases

(206) 623-7292 office
                                    > Litigates and argues both False Claims Act and a variety of class action cases in federal district courts
(206) 268-9340 direct                 and on appeal at the courts of appeal nationwide on behalf of whistleblowers, veterans, consumers,
(206) 623-0594 fax                    workers and investors
shaynes@hbsslaw.com                 > Experienced in successfully handling False Claims Act, SEC, CFTC, and IRS whistleblower cases for
                                      whistleblowers worldwide against the world’s largest financial companies, securities exchanges,
YEARS OF EXPERIENCE
                                      accounting firms, medical device and pharmaceutical companies, medical providers, mortgage
> 21
                                      companies and other Fortune 500 corporations

PRACTICE AREAS                      > One of the nation’s leading Dodd-Frank Whistleblower attorneys since the programs were adopted
> Appellate Litigation                in 2010, representing several successful, record-breaking whistleblowers under the whistleblower
> Civil & Human Rights                programs of the Securities and Exchange Commission (SEC) and the Commodity Futures Trading
> Class Action                        Commission (CFTC)—including the two most notable whistleblowers under these programs
> Securities
                                    > Litigates select human rights and other public interest matters, including previous litigation against the
> Whistleblower (Head of
  Practice)                           Rio Tinto mining conglomerate for war crimes against the indigenous population of Bougainville in
 - Anti-Money Laundering Act          Papua New Guinea, a case that reached the U.S. Supreme Court
 - CFTC                             > Previously a felony prosecutor who successfully tried several multi-week jury trials and argued several
 - False Claims Act                   cases in trial and appellate courts
 - IRS
 - SEC                              EXPERIENCE
                                    > King County Prosecuting Attorney’s Office, Felony Prosecutor
BAR ADMISSIONS
                                    > Law Clerk, Honorable Betty B. Fletcher, Ninth Circuit Court of Appeals, 2001-02
> Washington
                                    > Law Clerk, Honorable Charles S. Haight, Jr., Southern District of New York, 2000-01
CLERKSHIPS
                                    > U.S. Attorney’s Office, District of Connecticut, Intern
> Honorable Betty B. Fletcher,
  Ninth Circuit Court of Appeals,   NOTABLE CASES
  2001-2002
                                    > CFTC v. Nav Sarao Futures Ltd. and U.S. v. Sarao (Northern District of Illinois) (CFTC whistleblower)
> Honorable Charles S. Haight,
                                      Successfully represented the highly-publicized anonymous Dodd-Frank CFTC whistleblower who
  Jr., Southern District of New
  York, 2000-2001                     single-handedly identified an international market manipulator, who was extradited and convicted. The
                                      case is the subject of the best-selling book “Flash Crash” by Bloomberg reporter Liam Vaughn.
EDUCATION                           > In the Matter of EDGA Exchange, Inc., et al. (SEC whistleblower) Successfully represented another high-
> Yale Law School, J.D. (2000)         profile Dodd-Frank SEC whistleblower, the algorithmic trader and market structure expert Haim Bodek,
> Gonzaga University, B.A.,
                                       who single-handedly identified securities law violations by a major U.S. securities exchange. Mr. Bodek
  Philosophy and Political
                                       was twice featured on the front page of the Wall Street Journal for his efforts, which led to the largest
  Science (double major),
                                       SEC fine in history against a financial exchange.
                                    > U.S. ex rel. Lagow v. Countrywide Financial Corp., et al. and U.S. ex rel. Mackler v. Bank of America,

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                                                                     ENS BERMAN SOBOL SHAPIRO                                                  LLP




 graduated summa cum laude       PARTNER

                                 Shayne C. Stevenson
 (first-in-class); Truman
 Scholar; Jesuit Honor Society
 (1996)
                                   et al. (Eastern District of New York) Successfully handled both False Claims Act whistleblower cases
                                   representing relators in two separate lawsuits against Bank of America that culminated in the historic
                                   $1 billion settlement between the Department of Justice and Bank of America addressing mortgage
                                   origination and servicing fraud.
                                 > In the Matter of New York Stock Exchange LLC, et al. (SEC whistleblower) Successfully represented
                                    Mr. Bodek in a second record-tying SEC whistleblower action against the NYSE, and affiliated national
                                    securities exchanges, for unlawful and undisclosed use of order types.
                                 > In the Matter of Grant Thornton, LLP (SEC whistleblower) Successfully represented the Dodd-Frank
                                    SEC Whistleblower who brought the allegations of auditing fraud by this top-10 U.S. accounting and
                                    audit firm.
                                 > Childress v. Bank of America Corp., et al. (Eastern District of North Carolina.) Successfully represented
                                   and settled this class action case on behalf of over 126,000 military servicemembers challenging Bank
                                   of America’s violations of the Servicemember Civil Relief Act, resulting in tens of millions of dollars paid
                                   to veterans and their families.
                                 > In the Matter of Cargill, Inc. (CFTC whistleblower) Successfully represented CFTC whistleblower in
                                    action against the largest private company in the United States.
                                 > U.S. ex rel. Doe v. US WorldMeds LLC (Western District of Washington) Successfully represented False
                                   Claims Act relator who challenged off-label marketing and Anti-Kickback Statute violations
                                 > Securities and Exchange Commission v. Moddha Interactive, et al. (District of Hawaii) (SEC
                                   whistleblower) Successfully represented SEC whistleblower who investigated and reported on
                                   fraudulent investment scheme shut down by the SEC.
                                 > U.S. ex rel. Nowak v. Medtronic, Inc., (District of Massachusetts) Successfully represented False Claims
                                   Act relator in declined and settled FCA litigation challenging off-label promotion of medical devices.
                                 > U.S. ex rel. Kite v. Besler Consulting, et al. (District of New Jersey) Successfully represented False
                                   Claims Act relator in several declined and settled FCA cases against area hospitals for Medicare fraud.
                                 > Sarei v. Rio Tinto Plc (Central District of California) Litigated international human rights class action
                                   case under Alien Tort Statute to the Supreme Court.
                                 > Hutchinson v. British Airways PLC, (Eastern District of New York) Successfully represented a class of
                                   consumers under Montreal Convention.
                                 CLERKSHIPS
                                 > Honorable Betty B. Fletcher, Ninth Circuit Court of Appeals, 2001-2002
                                 > Honorable Charles S. Haight, Jr., Southern District of New York, 2000-2001
                                 MEDIA INTERVIEWS AND COMMENTARY
                                 > “High Court Legacy of FCA Unity Teeters on Ideological Brink,’” Law360, Jan. 19, 2023
                                 > “Justices Ignite FCA Debate: Fairness Vs. ‘Invitation To Fraud’,” Law360, Jan. 17, 2023
                                 > “CFTC Makes History With $200M Whistleblower Award,” Law360, Oct. 21, 2021
                                 > “FCA Overhaul Bill May Miss Mark on Reining in Fraudsters,” Law360, July 28, 2021
                                 > “Escobar Five Years Later: How FCA Earthquake is Reverberating,” Law360, June 17, 2021
                                 > “Lastest CFTC Bounty Stirs Calls for More Whistleblower Funds,” Law360, Apr. 23, 2021



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                                                                  ENS BERMAN SOBOL SHAPIRO                                  LLP




                      PARTNER

                      Shayne C. Stevenson
                      > “SEC Redefines Blockbuster with $114M Whistleblower Award,” Law360, Oct. 22, 2020
                      > “CFTC Takes Extra Care to Cover Whistleblower Tracks,” Law360, Sept. 10, 2020
                      > “Robbins Geller, Hagens Berman to Lead Pot Investors’ Row,” Law360, July 24, 2020
                      > “CFTC Awards Whistleblower $6m, Slams ‘Baseless’ Objection,” Law360, June 9, 2020
                      > “SEC Ramps Up Whistleblower Awards,” Wall St. Journal, May 4, 2020
                      > “CFTC Calls for Whistleblower Tips as Enforcement Evolves,” Law360, Sept. 19, 2019.
                      > “Pharma Co. Inks $17.5m Deal to End FCA Kickback Suit,” Law360, April 30, 2019.
                      > “Attorneys Reflect on Escobar’s FCA Impact 2 Years Later,” Law360, June 15, 2018.
                      > “SeaWorld Visitors Ask 9th Cir. to Flip Whale Abuse Suit,” Law360, Mar. 12, 2018.
                      > “Dodd-Frank Whistleblowers Help Clean Up Our Markets,” (Guest Column) ValueWalk, Feb. 6, 2018.
                      > “Attorneys React to DOJ’s New Memo on FCA Dismissals,” Law360, Jan. 26, 2018.
                      > “Limiting Whistleblower Rewards Weakens Program,” Bloomberg Law, Nov. 2, 2017.
                      > “BofA’s $42m Military Member Fee Settlement Wins Initial OK,” Law360, Sept. 13, 2017
                      > “Sarao Flash Crash Manipulation Case Benchmarks Point in History,” ValueWalk, Nov. 15, 2016
                      > “What SEC Whistleblowers Should Know About Insider Trading,” (Guest Column) ValueWalk, Oct. 20,
                        2016
                      > “SeaWorld Patrons Ask 9th Cir. to Restore Orca Abuse Suit,” Law360, Sept. 20, 2016
                      > “SEC cracks down on severance agreements that deter whistleblowing,” Reuters, Aug. 16, 2016
                      > “Tax Court Interprets ‘Collected Proceeds’ Expansively for Whistleblowers,” Standard Fed. Tax Reports,
                        Aug. 11, 2016
                      > “Whistleblower Persuades Tax Court to Grant Discovery Motion,” Standard Fed. Tax Reports, Aug. 4,
                        2016
                      > “Health Fraud Defense Attys Riding High As Wins Pile Up,” Law360, Apr. 8, 2016
                      > “CFTC Whistleblower Office Comes of Age with Record Bounty,” Law360, Apr. 4, 2016
                      > “Why Wash.’s Medicaid False Claims Act Must be Renewed,” Law360, Mar. 24, 2016
                      > “Renew Tool That Fights Fraud,” (Guest Column), The Daily Herald, Feb. 21, 2016
                      > “CFTC Can’t Give Whistleblower Money Away,” Wall St. Journal, Feb. 8, 2016
                      > “9th Circuit’s FCA Ruling to Spark More Whistleblower Fights,” Law360, July 9, 2015
                      > “Flash Crash’ Case Gets Scrutinized,” Automated Trader, May 4, 2015
                      > “Flash Crash Whistleblower May Get Millions of Dollars,” Reuters, Apr. 23, 2015
                      > “’Flash Crash’ Arrest Shakes Investors’ Confidence,” USA Today, Apr. 23, 2015
                      > “Alleged ‘Flash Crash’ Trader Told UK Watchdog to Ban HFT,” Law360, Apr. 23, 2015
                      > “UK Trader Arrested Over 2010 Flash Crash,” Financial Times, Apr. 22, 2015
                      > “Flash Crash Whistleblower May See Multi-Million Dollar Pay Day,” Reuters, Apr. 22, 2015
                      > “’Flash Crash’ Charges Filed,” The Wall Street Journal (front-page), Apr. 21, 2015
                      > “UK Speed Trader Arrested,” Reuters, Apr. 21, 2015

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                                                                  ENS BERMAN SOBOL SHAPIRO                                    LLP




                      PARTNER

                      Shayne C. Stevenson
                      > “How a Mystery Trader May Have Caused the Flash Crash,” Bloomberg, Apr. 21, 2015
                        Washington. Seattle, WA. Apr. 24, 2015.
                      > “CFTC, Feds Accuse UK HFT Trader of Role in Flash Crash,” Law360, Apr. 21, 2015
                      > “BATS to Pay $14 Million to Settle Direct Edge Order-Type Case: A Record Amount,” The Wall Street
                        Journal, Jan. 12, 2015.
                      > “BATS Exchange to Pay Record $14 Million SEC Fine,” Reuters, Jan. 12, 2015
                      > “BATS to Pay $14m SEC Fine in Wake of Order-Type Scandal,” Automated Trader, Jan. 12, 2015
                      > “SEC Issues Largest Fine Ever to Exchange Over High-Frequency Trading Infractions,” ValueWalk, Jan.
                        12, 2015.
                      > “IRS Releases Comprehensive Whistleblower Final Regs.,” Standard Fed. Tax Reports, Aug. 14, 2014
                      > “Bank of America Whistleblower’s Payday Lead to Calls for Reform,” Law360, Aug. 6, 2014
                      > “UBS Whistleblower Ruling Reignites Arbitration Debate,” Law360, Jan. 30, 2014
                      > “With $2B J&J Deal, FCA Proves It’s Still The Anti-Fraud King,” Law360, Nov. 4, 2013
                      > “Bank of America Fraud Trial Spotlights Whistleblower Awards,” Reuters, Sept. 27, 2013
                      > “FCPA Whistleblower Bounty May Turn Tide For SEC Program,” Law360, Aug. 20, 2013
                      > “Whistleblower Attorneys Eye DOJ Fraud Theory for New Bounties,” Law360, Aug. 7, 2013
                      > “SEC’s Second Whistleblower Award is Tip of the Iceberg,” Law360, June 14, 2013
                      > “UBS Ruling Allays Fear Factor for SEC Whistleblowers,” Law360, May 22, 2013
                      > “Five Tips for Building Bridges with Whistleblowers,” Law360, Mar. 20, 2013
                      > “Analysis: Complaints Rise Over Complex U.S. Stock Orders,” Reuters, Oct. 19, 2012
                      > “For Superfast Stock Traders, a Way to Jump Ahead in Line,” Wall St. Journal (front-page) Sept. 19,
                        2012
                      > “UBS Whistleblower Nets $104 Million Award,” CNN Money, Sept. 12, 2012”
                      > “Bank of America/Countrywide Whistleblower Kept 3-Year Secret,” ABCNews, July 14, 2012
                      > “Whistleblowers Win $46.5m in Foreclosure Settlement,” CNN, July 2, 2012
                      > “Whistleblowers Beware: Most Claims End in Disappointment,” Huffington Post, June 4, 2012
                      > “Whistleblower Takes Home $14.5M in BoA Mortgage Deal,” Law360, May 29, 2012
                      > “Bank of Amer. Whistleblower Receives $14.5m in Mortgage Case,” Reuters, May 29, 2012
                      > “BoA Denied Homeowners Access to HAMP: Whistleblower,” Law360, Mar. 7, 2012
                      > “Countrywide Inflated Home Values: Whistleblower Suit,” Law360, Feb. 24, 2012
                      > “Killers of Somali Cabbie Get Longest Sentences Allowed,” Seattle P-I, Mar. 24, 2006
                      PRESENTATIONS
                      > Moderator: “Threats to the Legitimacy of Courts,” Federal Bar Association Annual Conference. Seattle,
                        WA. Dec. 14, 2022.
                      > Speaker: “Whistleblowers & Financial Fraud,” National Whistleblower Conference. San Francisco, CA.
                        Jan. 22-23, 2018
                      > Speaker: “Financial Fraud,” National Qui Tam Conference. Los Angeles, CA. Nov. 3-4, 2016
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                      > Speaker: “Representing Dodd-Frank Whistleblowers,” Taxpayers Against Fraud Education Fund, Annual
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                                                                  ENS BERMAN SOBOL SHAPIRO                                     LLP




                      PARTNER

                      Shayne C. Stevenson
                        Conference. Washington, D.C. Nov. 16, 2015.
                      > Speaker: “Secrets from the Plaintiff’s Bar,” Hospital and Health Care Law Conference: University of
                        Washington. Seattle, WA. Apr. 24, 2015. peaker: “False Claims in the Financial Sector,” False Claims
                        and Qui Tam Enforcement Conference. New York, New York. Jan. 21-22, 2015.
                      > Lecture: “Access to Civil Remedy,” Business, Social Responsibility, & Human Rights, University of
                        Washington School of Law. Seattle, Washington. Nov. 4, 2014
                      > Speaker: “Enforcement of Financial Fraud,” False Claims Act: National Qui Tam Conference. San
                        Francisco, California. Oct. 27-28, 2014.
                      > Lecture: “Human Rights Law After Kiobel,” University of Washington School of Law. Seattle,
                        Washington. Nov. 12, 2013.
                      > Speaker: “Financial Fraud Enforcement,” False Claims Act: All Points of View, National Conference. San
                        Francisco, California. Apr. 18-19, 2013.
                      > Lecture: “Strategy after Kiobel and Bauman,” International Human Rights Seminar, University of
                        Washington School of Law. Seattle, Washington. Apr. 17, 2013.
                      > Lecture: “Alien Tort Statute and Human Rights Litigation,” University of Washington School of Law.
                        Seattle, Washington. Nov. 13, 2012.
                      > Speaker: “Protecting Whistleblowers, Protecting the Public,” Whistleblowing: Law, Compliance, and
                        the Public Interest. Government Accountability Project. Seattle University School of Law. Seattle,
                        Washington. Mar. 23, 2012.




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                                                                      ENS BERMAN SOBOL SHAPIRO                                              LLP




                                  PARTNER

                                  Whitney Street
                                  Ms. Street has been appointed to leadership positions in large antitrust class
                                  actions across the country, most recently recovering $34 million as co-lead
                                  counsel on behalf of a proposed class of cancer patients and other end payors.


CONTACT                           CURRENT ROLE
715 Hearst Ave.
Suite 300
                                  > Partner, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710                EXPERIENCE

(510) 725-3000 office
                                  > Whitney served as co-lead counsel and represented the city of Providence, Rhode Island and a putative
(510) 725-3001 fax                  class of indirect purchasers in an antitrust class action against Celgene Corp. for unlawfully excluding
whitneyst@hbsslaw.com               generic competition for vital cancer treatment drugs. The matter was In re Thalomid & Revlimid
                                    Antitrust Litig., 14-cv-6997 (D.N.J.), and resulted in a $34 million settlement on behalf of the class.
YEARS OF EXPERIENCE
                                  > Ms. Street was appointed co-lead counsel on behalf of a class of indirect purchasers in In re Domestic
> 19
                                    Drywall Antitrust Litig., 13-md-02437 (E.D. Pa.), which involved allegations of price-ﬁxing and other
                                    forms of concerted conduct in violation of antitrust laws, resulting in a $17 million settlement on behalf
PRACTICE AREAS
                                    of the class.
> Antitrust Litigation
> Pharmaceutical Fraud            > She was also appointed to the plaintiffs’ steering committee in In re Liquid Aluminum Sulfate Antitrust
                                    Litig., 16-md-02687 (D.N.J.) alleging bid-rigging, market allocation and price-fixing in the aluminum
BAR ADMISSIONS                      sulfate market. Settlements totaled at least $111 million in that matter.
> California
                                  > She also served on the steering committee in In re Packaged Seafood Antitrust Litig., 15-md-02670
> Massachusetts
> New York                          (S.D. Cal.), an ongoing case alleging price-fixing in the market for shelf-stable seafood products.
> Texas                           > Whitney served as a member of the litigation team representing direct purchasers in In re Broiler
                                    Chicken Antitrust Litig., 16-cv-08637 (N.D. Ill.), a class action alleging broiler chicken producers
COURT ADMISSIONS
                                    engaged in a price-fixing conspiracy, and in In re Pork Antitrust Litig., 18-cv-01776 (D. Minn.), a class
> U.S. District Courts for the
                                    action alleging that pork producers engaged in a price-fixing conspiracy. To date, approximately $200
  Northern, Southern, Eastern
                                    million has been obtained on behalf of direct purchasers in the Broilers matter, and $107.5 million
  and Central Districts of
  California
                                    has been obtained on behalf of direct purchasers in the Pork matter. Both cases are ongoing against
> U.S. District Court for the       remaining defendants.
  Southern District of New York   > Whitney served as a member of the litigation teams in the following antitrust class actions: Air Cargo
> U.S. District Court for the       Shipping Services Antitrust Litigation, 06-md- 1775 (E.D.N.Y.) (settlements totaling more than $270
  Eastern District of New York
                                    million); In re Ethylene Propylene Diene Monomer (EPDM) Antitrust Litigation, 3:03-md-1542 (D. Conn.)
> U.S. District Court for the
                                    (partial settlements totaling $87 million); In re Methyl Methacrylate (MMA) Antitrust Litigation, 06-md-
  District of Massachusetts
                                    01768 (E.D. Pa.) (settled for $15.0 million); and In re Hydrogen Peroxide Antitrust Litigation, 05-civ-666
EDUCATION
                                    (E.D. Pa.) (partial settlements of more than $4.0 million).
> University of Virginia School   > Whitney received her training at prominent litigation firms in New York and Boston where she
  of Law, J.D., 2002                represented clients in antitrust and securities class actions. She began her career at Pillsbury Winthrop
> University of Virginia, B.A.,     Shaw Pittman, one of the largest law firms in California.
  Economics and Literature,
  1999                            LEGAL ACTIVITIES
                                  > Contributor, Complex Litigation E-Discovery Forum, 2016 - 2021
                                  > Member, American Bar Association, 2016 - 2019



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                                                                  ENS BERMAN SOBOL SHAPIRO                                    LLP




                      PARTNER

                      Whitney Street
                      > Editorial Advisory Board Member, Law360 Competition Law, 2014 - 2018
                      > Co-Founder and former co-chair, American Association for Justice Antitrust Litigation Group, 2014 -
                        2016
                      PUBLICATIONS
                      > Co-Author, “What Lies Ahead in High Stakes Pay-For-Delay Antitrust Litigation,” American Association
                        of Justice Business Torts Newsletter, May 2015
                      > Author, “Technology Assisted Review: The Disclosure of Training Sets and Related Transparency
                        Issues,” Georgetown Law Advanced eDiscovery Institute, November 2014
                      > Co-Author, “Decision Re-Affirms Critical Role of Shareholders,” Benefits and Pensions Monitor, October
                        2014
                      PRESENTATIONS
                      > Speaker, “The New Normal: Producing and Obtaining Phone Record Data,” Complex Litigation
                        e-Discovery Forum, November 2020
                      > Panelist, “Big Data & Storylines,” Complex Litigation E-Discovery Forum, September 2016
                      > Moderator, “Introduction to the Use of Regression Analysis in Antitrust Class Action Litigation,”
                        American Association for Justice Webinar, August 2016
                      > Panelist, Georgetown Law Advanced eDiscovery Institute, November 2014
                      > Panelist, American Association for Justice Class Certification Seminar, 2013


                      PERSONAL INSIGHT
                      Whitney – a novice marathoner, ambivalent Tottenham fan and avid seeker of book recommendations –
                      joined Hagens Berman in November 2021. Originally from the Lowcountry, she now calls California home
                      and can often be found on the trails of Mount Diablo.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                            LLP




                                   PARTNER

                                   Jessica Thompson
                                   Jessica began her legal career at an AMLaw 100 firm representing Fortune-ranked
                                   corporations in antitrust, intellectual property and financial services industries. Though
                                   grateful for the intense training that those matters provided, Jessica is proud to now be
                                   working for the good guys.


CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000
                                   > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                  > Practice focuses on complex consumer protection cases, primarily within the realms of automotive and
                                     emissions litigation
(206) 268-9398 office
(206) 623-0594 fax                 > Ms. Thompson is currently involved in many of the firm’s high-profile auto cases, including litigation
jessicat@hbsslaw.com                 against General Motors for faulty ignition switches that are linked to more than 120 fatalities, and
                                     emissions-cheating cases brought against Mercedes, Fiat Chrysler and GM. She worked on the
YEARS OF EXPERIENCE                  Volkswagen CleanDiesel emissions lawsuits brought on behalf of consumers and of franchise dealers.
> 12
                                   RECENT SUCCESS

PRACTICE AREAS
                                   > Litigating and reaching favorable settlements in diesel emissions lawsuits against vehicle manufacturers
> Class Actions                      and suppliers
> Consumer Rights                  > Defeating multiple motions to dismiss in diesel emissions lawsuits on RICO and Clean Air Act
> Emissions Litigation               preemption grounds
> Employment Litigation
                                   > Litigating and reaching favorable settlements in discrimination matter against an insurance company
BAR ADMISSIONS                     EXPERIENCE
> District of Columbia
> Maryland                         > Crowell & Moring LLP, Washington, D.C., Associate, 2011 - 2014
> Washington                       > Cadwalader, Wickersham & Taft LLP, Washington, D.C., Associate, 2011

EDUCATION                          > Howrey LLP, Washington, D.C., Litigation Associate, 2010 - 2011
> University of Baltimore School   > Howrey LLP, Washington, D.C., Summer Associate, 2009
   of Law, Baltimore, Maryland,
   J.D. magna cum laude, 2010      > Montgomery County State’s Attorney’s Office, Rockville, MD, Student Attorney, 2010
   - Honors: Class Rank 21/333;    ACTIVITIES
     G.P.A. 3.68
   - Honors: Highest Grade in      > Webinar: “Garden Leaves and Other Strategies to Protect Trade Secrets When Losing Employees,”
     the Class Award, Evidence       Crowell & Moring, March 28, 2013 - Present
   - Law Review: Staff Editor,
                                   > Workshop: “Don’t Sign that Yet!,” Crowell & Moring, Washington, D.C., March 5, 2013 - Present
     University of Baltimore Law
     Review                        PUBLICATIONS
> University of Baltimore,
  Baltimore, Maryland, B.A. cum    > “The ITC Can Play a Critical Role in Combating International Trade Secret Theft,” Intellectual Property
  laude, 2005                        Today, Jan. 20, 2012
   - Major: Community Studies
     and Civic Engagement
                                   > Client Alerts & Newsletters:

                                    - “Consensus Grows as Congress Continues to Refine Its Efforts to Create a Federal Civil Cause of




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                                                                  ENS BERMAN SOBOL SHAPIRO                                     LLP




                      PARTNER

                      Jessica Thompson
                          Action For Certain Trade Secret Theft,” Regulatory Alert (May 12, 2014)

                        - “Federal Trade Secret Reform Continues With Two New Attempts to Improve Protection,” Regulatory
                          Alert (July 22, 2013)

                        - “Supreme Court Rejects Attempt by Class Action Plaintiff to Plead Around Federal Court Jurisdiction,”
                          (Mar. 22, 2013)


                      PRO BONO
                      > Through Seattle’s Sexual Violence Law Center, Jessica sought civil protection orders for survivors of
                        sexual assault, domestic violence, stalking and harassment. She also worked to protect the privacy
                        rights of survivors in criminal cases.


                      PERSONAL INSIGHT
                      Jessica comes from a working-class Baltimore family. Though she has dutifully relearned the
                      pronunciation of words like water (not “wooder”) and wash (not “warsh”), she continues to inquire
                      about “dem O’s” and refuses to participate in the singing of “Shout” at the seventh-inning stretch. It’s an
                      abomination.




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                                                                         ENS BERMAN SOBOL SHAPIRO                                              LLP




                                    PARTNER

                                    Mark Vazquez
                                    Mark currently focuses his practice on drug pricing, consumer fraud and
                                    environmental litigation.



CONTACT                             CURRENT ROLE
455 N. Cityfront Plaza Drive
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Suite 2410
Chicago, IL 60611                   > Member of the Hagens Berman team representing a proposed class of insulin consumers in their claims
                                      against Eli Lilly, Novo Nordisk and Sanofi for unfairly and unconscionably increasing the cost of live-
(708) 628-4962 office                 saving insulin medications. The firm has been named lead counsel in this case, and the plaintiffs have
(708) 628-4950 fax                    moved for class certification.
markv@hbsslaw.com
                                    > Member of the Hagens Berman team litigating claims against Takeda and Par on behalf of a proposed
YEARS OF EXPERIENCE
                                      class of direct purchasers of Amitiza and its generic equivalents regarding a patent infringement
>9                                    settlement, through which Takeda is alleged to have paid Par to delay the launch of its generic Amitiza
                                      product, resulting in hundreds of millions in overcharges to the proposed class.
PRACTICE AREAS
                                    > Member of the firm’s team representing a certified class of millions of Puerto Rican residents against
> Class Action
                                      Puerto Rico Electric Power Authority (PREPA), employees of PREPA’s Fuel Oil Office, the world’s
                                      largest fuel oil suppliers – including Brazilian state-owned Petrobras and Shell Trading (US) Company
BAR ADMISSIONS
> Illinois
                                      – and Puerto Rico-based fuel oil laboratories for perpetuating an extensive fuel oil fraud, resulting in
                                      users of electricity in Puerto Rico being overcharged by more than $1 billion dollars. In 2018, the court
CLERKSHIPS                            certified the class action, arguably the largest in Puerto Rico’s history.
> Hon. John Z. Lee, Northern        > Member of the Hagens Berman team representing the residents of Sycamore, Illinois in a lawsuit
  District of Illinois                against their city for negligently maintaining the town’s water infrastructure, which created a public
> Hon. Jesse G. Reyes, Illinois       nuisance.
  Appellate Court, First District
                                    EXPERIENCE
EDUCATION
> DePaul University College of      > Prior to joining Hagens Berman, Mark clerked for Judge John Z. Lee in the Northern District of Illinois,
  Law, J.D., summa cum laude,         and Justice Jesse G. Reyes of the Illinois Appellate Court.
  2012
  Editor, DePaul Law Review         > During law school, Mark served as an editor for the DePaul Law Review, graduated from the top of
> University of Chicago, B.A.,        his class, and earned the CALI Excellence for the Future Award in all five of his legal writing and trial
  2006                                advocacy courses.

                                    PUBLICATIONS

                                    > People v. Kladis and the Illinois Courts’ Treatment of Evidence Spoliation by Law Enforcement, Illinois
                                      State Bar Association Criminal Justice Newsletter, Vol. 56, No. 1 (August 2012)

                                    PERSONAL INSIGHT
                                    An avid musician, Mark has been playing bass and guitar for various rock, blues, jazz and country acts
                                    throughout his life. As a teen, he frequented the chambers of the late Judge Blanche M. Manning to
                                    participate in her famed jazz jam sessions. Decades later, he continues to blend his legal and musical
                                    pursuits in support of bar association events in Chicago.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                           LLP




                                   PARTNER

                                   Andrew M. Volk

                                   Worked extensively on consumer claims against Expedia resulting
                                   in the largest summary judgment award in Washington state history



CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000
                                   > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                  > Practice focuses on multi-state and nationwide consumer litigation, including diesel emissions and
                                     automobile defect claims.
(206) 268-9371 office
(206) 623-0594 fax
                                   EXPERIENCE
andrew@hbsslaw.com                 > Headed up litigation against Expedia on behalf of a nationwide class of consumers who purchased hotel
                                     reservations and paid excessive “taxes and fees” charges. That case resulted in summary judgment in
YEARS OF EXPERIENCE                  plaintiffs’ favor and an eventual settlement for cash and credits totaling $134 million.
> 30
                                   > Extensively involved in ERISA cases for breach of fiduciary duties, including cases leading to
PRACTICE AREAS
                                     settlements of claims on behalf of employees of Enron, Washington Mutual Bank, General Motors, the
> Patent Litigation                  Montana Power Company and Sterling Savings Bank.
> Intellectual Property            > Worked extensively on hotel tax collection cases against the major online travel companies (OTCs). The
> ERISA Litigation                   firm achieved settlements on behalf of Brevard County, Florida, the village of Rosemont, Illinois, and
> Hotel Tax Litigation
                                     Denver, Colorado.

BAR ADMISSIONS
                                   > Extensively involved in the State Attorneys General tobacco litigation in the late 1990s.
> New York                         > Legal Writing and Research, University of Oregon School of Law, Instructor
> Oregon
> Washington
                                   > Attorney, Legal Aid Society, New York City
                                   NOTABLE CASES
EDUCATION
                                   > Mercedes Emissions ($763 million settlement)
> Cornell Law School, J.D.,
  cum laude, Articles Editor for   > Expedia Litigation ($134 million settlement)
  Cornell International Law
                                   > Tobacco Litigation on behalf of States (resolved in $260 billion settlement)
  Review, 1991
> Columbia University, B.A.,       > Enron ERISA Litigation ($265 million settlement)
  English, 1986
                                   > Washington Mutual Bank ERISA Litigation ($49 million settlement)
                                   > General Motors ERISA Litigation ($37.5 million settlement)




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                                                                       ENS BERMAN SOBOL SHAPIRO                                            LLP




                                    PARTNER

                                    Garth Wojtanowicz

                                    Named a “Rising Star” by Super Lawyers Magazine in 2006, 2007, 2010



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Practice focuses on consumer protection cases

(206) 268-9326 office
                                    > Currently working on cases against Fresenius Medical Care, N.A. and DaVita, Inc., the first and second
(206) 623-0594 fax                    largest dialysis companies in the United States, relating to those companies’ use of GranuFlo.>
garthw@hbsslaw.com                    Also working on a nationwide class action against medical waste disposal company Stericycle, Inc.,
                                      challenging that company’s pricing practices which resulted in hundreds of millions of dollars in over-
YEARS OF EXPERIENCE                   charges to doctors’ offices, dentist offices, hospitals and similar businesses
> 21
                                    RECOGNITION

PRACTICE AREAS                      > “Rising Star” by Super Lawyers Magazine in 2006, 2007 and 2010
> Consumer Protection               EXPERIENCE
> Securities Litigation
> Unfair Competition                > Member, Cornerstone Law Group, PLLC
                                    > Associate, Danielson Harrigan Leyh & Tollefson, LLP
BAR ADMISSIONS
> Washington                        > Assistant City Attorney, Seattle City Attorney’s Office, Civil Division
> California                        NOTABLE CASES

EDUCATION                           > Toyota Sudden, Unintended Acceleration (SUA) class-action lawsuit on behalf of Toyota owners and
> University of Washington            lessees, which resulted in an historic settlement recovery valued at $1.6 billion
  School of Law, J.D., 2000
                                    PERSONAL INSIGHT
> University of Washington, B.A.,
                                    Mr. Wojtanowicz volunteers his time as a non-profit director for Girls Giving Back and the Blossoming Hill
  English, 1997
                                    Montessori School and has worked as a volunteer attorney for the Northwest Immigrant Rights Project.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                              LLP




                                      SENIOR COUNSEL

                                      Kevin K. Green
                                      Mr. Green is a career appellate lawyer. He has argued in multiple federal circuits, 10
                                      different states and seven state supreme courts. He also works on critical motions and
                                      issues likely to go on appeal.



CONTACT                               CURRENT ROLE
533 F Street
Suite 207
                                      > Senior Counsel, Hagens Berman Sobol Shapiro LLP
San Diego, CA 92101                   > Concentrates on appeals as well as consumer rights, securities and employment litigation

(619) 929-3340 office
                                      > Certified Appellate Specialist, State Bar of California Board of Legal Specialization (since 2006)
keving@hbsslaw.com                    LEGAL ACTIVITIES
                                      > Appellate Advisory Committee, Judicial Council of California (since 2013)
YEARS OF EXPERIENCE
> 26                                  > Co-Chair, CAOC Amicus Curiae Committee (since 2011)
PRACTICE AREAS                        > California Lawyers Association, Committee on Appellate Courts (since 2019)
> Appellate
                                      > Magistrate Judge Merit Selection Panel, Southern District of California (2013-17)
> Consumer Rights
> Securities                          > Working Group, Access to Appellate Justice Program, San Diego County Bar Association (launched
> Investor Fraud                        2019)
> Employment Litigation
                                      > Working Group, San Diego Appellate Inn of Court (launched 2016)
BAR ADMISSIONS
> California                          > Working Group, Civil Appellate Self-Help Workshop (launched 2014)

COURT ADMISSIONS                      > California Lawyers Association, Committee on Administration of Justice (2016-19) (during State Bar
> U.S. Supreme Court                    transition)
> United States Courts of             > Chair, Appellate Court Committee, San Diego County Bar Association (2010)
  Appeals for the Second,
  Third, Seventh, Eighth, Ninth,      > State Bar of California, Committee on Appellate Courts (2006-09)
  Tenth, Federal and District of      RECOGNITION
  Columbia Circuits
> U.S. District Courts for the        > Top 100 California Appellate Lawyers, American Society of Legal Advocates (since 2015)
  Northern, Central, Eastern and      > Super Lawyer (since 2008)
  Southern Districts of California
                                      > Legal Aid Society of San Diego, Outstanding Service Award (2015)
CLERKSHIPS
> Supreme Court of Indiana            > Consumer Attorneys of California, Presidential Award of Merit (2013 & 2016)
  (Hon. Theodore R. Boehm,            NOTABLE DECISIONS
  Associate Justice)
> U.S. District Court for the         > Colbert v. Rio Tinto PLC, 824 F. App’x 5 (2d Cir. 2020) (vacating dismissal of securities fraud
  Southern District of California       complaint)
  (Hon. Barry T. Moskowitz,           > Mayall v. USA Water Polo, 909 F.3d 1055 (9th Cir. 2018) (viable claims alleged concerning duty to
  Chief Judge 2012-19)
                                        implement concussion and return-to-play protocols)
EDUCATION
                                      > Hernandez v. Restoration Hardware, 4 Cal. 5th 260 (2018) (agreeing with CAOC as amicus curiae that
> Notre Dame Law School, J.D., 1995
                                        unnamed class members must intervene for standing to appeal)
> University of California,
  Berkeley, B.A., with honors
  and distinction, 1989



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                                                                  ENS BERMAN SOBOL SHAPIRO                                       LLP




                      SENIOR COUNSEL

                      Kevin K. Green
                      > Friedman v. AARP, Inc., 855 F.3d 1047 (9th Cir. 2017) (UCL claim stated that AARP unlawfully
                        transacted insurance without license)
                      > George v. Urban Settlement Serv., 833 F.3d 1242 (10th Cir. 2016) (reinstating RICO class complaint
                        against Bank of America)
                      > Duran v. U.S. Bank, 59 Cal. 4th 1 (2014) (CAOC amicus curiae addressing representative evidence in
                        class actions)
                      > Wong v. Accretive Health, 773 F.3d 859 (7th Cir. 2014) (upholding $14 million securities settlement)
                      > Harris v. Superior Court, 207 Cal. App. 4th 1225 (2012) ($65 million resolution for employee class after
                        reversal)
                      > Lynch v. Rawls, 429 F. App’x 641 (9th Cir. 2011) ($15 million derivative settlement after first Ninth Circuit
                        reversal on presuit demand requirement)
                      > Kwikset Corp. v. Superior Court, 51 Cal. 4th 310 (2011) (rejecting stringent interpretation of UCL
                        standing prerequisites)
                      > Luther v. Countrywide Fin. Corp., 195 Cal. App. 4th 789 (2011) (Securities Act class actions permitted in
                        state court, leading to $500 million settlement)
                      > In re F5 Networks, Inc. Derivative Litig., 207 P.3d 433 (Wash. 2009) (Washington follows demand futility
                        standard, not universal demand rule)
                      > Troyk v. Farmers Group, 171 Cal. App. 4th 1305 (2009) (auto insurance policy violated disclosure statute;
                        settled on appeal for $100 million monetary relief)
                      > Smith v. Am. Family Mut. Ins. Co., 289 S.W.3d 675 (Mo. Ct. App. 2009) (reinstating $17 million jury
                        verdict for plaintiff class)
                      > Alaska Elec. Pension Fund v. Brown, 941 A.2d 1011 (Del. 2007) (en banc) (intervening shareholders who
                        show corporate benefit may seek attorney fees)
                      > Ritt v. Billy Blanks Enters., 870 N.E.2d 212 (Ohio Ct. App. 2007) (reversing on class certification, leading
                        to $40 million settlement)
                      > McKell v. Washington Mutual, 142 Cal. App. 4th 1457 (2006) (reversing and holding federal lending
                        regulations did not foreclose UCL claims)
                      > Lebrilla v. Farmers Group, 119 Cal. App. 4th 1070 (2004) (reversing and ordering certification of
                        California class; settled at trial for substantial class-wide relief)
                      > Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496 (2003) (seminal precedent on California’s
                        reasonable consumer standard)
                      PUBLICATIONS
                      > Amicus Curiae Update, Forum (regular column for CAOC’s periodical) (since 2012)
                      > Distinguishing Mayor McCheese from Hexadecimal Assembly Code for Madden Football: The Need to
                        Correct the 9th Circuit’s ‘Nutty’ Rule barring Expert Testimony in Software Copyright Cases (Oct. 2017)
                        (with David Nimmer and Peter S. Menell) (available at SSRN)
                      > Forfeiture at the Pleading Stage: Ask Permission First, Don’t Apologize Later, California Litigation (Vol.
                        28, No. 1, 2015) (with Rupa G. Singh) (Journal of State Bar Litigation Section)
                      > Closing the Appellate Justice Gap, Los Angeles Daily Journal (Feb. 10, 2015)



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                      SENIOR COUNSEL

                      Kevin K. Green
                      > Appellate Review in California Class Actions, California Litigation (Vol. 24, No. 2, 2011) (Journal of State
                        Bar Litigation Section)
                      > A Tool for Mischief: Preemptive Defense Motions Under BCBG Overtime Cases to Reject Class
                        Certification, Forum (Vol. 39, No. 1, Jan./Feb. 2009) (with Kimberly A. Kralowec)
                      > The Unfair Competition Law After Proposition 64: The California Supreme Court Speaks, Competition
                        (Vol. 15, No. 2, Fall/Winter 2006) (Journal of State Bar Antitrust & Unfair Competition Law Section)
                      PRESENTATIONS
                      > Judicial Council CJER Webinar (Expanding Access to Justice in Appellate Courts, June 2020)
                      > Bridgeport Class Action Conference (Appellate Review of Issues in Class Actions, Jan. 2020)
                      > CAOC Webinar (Evidence at Class Certification: The Evolving Appellate Landscape, June 2019)
                      > San Diego County Bar Association (New Mandatory Disclosures Before Mediation, Jan. 2019)
                      > Bridgeport Class Action Conference (Expert Evidence at Class Certification, Jan. 2019)
                      > California Lawyers Association Webinar (New Mandatory Disclosures Before Mediation, Dec. 2018)
                      > Bridgeport Class Action Conference (Consumer Protection Cases Predicated on Omissions, Jan. 2018)
                      > State Bar Webinar (Material Omission Claims Under California’s UCL, FAL and CLRA, Sept. 2017)
                      > Bridgeport Consumer Litigation Conference (Material Omissions, Jan. 2017)
                      > CAOC Webinar (Ninth Circuit Practice: Everything but the Brief, Nov. 2016)
                      > Bridgeport Class Action Litigation Conference (Objectors, Sept. 2016)
                      > CAOC Annual Convention (Class Action Update, Nov. 2014)
                      > San Diego County Bar Association (Moderator, Pleasing the Court: Making Your Oral Argument Count,
                        Oct. 2014)
                      > State Bar of California Annual Meeting (Forfeiture: A Four-Letter Word in the Court of Appeal, Sept.
                        2014)
                      > Consumer Attorneys of San Diego, Class Action Symposium (Appellate Perspective on Class Actions,
                        May 2014)
                      > State Bar of California Golden State Institute (California Supreme Court Panel, Oct. 2012)
                      > State Bar of California Annual Meeting (Moderator, Preparing an Appellate Record, Sept. 2009)
                      > CAOC Annual Convention (Employment Litigation Panel, Nov. 2008)
                      PERSONAL INSIGHT
                      Concerned a legal career meant taking life too seriously, Kevin spent several years after college blending
                      work and travel. He taught English in Switzerland, toiled as a luggage porter in Australia and scaled a live
                      volcano in Guatemala. He ran with the bulls at Pamplona before easing into a monastic life of appellate
                      practice.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                LLP




                                    SENIOR COUNSEL

                                    David P. Moody

                                    Mr. Moody has successfully secured many multimillion-dollar recoveries on
                                    behalf of vulnerable citizens who have been abused, neglected or exploited.



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000
                                    > Senor Counsel, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > A trial attorney with a passion for representing children, the disabled, elderly and incapacitated citizens

(206) 268-9323 office
                                    NOTABLE CASES
(206) 623-0594 fax                  > Mr. Moody has secured many multimillion-dollar recoveries on behalf of vulnerable citizens who have
davidm@hbsslaw.com                    been abused, neglected or exploited, including:

YEARS OF EXPERIENCE                 - Largest jury verdict ever upheld against the State of Washington, DSHS ($17.8 million)
> 28                                - Largest single-plaintiff settlement against the State of Washington, DSHS ($8.8 million)
                                    - Largest recovery on behalf of three foster children ($7.3 million)
PRACTICE AREAS
> Personal Injury Litigation        - Largest single-plaintiff settlement on behalf of a child in Snohomish County, Washington ($5 million)
> Civil Rights
                                    - Largest judgment on behalf of an incapacitated child in Spokane County, Washington ($4 million)
INDUSTRY EXPERIENCE                 - Judgment for a disabled woman in Santa Clara County, California ($4 million)
> Children, Elderly and
                                    - Largest judgment ever obtained against Eastern State Hospital ($3 million)
  Incapacitated Citizens who are
  Victims of Neglect or Abuse       - Largest judgment ever obtained against the State of Washington, Child Study and Treatment Center ($3
                                      million)
BAR ADMISSIONS                      - Judgment for a boy neglected and abused in Snohomish County, Washington ($2.85 million)
> Washington
                                    - Judgment for a girl neglected and abused in Pierce County, Washington ($2.85 million)
COURT ADMISSIONS                    - Settlement on behalf of brain-injured infant abused in day care setting ($2.84 million)
> U.S. Supreme Court
                                    - Largest single-plaintiff jury verdict on behalf of an incapacitated adult in Kitsap County, Washington
> U.S. Court of Appeals, Ninth
                                      ($2.6 million)
  Circuit
                                    - Judgment in the amount of $2.5 million for a client abused at Eastern State Hospital
EDUCATION
                                    - Largest single-plaintiff settlement on behalf of a developmentally disabled male in eastern Washington
> George Washington University
  School of Law, J.D., 1993           ($2.25 million)
> University of Washington, B.A.,   - Several additional settlements in excess of $1 million
  1990
                                    PERSONAL INSIGHT
                                    David is proud to be a native Washingtonian and enjoys strong ties to the eastern side of the state.
                                    David’s grandfather Jack Edward Moody was born and raised in Dayton, Washington, and David’s great-
                                    grandfather Edward Maple Moody was the Sheriff of Columbia County, Washington. David’s maternal
                                    grandmother, Eva Armstrong, was one of the first female graduates of Whitman College in Walla Walla,
                                    Washington.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                  LLP




                                 OF COUNSEL

                                 Karl Barth
                                 Key member on firm’s securities fraud cases against companies such as
                                 Boeing, Einstein Noah Bagel Corp., Pepsi Puerto Rico Bottling Co., PriceCostco,
                                 Templeton Vietnam Opportunities Fund and Wall Data.


CONTACT                          CURRENT ROLE
1301 Second Avenue
Suite 2000
                                 > Of Counsel, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                > Previously with the firm from 1994 through 2004 before he rejoined in 2010

(206) 623-7292 office
                                 > Key member on firm’s securities fraud cases against companies such as Boeing, Einstein
(206) 623-0594 fax                 Noah Bagel Corp., Identix, Midcom Communications, MidiSoft, Oppenheimer Delta
karlb@hbsslaw.com                  Partners, Pepsi Puerto Rico Bottling Co., PriceCostco, Templeton Vietnam Opportunities
                                   Fund and Wall Data
YEARS OF EXPERIENCE
                                 > Represents investors seeking to protect assets and recover investment losses from
> 26
                                   companies engaged in securities and accounting wrongdoing

PRACTICE AREAS
                                 EXPERIENCE
> Securities Litigation          > Certified Public Accountant
> Investor Rights
                                 > Certified Fraud Examiner

BAR ADMISSIONS                   > Certified in Financial Forensics
> Washington                     > Consultant at a national financial consulting firm specializing in expert witness testimony
                                   on accounting and financial issues
EDUCATION
> Georgetown University Law      > Graduated from Georgetown University Law Center, and from the University of Virginia
  Center, J.D.                     with a B.S. in Accounting
> University of Virginia, B.S.
  Accounting, Certified Public
  Accountant




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                                                                      ENS BERMAN SOBOL SHAPIRO                                                  LLP




                                    OF COUNSEL

                                    Mark S. Carlson

                                    Mr. Carlson is an active member of the legal community frequently making
                                    presentations to legal forums and industry groups on intellectual property law.



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000
                                    > Of Counsel, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Working in intellectual property since 1987, handling a full range of intellectual property litigation focused
                                      primarily on patent infringement disputes
(206) 268-9346 office
(206) 623-0594 fax                  > Currently representing FlatWorld Interactives in patent infringement litigation against Apple, Samsung
markc@hbsslaw.com                     and LG involving touch screen gesture recognition technology in the iOS and Android operating
                                      systems, Thought Inc. against Oracle involving software application data persistence technology, and
YEARS OF EXPERIENCE                   the University of Utah in patent infringement litigation regarding RNA interference therapies for genetic
> 34                                  diseases
                                    > Active member of the legal community making presentations in legal forums and industry groups on
PRACTICE AREAS
                                      intellectual property law
> Patent Infringement
> Trademark and Trade Dress         > Active participant in the Seattle Intellectual Property Inn of Court and Washington State Patent Law
  Infringement                        Association
> Trade Secret Misappropriation
                                    RECENT CASES
> Complex Litigation
                                    > Twice litigated against AT&T on wireless handset, network and telematics patents
BAR ADMISSIONS                      > Twice litigated on behalf of The Nautilus Group in patent, trademark, false advertising and unfair
> Washington                          competition cases involving the BowFlex exercise machine and other exercise equipment
> U.S. District Court, Western
  District of Washington            > Represented the owner of tradedress rights to the Stanley Classic vacuum bottle in trade dress litigation
> U.S. Court of Appeals, Federal      against Thermos
  Circuit
                                    > Represented a software patent licensor in litigation against Microsoft over the scope of a license for
> Numerous other jurisdictions
                                      relational database technology
  pro hac vice
                                    EXPERIENCE
EDUCATION
                                    > Dorsey & Whitney, Patent Litigation Group
> University of Puget Sound
  School of Law, J.D., cum          > Bogle & Gates, Intellectual Property Litigation Group
  laude, 1987
                                    PUBLICATIONS/PRESENTATIONS
> University of Washington, B.A.,
  History, 1984                     > “The European Privacy Directive for Personal Data,” American Electronics Association Newsline for the
                                      Washington State Council
                                    > “Recovery of Pure Economic Loss in Product Liability Actions: An Economic Comparison of Three Legal
                                      Rules,” University of Puget Sound Law Review
                                    > “Patent Litigation and the Non-Practicing Entity,“ ITRI IP Executives Conference, University of
                                      Washington Foster School of Business, 2012
                                    > “Vernor v. Autodesk, the Future, or Demise, of the First Sale and Essential Step Defenses in Copyright,”




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                                                                  ENS BERMAN SOBOL SHAPIRO                                LLP




                      OF COUNSEL

                      Mark S. Carlson
                        Seattle Intellectual Property Inn of Court, 2011
                      > “What Are My Odds? A Disciplined Approach to Assessing Case Value and Litigation Risk,” Seattle
                        Intellectual Property Inn of Court, 2010
                      > “Medimmune v. Genentech: Consequences for Patent Licenses, Litigation and Settlements,” 2009
                      > “E-Discovery and the New Federal Rules,” 2008
                      > “Recent Developments in Pharmaceutical Patents,” 2008
                      LEGAL ACTIVITIES
                      > Seattle Intellectual Property Inn of Court
                      > Washington State Patent Law Association
                      > American Intellectual Property Law Association


                      NOTABLE CASES
                      > Thought v. Oracle
                      > FlatWorld v. Apple; v. Samsung; v. LG
                      > University of Utah v. Max Planck Institute, et al.
                      > Airbiquity v. AT&T, et al.
                      > Timeline v. Microsoft; v. Oracle; v. Sagent
                      > The Nautilus Group v. Icon Health and Fitness




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                                                                       ENS BERMAN SOBOL SHAPIRO                                               LLP




                                    OF COUNSEL

                                    Jeannie Evans

                                    Successfully litigates multimillion- and multibillion-dollar antitrust
                                    and other complex fraud cases.


CONTACT                             CURRENT ROLE
455 N. Cityfront Plaza Drive
Suite 2410
                                    > Of Counsel, Hagens Berman Sobol Shapiro LLP
Chicago, IL 60611                   > Jeannie is a trial lawyer specializing in high-stakes, complex litigation and taking on the nation’s most
                                      powerful corporations in lawsuits challenging anticompetitive activity, fraud and other wrongful conduct.
(708) 628-4966 office
(708) 628-4950 fax                  > She has extensive experience and facility working with experts in economics and accounting regarding
jeannie@hbsslaw.com                   financial fraud and damages issues. She has obtained sizable settlements for plaintiffs, as well as
                                      meaningful policy changes and other injunctive relief benefiting her clients into the future.
YEARS OF EXPERIENCE
                                    > Her areas of practice include:
> 25
                                      - Antitrust Litigation: Price fixing, monopolization, tying, unfair competition, collusion among competitors
PRACTICE AREAS                        to stifle competition and other restraints on free and fair markets
> Antitrust Litigation                - Deceptive Business Practices, Fraud and Consumer Rights
> Investor Fraud
> Securities                          - Securities Fraud and Financial Fraud: Shareholder derivative suits, insider trading, breach of fiduciary
                                      duty, breach of contract and violations of federal securities laws and SEC, CFTC, NFA and CEA rules
BAR ADMISSIONS                        and regulations
> Illinois
                                      - Whistleblower Investigations: Representation of anonymous whistleblowers with the SEC and CFTC
> California
                                      - Class-Action Litigation
CLERKSHIPS:
> Hon. Alex Kozinski, U.S. Court
                                    EXPERIENCE
  of Appeals for the Ninth
  Circuit, summer 1997. Hon.        > Prior to joining Hagens Berman, Jeannie gained significant litigation experience representing both
  Susan Illston, U.S. District        plaintiffs and defendants in various roles:
  Court for the Northern District
                                      - Co-founder and managing partner of Agrawal Evans LLP, a commercial litigation boutique firm based
  of California, summer 2003
                                      in Chicago. Achieved successful results representing both plaintiffs and defendants
EDUCATION                             - Trial attorney at Kirkland & Ellis LLP (Chicago). Defended antitrust and securities fraud class actions
> Harvard Law School, J.D. cum        on behalf of corporate clients
   laude, 1997
   Executive Editor, Harvard          - Trial attorney at Wilson Sonsini Goodrich & Rosati (Palo Alto). Defended securities fraud class actions
   Journal of Law and Public          on behalf of corporate clients
   Policy; Federalist Society;        - Law Clerk, U.S. Court of Appeals for the Ninth Circuit, Judge Alex Kozinski
   Asia Law Society
> Brigham Young University,           - Law Clerk, U.S. U.S. District Court for the Northern District of California, Judge Susan Illston
   B.A., Political Science,         PRO BONO
   summa cum laude, Ezra Taft
   Benson Scholar; University       > Jeannie engages in pro bono legal work on behalf of refugees and others in her community who lack
   Honors, 1994                       access to legal services.
   Editor-in-Chief, Journal
   of International and Area
   Studies

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                                                                  ENS BERMAN SOBOL SHAPIRO                                      LLP




                      OF COUNSEL

                      Jeannie Evans
                      RECOGNITION
                      > President, Board Member, Harvard Law Society of Illinois, 2016 – present
                      > Chicago Chapter Chair, Board Member, J. Reuben Clark Law Society, 2016 – present
                      > BYU Law School Board of Advisors, 2017 – 2020
                      > Illinois Super Lawyer, 2017 – 2018
                      > Best Lawyers, Women of Influence Nominee


                      NOTABLE CASES
                      > In re Broiler Chicken Antitrust Litigation, No. 16-CV-08637 (N.D. Ill.) Assisted Hagens Berman team
                         prosecuting class action against the largest U.S. producers of chicken, for conspiracy to reduce the
                         supply and increase the price of chicken. The firm has achieved $181 million in recovery to date.
                      > Fiat Chrysler (FCA) Franchise Dealerships Litigation (Napleton’s Arlington Heights, et al. v. FCA), No.
                        1:16-cv-00403 (N.D. Ill.) Lead attorney prosecuting claims on behalf of seven auto dealerships against
                        Fiat Chrysler for fraudulent and anticompetitive sales practices. Ms. Evans helped clients achieve a
                        favorable settlement.
                      > Hotel Room Overpricing, No. 1:18-cv-01959 (N.D. Ill.) Jeannie is on the team prosecuting class action
                        against the five largest U.S. hotel chains for rigging the market for online advertising of hotel rooms.
                      > Real-Estate Commissions Antitrust Litigation (Moehrl et al v. National Association of Realtors et al), No.
                        1:19-cv-01610 (N.D. Ill). Jeannie works with the Hagens Berman team and their co-counsel to prosecute
                        this class action against the largest US real estate brokerage firms and the National Association of
                        Realtors for colluding to perpetuate rules that operate to reduce competition and artificially inflate the
                        price of commissions paid to real estate agents.
                      > City of Sycamore Water Contamination Litigation (Jennifer Campbell, et al. v. City of Sycamore), No.
                        3:22−cv−50101 (N.D. Ill.) In this matter, she is on the team prosecuting claims by residents against their
                        city for creating a water crisis through decades of failure to replace or maintain the city’s deteriorating
                        water infrastructure, leaving many residents without consistent access to clean and safe water.
                      Containerboard Antitrust Litigation (Kleen Products LLC et al. v. Internat’l Paper Co. et al.) Jeannie
                        defended containerboard producer in this multibillion-dollar horizontal price-fixing case.
                      Department of Justice (DOJ) Antitrust Investigation: She represented a corporate client in a DOJ
                        investigation regarding a potential merger.
                      Securities Fraud Class Action: Jeannie defended a company and its officers and directors in claims
                        arising out of a financial restatement, obtaining a favorable settlement.
                      Shareholder Derivative Litigation: She obtained pre-discovery dismissal with prejudice for defendant
                        General Motors in this shareholder derivative suit seeking to unwind GM’s $3 billion acquisition.
                      Breach of Fiduciary Duty and Breach of Contract: Ms. Evans represented global alternative asset
                        management firm, hedge fund, owner of asset management firm and foreign investor in claim against
                        Chicago-based hedge fund manager for violations of federal securities laws and SEC, CFTC, NFA and
                        CEA rules and regulations, and for failure to pay out my investor clients at the fund’s reported NAV. She
                        achieved successful recovery for clients.
                      Trade Secret / Non-Compete / Misappropriation of Corporate Opportunity Litigation: Jeannie represented
                        a private equity company and portfolio hospital company in a $300 million dispute.


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                                                                  ENS BERMAN SOBOL SHAPIRO                                      LLP




                      OF COUNSEL

                      Jeannie Evans
                      PRESENTATIONS
                      > “Basics of Accounting for Lawyers 2015,” Practicing Law Institute
                      > “Basics of Accounting for Lawyers 2014,” Practicing Law Institute
                      > “Preparing the Expert Witness for Deposition 2013,” Pincus Professional Education
                      LANGUAGES
                      > Cantonese
                      > Mandarin
                      > Spanish
                      PERSONAL INSIGHT
                      Jeannie loves sports and the outdoors. In particular, she enjoys body surfing, hiking, swimming in Lake
                      Michigan, running along Chicago’s Lakefront Trail, and playing tennis with friends and family.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                   LLP




                                    OF COUNSEL

                                    Rachel E. Fitzpatrick
                                    Ms. Fitzpatrick was a member of the trial team responsible for a $5.25
                                    million dollar jury verdict on behalf of an Ohio plaintiff who was badly
                                    burned while trying to rescue her paraplegic son.


CONTACT                             CURRENT ROLE
11 West Jefferson St.
Suite 1000
                                    > Of Counsel, Hagens Berman Sobol Shapiro LLP
Phoenix, AZ 85003                   > Practice focuses on complex civil litigation and nationwide class actions, including consumer fraud and
                                      mass tort
(602) 224-2636 office
(602) 840-3012 fax                  > Ms. Fitzpatrick is a member of the firm’s Auto Group, working on behalf of consumers in class actions
rachelf@hbsslaw.com                   against auto manufacturers involving vehicle defects. Her current auto cases involve dangerous defects
                                      that result in vehicle or engine fires in certain Hyundai, Kia, and Ford vehicles
YEARS OF EXPERIENCE
> 10
                                    RECENT SUCCESS
PRACTICE AREAS                      > Ms. Fitzpatrick worked on behalf of Hyundai and Kia vehicles owners to secure a nationwide class
> Complex Civil Litigation            settlement in litigation where Plaintiffs alleged a defect in nearly 4 million class vehicles equipped with
> Consumer Fraud                      Theta II GDI engines posed a risk of catastrophic engine failure and fire. The settlement secured various
> Mass Tort                           categories of reimbursement and compensation for costly engine repairs and engine fires, as well
                                      as a lifetime transferable warranty against the engine defect. The Court granted final approval of the
BAR ADMISSIONS
                                      settlement in May 2021.
> Arizona
                                    > Ms. Fitzpatrick was among the team litigating against General Motors for concealing from consumers
EDUCATION                             the notorious and deadly ignition switch defect, as well as other defects, across 12 million GM vehicles.
> Arizona State University, B.S.,     After years of complicated and protracted litigation, the case settled for $120 million, and the Court
  magna cum laude, 2007               granted final approval of the settlement in December 2020.
> Arizona State University
  Sandra Day O’Connor College       > Ms. Fitzpatrick worked on behalf of student-athlete plaintiffs in the highly publicized cases Keller v.
  of Law, J.D., 2011                  Electronic Arts and In re NCAA Student-Athlete Name and Likeness Licensing Litigation. The cases
                                      alleged that video game manufacturer Electronic Arts, the National Collegiate Athletic Association, and
                                      the Collegiate Licensing Company violated state right of publicity laws and the NCAA’s contractual
                                      agreements with student-athletes by using the names, images, and likenesses of the student athletes in
                                      EA’s NCAA-themed football and basketball video games.
                                    > In March 2012, Ms. Fitzpatrick was a member of the trial team responsible for a $5.25 million dollar jury
                                      verdict on behalf of an Ohio plaintiff who was badly burned while trying to rescue her paraplegic son
                                      from his burning home. The verdict is believed to be the largest in Columbiana County, Ohio history.


                                    NOTABLE CASES

                                    > In re: Kia Engine Litigation (“Engine I”), U.S. District Court, CD Cal, Case No. 8:17-cv-00838-JLS-JDE

                                    > In re: Hyundai and Kia Engine Litigation II (“Engine II”), U.S. District Court, CD Cal, Case No. 8:18-cv-
                                      02223-JLS




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                                                                  ENS BERMAN SOBOL SHAPIRO                                  LLP




                      OF COUNSEL

                      Rachel E. Fitzpatrick
                      > In re: General Motors LLC Ignition Switch Litigation, U.S. District Court, SD NY, Case No. 14-MD-2543
                        (JMF)

                      > Keller v. Electronic Arts Inc., U.S. Court of Appeals, Ninth Circuit, Case No. 10-15387

                      > In Re NCAA Student-Athlete Name and Likeness Licensing Litigation, U.S. District Court, ND Cal., Case
                        No. 3:09-CV-01967-CW

                      > Antonick v. Electronic Arts, Inc., U.S. District Court, ND Cal., Case No. 3:11-CV-01543-CRB


                      PERSONAL INSIGHT
                      Ms. Fitzpatrick spent three years as a professional NFL cheerleader for the Arizona Cardinals and traveled
                      with the squad to Iraq, Kuwait, and the United Arab Emirates to perform for troops stationed overseas.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                             LLP




                                   OF COUNSEL

                                   Laura Hayes

                                   Ms. Hayes is involved in class-action lawsuits against pharmaceutical
                                   companies and is committed to the vigorous prosecution of antitrust cases.



CONTACT                            CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                   > Of Counsel, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109                   RECENT CASES

(617) 475-1977 office
                                   > In re Intuniv Antitrust
(617) 482-3003 fax                 > In re Effexor Antitrust
lhayes@hbsslaw.com
                                   > In re Loestrin 24 Fe Antitrust Litigation
YEARS OF EXPERIENCE                > In re Celebrex (Celecoxib) Antitrust Litigation
> 15
                                   EXPERIENCE

PRACTICE AREAS                     > Member of the team responsible for $94 million settlement on behalf of direct purchaser class in In re
> Antitrust Litigation               Celebrex (Celecoxib) Antitrust Litigation, 2:13-cv-361, E.D. Va., ECF Nos. 64, 455, and the $120 million
> Pharmaceutical Fraud               settlement (motion for preliminary approval pending) in In re Loestrin 24 Fe Antitrust Litigation, 1:13-
                                     md-02472, D.R.I., ECF Nos. 10, 1050.
CLERKSHIPS
> Connecticut Judicial Branch
                                   > Prior to joining Hagens Berman, Laura was an associate at Gargiulo Rudnick LLP, where she litigated
> Appellate Division of the          Medicaid and Medicare fraud cases. She also has years of work experience doing contract work on a
  Rhode Island Office of the         variety of complex litigations.
  Public Defender                  > Following law school, Laura was a clerk for the Connecticut Judicial Branch. In that role, she addressed
                                     novel pre-emption and spoliation of evidence questions.
BAR ADMISSIONS
> Supreme Judicial Court           > She is a graduate of Boston University School of Law, where she acted as articles editor for the Journal
  of the Commonwealth of             of Science and Technology Law.
  Massachusetts
                                   > She received her Bachelor of Science degree from Boston University with a concentration in journalism.
COURT ADMISSIONS                   PERSONAL INSIGHT
> U.S. District Court for the      Laura spends her free time in fall and winter managing and training sprint sled dogs and getting them and
  District of Massachusetts        her husband to races in the Northeast, Quebec and sometimes Europe. She runs the B team in four-dog
                                   sled classes. Laura also serves on the board of the United States Federation of Sled Dog Sports.
EDUCATION
> Boston University School of
  Law, J.D., 2007
> Middlebury College School of
  Arabic
> Boston University, B.S., magna
  cum laude




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                                                                       ENS BERMAN SOBOL SHAPIRO                                       LLP




                              OF COUNSEL

                              John D. Jenkins

                              John has extensive experience in the government and private sector as
                              a trial attorney and manager of complex investigations and prosecutions.



CONTACT                       CURRENT ROLE
(714) 222-2333 office
johnj@hbsslaw.com             > Of Counsel, Hagens Berman Sobol Shapiro LLP
                              > John Jenkins has considerable experience as a trial lawyer, corporate advisor, president of an
PRACTICE AREAS
                                internationally recognized investigative and security firm and expert in complex investigations and
> Investor Fraud
                                prosecutions.​
> Securities
                              EXPERIENCE
EDUCATION
> University of Southern      > Former Deputy District Attorney in Orange County, California
  California, B.A. and J.D.
                              > Prior to joining Hagens Berman, Mr. Jenkins was a lawyer at Hill, Wynne, Troop & Meisinger. He
                                also has more than 20 years of experience managing domestic and international investigations. He
                                was previously the president of CoreFacts, before and after the sale of CoreFacts as the investigative
                                consulting platform to what became CoreLogic, Inc. (NYSE: CLGX), a leading global risk mitigation and
                                business solutions provider. Prior to CoreFacts, he was an executive at two leading global investigative
                                consulting firms.

                              ACTIVITIES
                              > Member, Board of Governors at the University of Southern California
                              > Member, Board of Directors of Lear Capital

                              PERSONAL INSIGHT
                              In his spare time, John enjoys fishing with his son and watching his twin daughters compete as saber
                              fencers.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                 LLP




                                      OF COUNSEL

                                      Robert A. Jigarjian

                                      Rob brings a combination of securities industry and complex litigation
                                      experience to the firm and its clients.



CONTACT                               CURRENT ROLE
715 Hearst Ave.
Suite 300
                                      > Of counsel, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710                    > Practice primarily focuses on identifying and developing securities and derivative actions
                                      EXPERIENCE
(510) 725-3000 office
(510) 725-3001 fax                    > Prior to joining Hagens Berman, he worked as a partner at law firms practicing primarily in securities
robertj@hbsslaw.com                     and derivative litigation. Rob also owned his own firm within the same practice areas.

YEARS OF EXPERIENCE
                                      > While in law school, Rob interned with the United States Securities and Exchange Commission and
> 28                                    worked for two prominent securities class action firms.
                                      > Before attending law school, Rob worked for several years as an institutional sales trader for a boutique
PRACTICE ARES                           Wall Street investment bank where he specialized in analyzing and trading bank-issued securities with
> Investor Fraud
                                        the firm’s institutional investor clients.
> Securities
                                      LEGAL ACTIVITIES
BAR ADMISSIONS                        > Rob served as a voluntary discovery referee for the California Superior Court for the county of Marin to
> California
                                        help minimize judicial resources during discovery disputes.
COURT ADMISSIONS                      NOTABLE CASES
> All California District and State   > Matters on which Rob has worked and helped investors, corporations and a bankruptcy trustee to obtain
Courts,
                                        significant recoveries include the following:
> U.S. Court of Appeals, Ninth
Circuit,                              		        In re Equitec Rollup Litigation, No. C-90-2064 (N.D. Cal.)
> U.S. Court of Appeals, Second                 In re Prison Realty Securities Litigation, No. 3:99-0452 (M.D. Tenn.
Circuit                                         In re Digex, Inc. Shareholders Litigation, C.A. No. 18336 (Del. Ch.)
                                                Isco v. Kraemer, No. CV 95-08941 (Super. Ct., Maricopa Co., Ariz.
EDUCATION                                       Saito v. McKesson HBOC, Inc., No. 376, 2001 (Del.)
> Hamilton College, AB, 1981                    Saito v. McCall (Del. Ch.) Scheonfeld, et al. v. XO Communications, Inc., No. 01-018358 (N.Y.
> Tulane University, MBA, 1985
                                                Sup. Ct., Nassau County)
> Golden Gate University, JD,
                                                In re Salomon Analyst Litigation (S.D.N.Y.) Hermerding v. Tripathi, et al., Adv. No. 09-5004
  1993
                                                (Bankr. N.D. Cal.)


                                      PERSONAL INSIGHT
                                      A Maine native and recent Seattle transplant, Ted is working hard to master the intricacies of composting
                                      and to remember that the ocean lies to the west now, not the east.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                               LLP




                                    OF COUNSEL

                                    Michella A. Kras

                                    State Bar of Arizona President’s Volunteer Service Award, 2010



CONTACT                             CURRENT ROLE
11 West Jefferson St.
Suite 1000
                                    > Of Counsel, Hagens Berman Sobol Shapiro LLP
Phoenix, AZ 85003                   > Practice focuses on class actions and complex litigation

(602) 224-2627 office
                                    > Extensive expertise in complex litigation in a variety of commercial contexts, including actions involving
(602) 840-3012 fax                    various contractual breaches, RICO violations, securities fraud, negligent and intentional torts, and
michellak@hbsslaw.com                 federal and state employment law
                                    RECOGNITION
YEARS OF EXPERIENCE
> 18                                > State Bar of Arizona President’s Volunteer Service Award, 2010
                                    > Rising Star, Southwest Super Lawyers, 2014
PRACTICE AREAS
                                    EXPERIENCE
> Commercial Litigation
> Complex Civil Litigation          > Member of the commercial and securities litigation group in the Phoenix office of an international law
                                      firm where she worked on complex litigation matters involving private securities offerings, private
BAR ADMISSIONS                        lending, asset purchase agreements, shareholder and member disputes, and federal and state wage and
> Arizona                             hour disputes
> U.S. District Court for the
                                    > Associate, Steptoe & Johnson LLP, 2007-2013
  District of Arizona
                                    > Associate, Gammage & Burnham, work included civil litigation, employment law, election law, health
EDUCATION                             care law and estate planning, 2004-2007
> Arizona State University
                                    > Judicial Law Clerk, Arizona Supreme Court, work consisted of a variety of appeals, including civil cases,
  College of Law, J.D., magna
  cum laude, 2003
                                      criminal actions and attorney discipline, 2003-2004
> Arizona State University, B.A.,   LEGAL ACTIVITIES
  1997
                                    > Consistent commitment to pro bono work. She’s worked on several pro bono matters, including
                                      obtaining Special Juvenile Immigrant Status for a teenager that was brought to the United States as a
                                      toddler and later abandoned by her parent
                                    > Volunteer and member of the steering committee for Wills for Heroes, an organization that provides free
                                      estate planning for Arizona’s first responders
                                    NOTABLE CASES
                                    > Successfully litigated and obtained summary judgment on multiple matters involving breach of contract,
                                      conversion, intentional interference and breach of fiduciary duty, even successfully piercing the
                                      corporate veil




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                                                                       ENS BERMAN SOBOL SHAPIRO                                               LLP




                                  OF COUNSEL

                                  James J. Nicklaus
                                  During his legal career, Mr. Nicklaus has represented clients in antitrust,
                                  securities fraud, product liability and patent litigation.



CONTACT                           CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                  > Of Counsel, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109                  > Practice focuses on pharmaceutical antitrust litigation and investigations of potential violations of
                                    antitrust law by pharmaceutical companies
(617) 475-1973 office
(617) 482-3003 fax
                                  EXPERIENCE
jamesn@hbsslaw.com                > Prior to joining Hagens Berman, Mr. Nicklaus worked for other firms in the Boston area, including
                                    representing clients in insurance coverage, product liability and lender liability litigation at Michienzie
BAR ADMISSIONS                      & Sawin LLC and representing clients in insurance coverage, patent, product liability, antitrust and
> Massachusetts
                                    securities fraud litigation at Willcox, Pirozzolo & McCarthy, P.C. Mr. Nicklaus began his legal career as
                                    an associate and junior partner at Hale and Dorr LLP (now WilmerHale).
COURT ADMISSIONS
> U.S. District Court for the
  District of Massachusetts

EDUCATION
> Harvard Law School, J.D.,
  magna cum laude, 1993
  Harvard Legal Aid Bureau,
  Student Representative
  on Committee on Clinical
  Education
> Harvard College, B.A.,
  East Asian Languages and
  Civilizations, cum laude, Phi
  Beta Kappa, 1990




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                LLP




                                    OF COUNSEL

                                    Hannah Schwarzdchild
                                    Hannah has litigated cases involving employee and consumer rights, and
                                    now focuses on antitrust claims in the pharmaceutical industry.



CONTACT                              CURRENT ROLE
1 Faneuil Hall Sq.
                                      > Of Counsel, Hagens Berman Sobol Shapiro LLP
5th Floor
Boston, MA 02109                      > Practice focuses on consumer and antitrust litigation
                                      > Involved in multi-district antitrust litigation involving brand pharmaceutical products, including Zetia,
(617) 475-1966 office                Niaspan and Suboxone, among others.
(617) 482-3003 fax
hannahs@hbsslaw.com                  EXPERIENCE
                                      > Prior to joining Hagens Berman, Ms. Schwarzschild coordinated large-scale litigation projects in
YEARS OF EXPERIENCE
                                     Boston and Philadelphia. Over the past 25 years, she has litigated employment and consumer rights
> 33
                                     cases in federal and state courts and administrative agencies, including jury and bench trials and
                                     appeals.
BAR ADMISSIONS
> State of California (inactive)
                                     PUBLICATIONS
> State of Pennsylvania
                                      > Same-Sex Marriage and Constitutional Privacy, Berkeley Women’s Law Journal, 1989.
PRACTICE AREAS
> Antitrust Litigation
                                     PERSONAL INSIGHT
> Consumer Rights                   Hannah grew up in and around New York City. Before law school, she helped build a community arts
                                    facility in San Francisco’s Mission District in the 1980s and worked on nuclear arms control at the
COURT ADMISSIONS                    Ploughshares Fund. Hannah has been working for LGBT rights and Middle East peace and justice for
> U.S. District Court for the       more than 20 years. These days, her best times are spent noodling around Cambridge and Cape Cod with
  Northern District of California   her partner and stepdaughter in search of interesting food, art, wildlife and humans.
> Ninth Circuit Court of Appeals
> U.S. District Court for
  the Eastern District of
  Pennsylvania
> Third Circuit Court of Appeals

EDUCATION
> University of California,
  Berkeley, Boalt Hall School of
  Law, J.D., 1989
  AmJur Award, 1988; Best
  Brief Award, Moot Court
  Competition, 1987
> University of California,
  Berkeley, A.B., History, Phi
  Beta Kappa, 1986




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                                                                       ENS BERMAN SOBOL SHAPIRO                                             LLP




                                    OF COUNSEL

                                    Benjamin J. Siegel
                                    Mr. Siegel is an experienced litigator with a focus on antitrust law who has
                                    represented clients in state and federal courts, on appeals, as well as before
                                    arbitrators and governmental agencies, and has achieved significant settlements.


CONTACT                             CURRENT ROLE
715 Hearst Ave.
Suite 300                           > Of Counsel, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710                  RECENT CASES
(510) 725-3033 office               > In re Optical Disk Drive Prods. Antitrust Litigation, No. 3:10-md-2143-RS (N.D. Cal.)
(510) 725-3001 fax
                                    > In re NCAA Grant-In-Aid Antitrust Litigation, 4:14-md-02541-CW (N.D. Cal.)
bens@hbsslaw.com
                                    > In re Resistors Antitrust Litigation, 5:15-cv-03820-JD (N.D. Cal.)
YEARS OF EXPERIENCE
> 14                                EXPERIENCE
                                    > Following his work at Boies, Schiller & Flexner LLP in 2008-2009, Mr. Siegel has litigated cases on
PRACTICE AREAS
                                      behalf of plaintiffs for the past seven years.
> Antitrust Litigation
                                    LEGAL ACTIVITIES
BAR ADMISSIONS
> California                        > Alameda County Bar Association
                                    RECOGNITION
COURT ADMISSIONS
> U.S. District Court for the       > Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust
  Northern District of California
                                      Institute, 2021 Rising Stars
> U.S. District Court for the
  Eastern District of California    > Super Lawyers, 2018
> U.S. Court of Appeals
> Ninth Circuit                     PUBLICATIONS

CLERKSHIPS                          > Benjamin Siegel, Constitutional Rights and the Counter-Majoritarian Dilemma (May 15, 2007)
> Hon. Thomas M. Reavley, U.S.        (unpublished Master’s thesis, University of Texas at Austin).
  Court of Appeals for the Fifth
  Circuit                           > Benjamin Siegel, Note, Applying a “Maturity Factor” Without Compromising the Goals of the Class Action,
                                      85 Texas L. Rev. 741 (2007) (Texas Law Review Best Litigation Note, Volume 85).
EDUCATION
                                    > Benjamin Siegel et al., Beyond the Numbers: Improving Postsecondary Success through a Central Texas
> The University of Texas School
  of Law, The University of           High School Data Center, LBJ School of Public Affairs, Policy Research Report No. 148 (2005).
  Texas LBJ School of Public        > Benjamin Siegel, California Must Protect Health Care for Medi-Cal Children, 15 Youth L. News 1 (2004),
  Affairs, J.D., M.P.A., Order of
  the Coif, High Honors, 2007
                                      available at http://www.youthlaw.org.
> Articles Editor, Texas Law        > Jenny Brodsky, Jack Habib & Benjamin Siegel, Lessons for Long-Term Care Policy, World Health
  Review; Texas Law Review
                                      Organization, Publication No: WHO/NMH7CCL/02.1 (2002).
  Best Litigation Note, Volume
  85; Texas Law Public Interest     > Jenny Brodsky, Jack Habib, Miriam Hirschfeld & Benjamin Siegel, Care of the Frail Elderly in Developed
  Fellowship; LBJ Foundation          and Developing Countries: the Experience and the Challenges, 14 Aging Clinical & Experimental
  Award, First in Class
                                      Research 279 (2002).
> Yale University, B.A. Political
  Science, cum laude, Phi Beta      PERSONAL INSIGHT
  Kappa, 2000
                                    When not working to enforce the nation’s antitrust laws, Mr. Siegel enjoys spending time with his wife
                                    and two young children in his hometown of Oakland, California. He also likes playing softball and pick-up
                                    basketball with his friends.
www.hbsslaw.com                                                                                                                             136
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                                                                       ENS BERMAN SOBOL SHAPIRO                                               LLP




                                    OF COUNSEL

                                    Shelby R. Smith

                                    Shelby has dedicated her career to serving vulnerable victims of violent crimes.



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000
                                    > Of Counsel, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Prosecutes personal injury cases and class action cases on behalf of consumers

(206) 268-9370 office
                                    > Currently represents student-athletes in personal injury litigation pertaining to concussions/traumatic
(206) 623-0594 fax                    brain injuries suffered during sporting activities
shelby@hbsslaw.com                  > Currently represents victims who have suffered severe personal injuries due to their mothers ingesting
                                      thalidomide during pregnancy in the late 1950’s and early 1960’s without knowing that the drug had not
YEARS OF EXPERIENCE
                                      been approved by the FDA
> 20
                                    > She continues to represent victims of domestic violence and sexual assault to obtain protection orders
PRACTICE AREAS                        so that their abusers cannot have any contact with them
> Personal Injury Litigation        > Also represents crime victims who wish to keep their counseling records private during criminal
> Sports Concussions                  Proceedings
> Social Work Negligence
> Nursing Home/Adult Family
  Home Negligence                   NOTABLE CASES
> Daycare/School Negligence
> Civil Rights                      > Volkswagen Emissions Defect Litigation
> Privacy Rights                    > Mercedes BlueTEC Emissions Litigation
> Consumer Protection
                                    > GM Ignition Switch Recall
BAR ADMISSIONS                      > Corvette Overheating
> Washington
                                    > Harvey Weinstein Sexual Harassment RICO
COURT ADMISSIONS                    > USC and Dr. George Tyndall Sexual Abuse
> U.S. District Court, Western
  District of Washington
> U.S. District Court, Eastern      EXPERIENCE
  District of Michigan
                                    > Litigation associate, Williams Kastner, where she planned and executed a civil caseload involving
EDUCATION                             defense of physicians, hospitals, dentists and other healthcare providers. While at Williams Kastner,
> Seattle University, J.D.,           Ms. Smith developed successful litigation strategies, handled case discoveries, secured depositions,
  Member, Public Interest Law         managed trial preparation, drafted and argued legal motions, and conducted voir dire and jury trials.
  Society, 2000
                                    > Prior to working at Hagens Berman, Ms. Smith worked for 10 years at the King County Prosecuting
> University of Washington, B.A.,
  cum laude, Sociology, 1996          Attorney’s Office, working on cases in a diverse set of areas, including the sexual assault, violent
                                      crime, district court, domestic violence, felony filing and special drug units. During her 10 years as a
                                      prosecutor, Ms. Smith tried over 100 felony jury trials. She spent five years in the Domestic Violence
                                      Unit and Special Assault Unit where she handled hundreds of cases involving physical and sexual
                                      abuse of children and adults.




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                                                                  ENS BERMAN SOBOL SHAPIRO                                  LLP




                      OF COUNSEL

                      Shelby R. Smith
                      LEGAL ACTIVITIES
                      > Consistent commitment to pro bono work and services for victims of domestic violence and sexual
                        assault


                      PRO BONO
                      > Through Seattle’s Sexual Violence Law Center, Shelby sought civil protection orders for survivors of
                        sexual assault, domestic violence, stalking and harassment. She also worked to protect the privacy
                        rights of survivors in criminal cases.


                      PERSONAL INSIGHT
                      Shelby Smith was born and raised in Seattle, and graduated from Garfield High School—which also
                      boasts Quincy Jones and Jimi Hendrix as alums. She has a passion for live music and fashion, and has
                      never met a sport she did not enjoy competing in: while raising three children and practicing law, Shelby
                      plays on competitive indoor and outdoor soccer teams, and runs at least one marathon and two half-
                      marathons every year.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                               LLP




                                      OF COUNSEL

                                      Nathaniel A. Tarnor

                                      Mr. Tarnor has litigated a wide variety of legal matters and takes pride in
                                      pursuing justice on behalf of his clients for as long as it takes to win.



CONTACT                               CURRENT ROLE
555 Fifth Avenue
Suite 1700
                                      > Of Counsel, Hagens Berman Sobol Shapiro LLP
New York, NY 10017                    > Represents American terrorism victims against Chiquita Brands International for violations of U.S. anti-
                                        terrorism laws in Columbia
212-752-5455 office
212-210-3980 fax                      > Practice concentrates on complex federal litigation
nathant@hbsslaw.com
                                      EXPERIENCE
YEARS OF EXPERIENCE
> 18                                  > Milberg LLP, New York, NY, 2009-2016
                                      > Practice areas include antitrust, class actions, consumer protection, contractual disputes, securities and
BAR ADMISSIONS                          whistleblower representation in conjunction with the U.S. Department of Justice and the U.S. Securities
> State of Illinois
                                        & Exchange Commission
> State of New York
> District of Columbia                > Pro Bono: Represented families of American terrorism and torture victims before the U.S. Supreme
                                        Court and Second Circuit.
PRACTICE AREAS
                                      > Previously provided legal assistance to human rights victims from around the world in conjunction with
> Antitrust Litigation
                                        other prominent law firms.
> Anti-Terrorism
> Consumer Rights
> Investor Fraud                      RECOGNITION
> Whistleblower Litigation
                                      > Chicago-Kent International Law Moot Court Honor Society, 2002-2004
COURT ADMISSIONS                      > Captain, Chicago-Kent International Law Moot Court Team, 2002-2004
> U.S. Supreme Court
                                      > Highest Oralist Score 2003 Philip C. Jessup International Law Moot Court Regional Competition
> U.S. Courts of Appeals for the
  2nd, 7th and 11th Circuits, and       Chicago-Kent Moot Court Team
  for the District of Columbia        > CALI Award Commercial Payment Systems Law
> U.S. District Court for the
  District of Columbia
> U.S. District Courts for the        PERSONAL INSIGHT
  Northern & Central Districts        Nathaniel enjoys competing in endurance sports and hiking with his family.
  of Illinois
> U.S. District Court for the
  Eastern, Northern and
  Southern Districts of New
  York

EDUCATION
> Chicago-Kent College of Law,
  J.D., CALI Award, 2004
> University of Illinois, B.A., Phi
  Beta Kappa, summa cum laude,
  Milton Ravoke Award, 2000
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                                                                       ENS BERMAN SOBOL SHAPIRO                                           LLP




                                 ASSOCIATE

                                 Tory Beardsley
                                 Ms. Beardsley has experience in prosecuting a variety of cases, including
                                 wrongful death, medical malpractice, negligence, fraud, consumer protection,
                                 data breach and bad faith insurance cases.


CONTACT                          CURRENT ROLE
11 West Jefferson St.
Suite 1000
                                 > Associate, Hagens Berman Sobol Shapiro LLP
Phoenix, AZ 85003                > Ms. Beardsley has experience prosecuting wrongful death, medical malpractice, negligence, negligence
                                   per se, intentional and negligent infliction of emotional distress, unjust enrichment, fraud, consumer
(602) 224-2642 office              protection, data breach and bad faith insurance cases.
(602) 840-3012 fax
toryb@hbsslaw.com
                                 RECENT CASES
YEARS OF EXPERIENCE              > Member of the trial team representing the families of three patients who died after receiving dialysis at
>7
                                   DaVita clinics. The case culminated with a $383.5 million jury verdict.
PRACTICE AREAS                   > Ms. Beardsley has also aided in prosecuting data breach cases litigated by the firm in Arizona.
> Consumer Rights
                                 RECENT SUCCESS
INDUSTRY EXPERIENCE
> Consumer Fraud                 > In June 2018, Ms. Beardsley was on the trial team where a Denver jury awarded a monumental $383.5
> Medical Negligence               million jury verdict against GranuFlo dialysis provider, DaVita Inc. culminating lawsuits brought by
                                   families of three patients who suffered cardiac arrests and died after receiving dialysis treatments at
BAR ADMISSIONS                     DaVita clinics. Each of the three parties was awarded $125 million in punitive damages from the jury,
> Arizona                          with compensatory damages ranging from $1.5 million to $5 million.

COURT ADMISSIONS
                                 EXPERIENCE
> U.S. District Court for the
  District of Arizona            > Prior to beginning her litigation career at Hagens Berman, Ms. Beardsley specialized in land use and
> U.S. District Court for the      development with other firms in the Phoenix area, working closely with the local municipalities and
  District of Colorado             politicians to gain approval on proposed developments and ensure developments compliance with city
                                   code and zoning ordinance.
EDUCATION
> Arizona State University
  Sandra Day O’Connor College    ACTIVITIES
  of Law, J.D.                   > Chair - Herberger Young Leadership Board; Member
> University of Arizona, B.A.,
  Journalism & English
  Literature                     PERSONAL INSIGHT
                                 When she’s not dedicating her time to the law, Tory enjoys staying active in a variety of ways. You can find
                                 her swimming, hiking, trail running or on her road bike. Tory is also active at Phoenix’s Herberger Theater
                                 Center as chair of the Young Leadership Board, an auxiliary board tasked with fundraising and cultivating
                                 the next generation of theater patrons.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                LLP




                                     ASSOCIATE

                                     Allison Berk
                                     Allison is an advocate for those who are underrepresented and believes in using
                                     the legal system to address inequity.



CONTACT                              CURRENT ROLE
715 Hearst Ave.
Suite 300
                                     > Associate, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710
                                     EXPERIENCE
(510) 725-3000 office                > Prior to joining Hagens Berman, Allison completed her legal studies while working as a law intern
(510) 725-3001 fax                     with the San Francisco city attorney’s office on the health and human services team as well as with
allyb@hbsslaw.com                      the California Department of Justice. During law school, she co-founded a public health law student
                                       organization.
PRACTICE ARES                        > She also served as a judicial extern for the California Court of Appeal for the First District in San
> Antitrust                            Francisco where she researched and prepared draft memoranda for the Honorable Justice Jon B.
                                       Streeter.
BAR ADMISSIONS                       > Before law school, Allison worked for Sonoma County’s department of health services, implementing
> California                           public health programs involving mental health services and community violence prevention.

EDUCATION                            PRO BONO
> University of California,
  Berkeley, School of Law, J.D.,
                                     > Allison led Berkeley Law School’s Survivor Advocacy Project, a pro bono initiative to prevent and
  2022                                 combat sexual harassment and violence.
> University of California, Davis,
  B.A., 2015                         LANGUAGES
                                     > Spanish

                                     PERSONAL INSIGHT
                                     As a Bay Area native, Allison enjoys spending free time exploring California’s natural beauty. She can
                                     often be found hiking along the coast or under the redwoods.




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                                                                       ENS BERMAN SOBOL SHAPIRO                                              LLP




                                    ASSOCIATE

                                    Jacob Berman

                                    Whether in his legal practice or volunteer work, Jake dedicates his time to
                                    helping those who need it most.



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101
                                    EXPERIENCE
(206) 268-8382 office
(206) 623-0594 fax
                                    > Prior to joining Hagens Berman, Jake worked on personal injury matters at Robinson Calcagnie Inc.
jakeb@hbsslaw.com                     where he represented plaintiffs in numerous catastrophic injury cases and managed all aspects of
                                      the case from client onboarding to settlement. Jake conducted and defended depositions in personal
YEARS OF EXPERIENCE                   injury cases and mass torts and planned and implemented a strategy to retain stronger personal injury
>3                                    cases for the firm. He also drafted complaints, discovery motions, pre-trial motions and assisted in trial
                                      preparation.
PRACTICE AREAS
                                    > Previously, he worked as a law clerk for the Los Angeles District Attorney, Victim Impact and Juvenile
> Class Actions
> Mass Torts                          Unit where he conducted juvenile adjudication hearings, including direct and cross examination,
> Personal Injury Litigation          presenting evidence, and arguing motions to dismiss and suppress. He also conducted felony
                                      preliminary hearings, including direct and cross examination, and presenting evidence.
INDUSTRY EXPERIENCE
                                    > Jake was also a summer associate at prominent plaintiffs firms where he drafted arguments for
> Personal injury
                                      opposition to motion for summary judgement in a consumer auto-defect class-action case, reviewed
> Mass Tort
                                      exhibits and organized deposition questions to depose opposing counsel’s defense experts and
> Class-action Law
                                      composed jury instructions in an auto-defect class-action case and product defect class-action
BAR ADMISSIONS                        case. Jake also has experience writing research memoranda on topics such as appeals bonds, class
> California                          certification and summary judgment.

COURT ADMISSIONS
> U.S. District Court for the
                                    RECOGNITION
  Northern District of California   > Published OCTLA Magazine, Volunteer Outreach in Communities Everywhere, Most Valuable Worker
                                      Award (2008),
EDUCATION
> Loyola Law School, J.D., May
  2018, Hobbs/Poehls District
                                    PERSONAL INSIGHT
  Attorney Practicum, Consumer      Jake Berman was born and raised in the Seattle area. He has a passion for coaching sports and being
  Law Society, Member (Fall         active in the outdoors. As a former collegiate cyclist, Jake is constantly competing in new sports or
  2014–2018)                        exploring a new trail run.

> University of Denver, Denver,
  CO, B.A., Political Science,
  June 2013




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                                   ASSOCIATE

                                   James M. Chong
                                   Mr. Chong has experience in litigating a variety of cases including wrongful
                                   death, medical malpractice, negligence, fraud, consumer protection,
                                   intellectual property and bad faith insurance cases.


CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101
                                   EXPERIENCE
(206) 623-7292 office              > After law school, Mr. Chong worked at prominent defense firms in Arizona and Washington where he
(206) 623-0594 fax                   litigated cases related to wrongful death, intellectual property, commercial disputes, legal-malpractice,
jamesc@hbsslaw.com                   medical-malpractice, premises liability and automobile accidents.

YEARS OF EXPERIENCE                > Prior to law school, Mr. Chong worked at an intellectual property law firm in Seoul, South Korea, where
>6                                   he edited patent specifications in the areas of mechanical, electrical and chemical engineering. Mr.
                                     Chong returned to the same firm as a summer associate after his first year of law school.
PRACTICE AREAS
> Personal Injury                  LANGUAGES
                                   > Korean (conversational)
BAR ADMISSIONS
> Arizona                          PERSONAL INSIGHT
> Washington                       Mr. Chong enjoys spending time with his wife and twin boys, traveling abroad and cooking.

COURT ADMISSIONS
> U.S. District Court for the
  District of Arizona
> Ninth Circuit Court of Appeals
> U.S. District Court for the
  Eastern District of Washington
> U.S. District Court for
  the Western District of
  Washington

EDUCATION
> Sandra Day O’Connor
  College of Law, Arizona State
  University, J.D., 2016
> University of California, Los
  Angeles, B.A., 2008




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                                                                      ENS BERMAN SOBOL SHAPIRO                                             LLP




                                   ASSOCIATE

                                   Rachel Downey

                                   Ms. Downey is committed to preventing fraud and abuse in the
                                   pharmaceutical industry to ensure access to affordable prescription drugs.



CONTACT                            CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                   > Staff Attorney, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109                   > Rachel’s practice focuses on pharmaceutical antitrust class-action litigation.

(617) 482-3700 office
                                   > She is a core member of the team litigating In re Zetia (Ezetimibe) Antitrust Litigation, MDL No. 2836
(617) 482-3003 fax                   (E.D. Va.), a federal antitrust lawsuit against Merck and Glenmark alleging the two unlawfully agreed to
racheld@hbsslaw.com                  delay access to generic ezetimibe for years, resulting in billions in overcharges to purchasers.
                                   > Ms. Downey has also been instrumental in preparing settlement-related filings for and administering
PRACTICE AREAS
                                     large class-action settlements. Most recently, she was part of the team securing a $483.85M settlement
> Antitrust Litigation
                                     on behalf of the direct purchaser class in In re Glumetza Antitrust Litigation.
> Class Action
> Consumer Rights                  RECENT CASES
> Pharmaceutical Fraud
                                   > In re Zetia (Ezetimibe) Antitrust Litigation
BAR ADMISSIONS                     > Staley v. Gilead Sciences, Inc. (Gilead)
> Massachusetts
                                   > Government Employees Health Association v. Actelion Pharmaceuticals, Ltd. (Tracleer)
COURT ADMISSIONS                   > In re Glumetza Antitrust Litigation
> U.S. District Court for the
                                   PRO BONO
  District of Massachusetts
> First Circuit Court of Appeals   > Volunteer Lawyers Project of the Boston Bar Association (VLP)
                                   LEGAL ACTIVITIES
EDUCATION
> Boston University School of      > Member, American Association for Justice
  Law, J.D.
                                   PERSONAL INSIGHT
> Boston University, B.A.
                                   For a month during her college years, Rachel lived in the Amazon.




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                                                                      ENS BERMAN SOBOL SHAPIRO                                           LLP




                                  ASSOCIATE

                                  Joseph M. Kingerski
                                  Joey is committed to challenging corporate wrongdoing and ensuring that
                                  plaintiffs have greater economic security.



CONTACT                           CURRENT ROLE
1301 Second Avenue
Suite 2000
                                  > Associate, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                 EXPERIENCE
                                  > Prior to joining Hagens Berman, Joey attended U.C. Berkeley where he earned a certificate in Law and
(206) 623-7292 office
(206) 623-0594 fax
                                    Technology and served as a technical editor for the Berkeley Technology Law Journal.
joeyk@hbsslaw.com                 > Mr. Kingerski also worked as a summer associate at a firm where he supported its antitrust, intellectual
                                    property, and privacy litigation practices.
BAR ADMISSIONS
> Washington (pending)            > During law school, he worked as a veteran law clerk in the Washington State Attorney General’s office
                                    where he researched and wrote policy memoranda on behalf of veterans throughout the state.
EDUCATION                         > Prior to law school, Joey served as a nuclear electronics technician on a submarine in the U.S. Navy.
> University of California,
                                    He also worked as a mechanic on the Tacoma Link light rail system.
  Berkeley School of Law, J.D.,
  2022, Order of the Barristers   LANGUAGES
                                  > Russian (intermediate)
> Clemson University, B.S.,
  Political Science, magna cum    PERSONAL INSIGHT
  laude, 2012                     Joey is from Sugar Land, Texas but is now happy to call Seattle home. Outside of work, he enjoys trying
                                  new restaurants, live music, and skiing at Snoqualmie Pass.




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                                    ASSOCIATE

                                    Raffi Melanson
                                    As a former government trial attorney, Raffi focuses his legal practice on
                                    zealously challenging fraudulent and deceptive business practices of corporate
                                    entities and other bad actors through strategic class-action litigation.


CONTACT                             CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109
                                    EXPERIENCE
(617) 475-3700 office
                                    > Prior to joining Hagens Berman, Raffi worked as a law clerk in the District of New Hampshire, drafting
(617) 482-3003 fax
raffim@hbsslaw.com
                                      judicial orders for judges in complex cases and assisting them with the resolution of novel litigation and
                                      trial issues. In this role, he became intimately familiar with how judges work and how courts operate.
PRACTICE AREAS                      > Before clerking, Raffi worked on large price-fixing, market domination and deceptive advertising
> Antitrust Litigation                litigation at a top 100 law firm while maintaining an active criminal defense and immigration pro bono
> Investor Fraud
                                      docket.
> Securities
                                    > After graduating from law school, Raffi served as an assistant attorney general for the District of
BAR ADMISSIONS                        Columbia, where he investigated and civilly prosecuted corporations engaged in sophisticated financial
> Massachusetts                       fraud perpetrated against DC residents.
> New York
> District of Columbia
                                    PUBLIC SERVICE
COURT ADMISSIONS                    > Volunteer, Northern New England Chapter of the Cystic Fibrosis Foundation
> Fourth Circuit Court of
  Appeals
                                    PERSONAL INSIGHT
CLERKSHIPS                          Raffi grew up near Cape Cod and has since preferred to live near the coast of a large body of water.
> Magistrate Judge Andrea           Outside of work, he enjoys biking around the city, hiking, listening to comedy and political podcasts, and
  K. Johnstone, U.S. District
                                    competing in amateur boxing. During the winter, Raffi shifts to activities best done indoors, such as board
  Court for the District of New
  Hampshire, 2021                   games and cooking, but will occasionally venture outside to go snowboarding, if it’s not too cold.
> Hon. Joseph N. Laplante,
  U.S. District Court for the
  District of New Hampshire,
  2019–2020

EDUCATION
> Georgetown University Law
  Center, J.D., 2013
> Boston University, B.A., cum
  laude, International Relations,
  Economics & Mathematics,
  2010




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                                                                     ENS BERMAN SOBOL SHAPIRO                                               LLP




                                 ASSOCIATE

                                 Lauren S. Miller
                                 Lauren is devoted to her clients through her work advocating for
                                 individuals harmed by dangerous pharmaceutical drugs and defective
                                 medical devices.


CONTACT                          CURRENT ROLE
1301 Second Avenue
Suite 2000
                                 > Associate, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                > Court-appointed member of Plaintiffs’ Steering Committee in In Re: Zantac (Ranitidine) Products
                                   Liability Litigation among 100 applicants; member of bellwether, deposition, discovery, and science and
(206) 623-7292 office              experts committees.
(206) 623-0594 fax
laurenm@hbsslaw.com              EXPERIENCE
                                 > Prior to joining Hagens Berman, Lauren was an associate at a well-respected plaintiffs’ firm
YEARS OF EXPERIENCE
                                   in Birmingham, Alabama where she focused on representing individuals harmed by defective
>9
                                   pharmaceutical drugs and medical devices. In addition to this work, Lauren also represented clients in
BAR ADMISSIONS
                                   consumer fraud and personal injury litigation and advocated on behalf of survivors of sexual assault.
> Alabama                        > She served on the discovery, expert, and Daubert committees for personal injury plaintiffs in In Re:
                                   Viagra (Sildenafil Citrate) and Cialis (Tadalafil) Products Liability Litigation.
COURT ADMISSIONS
> U.S. District Court for the    LEGAL ACTIVITIES
  Northern District of Alabama   > Birmingham Bar Association
> U.S. District Court for the
  Middle District of Alabama     > Alabama Association of Justice
> U.S. District Court for the    > American Association of Justice
  Southern District of Alabama
                                 RECOGNITION
PRACTICE AREAS                   > Ones to Watch, The Best Lawyers in America – 2021-2023
> Consumer Rights
> Mass Torts                     > Women to Watch, Birmingham Business Journal – 2020
> Personal Injury                > Top Women Attorneys, B-Metro Magazine – 2019, 2020
> Pharmaceutical Fraud
> Product Liability              > Mid-South Rising Star, Super Lawyers – 2019, 2020
                                 > Top 40 Under 40, The National Trial Lawyers – 2017-2019
INDUSTRY EXPERIENCE
> Pharmaceuticals                > Birmingham Top Attorney Rising Star, Birmingham Magazine – 2017
> Medical Devices                NOTABLE CASES

EDUCATION                        > In Re: Zantac (Ranitidine) Products Liability Litigation, U.S. District Court, S.D. Fla., Case No. 9:20-md-
> Cumberland School of Law,        02924
  J.D., 2012                     PERSONAL INSIGHT
> Middle Tennessee State
                                 Lauren was born in California, spent most of her childhood in Arkansas, and took a slight detour to
  University, B.S in Public
                                 Tennessee before coming to Alabama for law school. When she is not practicing law or spending time
  Relations, 2009
                                 with her two daughters, Lauren enjoys hiking, boxing and painting.




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                                                                         ENS BERMAN SOBOL SHAPIRO                                          LLP




                                   ASSOCIATE

                                   Chris O’Brien

                                   Chris became an attorney to fight injustice for those who have been harmed.
                                   He has experience in both trial and appellate litigation.



CONTACT                            CURRENT ROLE
1 Faneuil Hall Sq.
5th Floor
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Boston, MA 02109
                                   EXPERIENCE
(617) 482-3700 office              > Prior to joining Hagens Berman Chris was an associate at multiple Boston law firms where he managed
(617) 482-3003 fax                   discovery, document review, and drafted and filed motions in state and federal court. Most recently,
chrisob@hbsslaw.com                  he served as a judicial law clerk to the Honorable Mark V. Green, Chief Justice of the Massachusetts
                                     Appeals Court and the Honorable Andrew M. D’Angelo, Associate Justice of the Massachusetts Appeals
YEARS OF EXPERIENCE
                                     Court, where he gained experience in both civil and criminal appeals.
>4
                                   PRO BONO
PRACTICE AREAS
                                   > Chris has extensive pro bono experience representing employees in matters related to unemployment
> Class Action
                                     compensation. He served as vice president of the Employment Advocacy Project while in law school.
BAR ADMISSIONS                     > As a first-year associate, Chris was awarded the recognition of Pro Bono Star for his work with the
> Massachusetts                      Innocence Project of California and with undocumented immigrants in ICE custody.

COURT ADMISSIONS                   ACTIVITIES
> Supreme Judicial Court
                                   > Mr. O’Brien is passionate about access to legal services and is a board member of Nurses for Social
  of the Commonwealth of
  Massachusetts
                                     Justice, a non-profit organization dedicated to providing medical expert document review and analysis
                                     to public defenders and their clients.
CLERKSHIPS
                                   PERSONAL INSIGHT
> Honorable Mark V. Green,
  Chief Justice of the              Chris grew up in Amherst, MA where he developed an early love for baseball and acoustic music.
  Massachusetts Appeals Court,      After graduating from high school Chris became a professional singer and songwriter, and in 2007 he
  2021 – 2022                       performed live on Garrison Keillor’s radio show, A Prairie Home Companion, which caused his album
> Honorable Andrew M.               to jump to the fifth spot on iTunes in the singer/songwriter category. His music has been streamed on
  D’Angelo, Associate Justice       Spotify nearly 25 million times in more than 120 countries.
  of the Massachusetts Appeals
  Court, 2022

EDUCATION
> The University of Pennsylvania
  Carey Law School, J.D., 2018
> Harvard University, A.L.B.
  Extension Studies, 2015




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                                                                        ENS BERMAN SOBOL SHAPIRO                                           LLP




                                  ASSOCIATE

                                  Abigail D. Pershing

                                  Abigail is committed to advancing human and civil rights, both in the U.S.
                                  and abroad.



CONTACT                           CURRENT ROLE
301 North Lake Ave.
Suite 920
                                  > Associate, Hagens Berman Sobol Shapiro LLP
Pasadena, CA 91101                EXPERIENCE

(213) 330-7148 office
                                  > Prior to joining Hagens Berman, Abigail clerked at the European Court of Human Rights in Strasbourg,
(213) 330-7152 fax                  France and served as a fellow in the court’s Research Division.
abigailp@hbsslaw.com              > During law school, Abigail worked as a summer associate with Accountability Counsel, Blue Ocean Law,
                                    Médecins Sans Frontières and the Mississippi Center for Justice. She was a student director for the
BAR ADMISSIONS
                                    Lowenstein International Human Rights Clinic and for the HAVEN Medical-Legal Partnership. She was
> Connecticut
                                    also an editor for the Yale Law Journal.
> California
                                  > Before law school, Abigail served with the Peace Corps in Kolda, Senegal, as a health volunteer. Her
CLERKSHIPS                          primary focus was reducing malaria mortality rates.
> Judge Darian Pavli, European
                                  PUBLICATIONS
  Court of Human Rights, 2020
  – 2021                          > Zachary D. Liscow & Abigail D. Pershing, “Why Is So Much Redistribution In-Kind and Not in Cash?
> Judge Hellen Keller, European     Evidence from a Survey Experiment,” Nat’l Tax J., forthcoming
  Court of Human Rights, 2020
                                  > Hellen Keller & Abigail D. Pershing, “Climate Change in Court: Overcoming Procedural Hurdles in
PRACTICE AREAS                      Transboundary Environmental Cases,” Eur. Convention on Human Rights L. Rev., forthcoming
> Civil & Human Rights            > Zachary Liscow & Abigail Pershing, “A New Way to Increase Economic Opportunity for More
> Environmental Litigation          Americans”, The Hill, Jan. 21, 2021

EDUCATION                         > Abigail D. Pershing, “Interpreting the Outer Space Treaty’s Non-Appropriation Principle: Customary
> Yale Law School, J.D., 2020       International Law from 1967 to Today,” 44 Yale J. Int’l L. 149, 2019
> The University of Chicago,
                                  > Abigail D. Pershing, “Empty Schoolyards: The Impact of Elementary School Closures on Chicago
  B.A., Sociology and Public
                                    Communities,” 1 Chi. J. Soc. 99, 2014
  Policy, 2014
                                  PRESENTATIONS
                                  > Abigail D. Pershing, “Increasing Malaria Detection with Community Health Workers: A Case Study from
                                    Southern Senegal,” Global Health and Innovation Conference at Yale University, Apr. 15, 2018.
                                  LANGUAGES
                                  > French
                                  > Pulaar
                                  > Spanish (intermediate)
                                  > Wolof (beginner)
                                  > Mandarin Chinese (beginner)
                                  PERSONAL INSIGHT
                                  Abigail enjoys traveling, bike trips, playing the piano and meeting new people. Once or twice a year, she
                                  attempts to bake fancy cakes that are way beyond her pastry-making skill level.
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                                                                       ENS BERMAN SOBOL SHAPIRO                                              LLP




                                   ASSOCIATE

                                   Ryan T. Pittman
                                   Mr. Pittman has experience in a wide variety of cases and practices,
                                   including personal injury, wrongful death, legal and professional
                                   malpractice, intellectual property, and venture capital and corporate law.


CONTACT                            CURRENT ROLE
1301 Second Avenue
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                  EXPERIENCE

(206) 623-7292 office
                                   > Prior to joining Hagens Berman, Mr. Pittman practiced at various Seattle and Phoenix law firms where
(206) 623-0594 fax                   he most recently handled matters related to professional and legal malpractice claims, personal injury
ryanp@hbsslaw.com                    claims, intellectual property disputes and wrongful death claims.
                                   > Mr. Pittman also served as legal counsel at an international venture capital firm in Ireland, and was
YEARS OF EXPERIENCE
                                     involved in investment contracts with early stage companies. He helped establish the first wholly
>7
                                     foreign-owned investment fund able to directly invest into Chinese companies.
PRACTICE AREAS                     PUBLICATIONS
> Personal Injury
                                   > “Speaking in Tweets and Other Social Media: Should Some Written Communication Be Considered Oral
BAR ADMISSIONS
                                     Communication?” Sports and Entertainment Law Journal, 2013
> Washington
                                   PERSONAL INSIGHT
> Arizona
                                   A Mr. Pittman enjoys traveling and has been fortunate to have had extensive international travel
COURT ADMISSIONS
                                   experience, including living and working abroad in China and Ireland. Mr. Pittman grew up in Ashland,
> U.S. District Court for the
                                   Oregon and is happy to be able to call Seattle home. As a former collegiate track athlete, Mr. Pittman
  Eastern District of Washington
                                   enjoys staying active by running and lifting and staying active.
> U.S. District Court for
  the Western District of
  Washington

EDUCATION
> Sandra Day O’Connor College
  of Law, J.D., 2015
> Claremont McKenna College,
  B.A., 2010




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                                                                      ENS BERMAN SOBOL SHAPIRO                                            LLP




                                ASSOCIATE

                                Nia Reese
                                Nia is committed to social justice and holding institutions accountable
                                for wrongdoing. To the firm she brings her experience advocating for
                                individuals in vulnerable populations.


CONTACT                         CURRENT ROLE
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Suite 2000                      > Associate, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101
                                EXPERIENCE
(206) 623-7292 office
(206) 623-0594 fax              > Prior to joining Hagens Berman, Nia served as a student attorney for the criminal justice clinic in
niar@hbsslaw.com                  Washington, D.C. while she finished law school. She gained experience advocating for those she
                                  represented and drafting and filing motions.
PRACTICE ARES
> Antitrust                     > Previously Ms. Reese drafted cross-examination questions in preparation for trials and attended and
> Automotive Litigation           observed court proceedings as a law clerk at a D.C. firm. She also served as a summer law clerk at a
> Class Action                    Michigan-based law firm where she compiled discovery and prepared for depositions.

EDUCATION                       > She also served as a judicial intern for Magistrate Judge Curtis Ivy Jr.
> Howard University School of
                                PUBLIC SERVICE
  Law, J.D. 2022
                                > Nia volunteered with Students Taking Action Against National Discrimination where she served as the
> Tennessee State University,
                                  social media coordinator for the organization.
  B.A. 2019
                                > Ms. Reese is a member of Delta Sigma Theta Sorority, a service-based organization.

                                PERSONAL INSIGHT

                                Nia is a Michigan native and has a passion for music, cooking and event planning. In her free time, she
                                enjoys attending concerts and hosting gatherings for family and friends.




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                                  ASSOCIATE

                                  Peter A. Shaeffer
                                  Mr. Shaeffer has represented clients in class action and complex
                                  commercial litigation in areas of securities fraud, consumer protection,
                                  product liability and contractual disputes.


CONTACT                           CURRENT ROLE
455 N. Cityfront Plaza Drive
                                  > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2410
Chicago, IL 60611                 EXPERIENCE

(708) 628-4962 office             > Prior to joining Hagens Berman, Peter was an associate at Latham & Watkins LLP, where he
(708) 628-4950 fax                  represented clients in class action and complex commercial litigation in areas of securities fraud,
petersh@hbsslaw.com                 consumer protection, product liability and contractual disputes.
                                  > Previously, Mr. Shaeffer was a judicial intern for the Hon. Jeffrey Cole of the United States District
YEARS OF EXPERIENCE
                                    Court for the Northern District of Illinois, and also served as a paralegal specialist for the U.S.
>9
                                    Department of Justice’s antitrust division.
BAR ADMISSIONS                    PERSONAL INSIGHT
> Illinois
                                  Originally from the Chicagoland area, Mr. Shaeffer enjoys jogging along the 606 trail, partaking in the city’s
                                  brewery scene, and spending time with his wife and young dog, Wolfie.
COURT ADMISSIONS
> U.S. District Court for the
  Northern District of Illinois

EDUCATION
> Vanderbilt University Law
  School, J.D., 2013
> Tufts University, B.A., magna
  cum laude, 2008




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                                                                       ENS BERMAN SOBOL SHAPIRO                                                   LLP




                                      ASSOCIATE

                                      Whitney K. Siehl

                                      Ms. Siehl works tirelessly and has achieved millions of dollars in settlements for
                                      her clients. Her passion and empathy is unmatched.



CONTACT                               CURRENT ROLE
455 N. Cityfront Plaza Drive
Suite 2410
                                      > Associate, Hagens Berman Sobol Shapiro LLP
Chicago, IL 60611                     > Ms. Siehl’s Plaintiffs’ litigation practice focuses on complex class-action and individual cases in the
                                        areas of sexual abuse, sexual harassment, and sports law
(708) 628-4963 office
(708) 628-4950 fax                    > Represents an actress and entertainment industry class against The Weinstein Company, Harvey
whitneyk@hbsslaw.com                    Weinstein and related companies for racketeering and sexual assault
                                      > Represents students and alumnae of the University of Southern California in a class-action lawsuit
YEARS OF EXPERIENCE
                                        against the university and Dr. George Tyndall for his alleged decades-long sexual abuse of patients
>9
                                      EXPERIENCE
PRACTICE AREAS
                                      > Prior to joining Hagens Berman, Ms. Siehl was an associate in the Chicago office of a well-respected
> Civil & Human Rights Litigation
> Class Actions
                                        Plaintiffs’ firm representing families and children in birth injury and birth trauma litigation nationwide.
> Employment Litigation               > She worked previously at another Chicago firm where she gained experience in all aspects of civil
> Personal Injury Litigation            litigation with a focus on medical malpractice and professional liability matters.
> Sexual Abuse & Harassment
                                      RECENT SUCCESS
BAR ADMISSIONS                        > Ms. Siehl played a significant role in a $4 million settlement for a child who suffered severe and
> Illinois                              permanent brain damage due to the medical providers’ delay in recognizing a placental abruption.
                                      > Assisted in a $3.5 million settlement for a child with a hypoxic-ischemic brain injury that resulted from
COURT ADMISSIONS
                                        too much Pitocin and a physician’s failure to recognize fetal distress.
> United States District Court for
  the Northern District of Illinois   RECOGNITION
> United States Court of Appeals
  for the Seventh Circuit             > 2020, 2021 Rising Star, Super Lawyers Magazine for Class Actions
> Supreme Court of the United         > 2019 Rising Star, Super Lawyers Magazine for Plaintiffs’ Personal Injury
  States
                                      > 2017 Award for Excellence in Pro Bono Service from the United States District Court for the Northern
                                        District of Illinois and the Chicago Chapter of the Federal Bar Association
CLERKSHIPS
> Extern for Judge George C.          > 2013 Member of National Champion Team for Sutherland Cup National Constitutional Law Moot Court
  Smith on the Southern District        Competition
  of Ohio
                                      > CALI Award for Highest Grade in Legislation Clinic, Dispute Systems Design, and Comparative Legal
                                        Professions
EDUCATION
> The Ohio State University           > Named a Public Service Fellow with Dean’s Special Recognition
  Moritz College of Law, J.D.,
  cum laude, 2013
> Northwestern University, B.A.,
  2009




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                      ASSOCIATE

                      Whitney K. Siehl
                      LEGAL ACTIVITIES
                      > Women’s Bar Association of Illinois
                            - Officer Positions
                            - Financial Secretary - 2020 - 2021
                            - Recording Secretary - 2019 - 2020
                            - Board of Directors - 2017 - Present
                      > American Association for Justice Birth Trauma Litigation Group, Member
                      > Illinois Trial Lawyers Association, Member

                      ACTIVITIES
                      > Professional Board Member, PAWS Chicago – the Midwest’s largest no-kill animal shelter; TEAM PAWS
                        Marathon Team 2015-present
                      PRO BONO
                      > In 2017, Ms. Siehl received an Award for Excellence in Pro Bono Service from the United States District
                         Court for the Northern District of Illinois and the Chicago Chapter of the Federal Bar Association for her
                         dedication to representing underserved individuals in employment discrimination matters.

                      PUBLICATIONS
                      > #Us Too: Gender Inequality in the Legal Profession, American Association for Justice, Birth Trauma
                        Litigation Group Newsletter, Lead Article, February 2018.

                      PERSONAL INSIGHT
                      Whitney is an avid golfer and chairs the annual golf outing for the Women’s Bar Association of Illinois.
                      She was previously a member of the Miami University cross country and track teams, where the cross
                      country team was selected as NCAA Academic All-Americans. She serves as a pace group leader for
                      Chicago Marathon training and with the 2021 Chicago Athlete Magazine Ambassador Team, helps inspire
                      busy professionals to live healthier lives. To date, she has completed 10 marathons, a half Iron distance
                      triathlon, and numerous short course triathlons including the 2019 Escape from Alcatraz Triathlon in San
                      Francisco.




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                                 ASSOCIATE

                                 Emilee Sisco
                                 Ms. Sisco practices in the areas of sports litigation, antitrust and consumer
                                 protection. As a former Division I athlete, she has worked on the firm’s cases
                                 against the NCAA, furthering the rights of college-athletes across the nation.


CONTACT                          CURRENT ROLE
1301 Second Avenue
Suite 2000
                                 > Associate, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101
                                 EXPERIENCE
(206) 623-7292 office            > Law Clerk for Washington State Office of the Attorney General – Antitrust Division
(206) 623-0594 fax
emilees@hbsslaw.com              LEGAL ACTIVITIES

                                 > During 2L and 3L years in law school, Ms. Sisco was a fulltime volunteer intern for the WSBA Moderate
YEARS OF EXPERIENCE                Means Program. She volunteered more than 250 hours of pro bono service during law school.
>6
                                 RECOGNITION
PRACTICE AREAS                   > Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust
> Antitrust Litigation             Institute, 2019, 2021
> Consumer Rights
> Sports Litigation              RECENT CASES
                                 > Namoff v. Fleishman & Shapiro, P.C. et al
BAR ADMISSIONS
                                 > In re: National Prescription Opiate Litigation
> Washington
                                 > In re: NCAA Athletic Grant-In-Aid Cap Antitrust Litigation

COURT ADMISSIONS
                                 > In re: General Motors LLC Ignition Switch Litigation
> U.S. District Court, Western
  District of Washington         LANGUAGES
                                 > Latin
EDUCATION
> Seattle University School of   PERSONAL INSIGHT
  Law, J.D.
                                 Ms. Sisco was a Division I volleyball athlete for the University of Oregon and University of Colorado.
> University of Oregon, B.A.
                                 She was a member of the U.S. Women’s Volleyball A3 team and was also a three-sport varsity
                                 athlete throughout high school, earning top 10 state finishes in two events at the WIAA Track & Field
                                 Championship.




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                               ASSOCIATE

                               Hannah Song
                               Hannah is dedicated to holding institutions accountable on behalf of
                               consumers and vulnerable populations.



CONTACT                        CURRENT ROLE
715 Hearst Ave.
Suite 300
                               > Associate, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710
                               EXPERIENCE
(510) 725-3000 office          > Prior to joining Hagens Berman, Hannah worked on antitrust and consumer protection issues in various
(510) 725-3001 fax               settings including at the Department of Justice Antitrust Division.
hannahso@hbsslaw.com
                               > Hannah has experience in quantitative methods and has worked previously as an economic consultant
PRACTICE ARES                    supporting economic experts in securities, tax, antitrust, mortgage-backed securities and other litigation.
> Antitrust Litigation         PRO BONO
> Class Action
> Consumer Rights              > Hannah started the Racial and Disability Justice Pro Bono Project (RAD Justice) at Stanford Law
                                 School, which aids Latinx families with disabled children in obtaining state services under the
BAR ADMISSIONS                   Lanterman Act in California.
> California
                               PERSONAL INSIGHT
EDUCATION                      Hannah enjoys live music, boxing and reading science fiction in her spare time.
> Stanford Law School, J.D.,
  2021

> University of California,
  Berkeley, B.A., 2015




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                                 ASSOCIATE

                                 Breanna Van Engelen

                                 Breanna advocates on behalf of consumers in complex litigation,
                                 including in antitrust cases and cases involving unfair competition.



CONTACT                          CURRENT ROLE
1301 Second Avenue
                                 > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                EXPERIENCE

(206) 623-7292 office            > Prior to joining Hagens Berman, Breanna was an associate at K&L Gates LLP in Seattle, where she
(206) 623-0594 fax                 focused on Internet and technology law. Breanna took one of the first electronic impersonation cases in
breannav@hbsslaw.com               Washington state to trial. At trial, she secured an $8.9 million dollar verdict for her clients – the largest
                                   verdict ever awarded to a non-celebrity in an electronic impersonation/invasion of privacy case.
PRACTICE ARES
> Antitrust Litigation           PRO BONO
> Consumer Rights
                                 > As part of her pro bono practice, Ms. Van Engelen represented the victim of cyberstalking and revenge
BAR ADMISSIONS                   porn in the trial of Allen v. Zonis, Case No. 15-2-15656-0 (Wash. Super. Ct.) before Judge Helson, in
> Washington                     King County, Wash. She and her team brought one of the first cases the nation that successfully alleged
                                 causes of action stemming from the defendant’s distribution of the victim’s intimate images. After Ms. Van
EDUCATION
                                 Engelen’s closing argument at trial, the jury awarded the victim $8.9 million for the damages they incurred
> University of Michigan Law
                                 due to the defendant’s misconduct. The verdict was featured on ABC News Nightline, and the case was
  School, J.D.
> Washington State University,
                                 profiled in depth by Wired Magazine, which interviewed Ms. Van Engelen in its coverage the case. The
  B.A., magna cum laude          damage award of $8.9 million was one of the largest plaintiff verdicts for this kind of misconduct.

                                 RECOGNITION

                                 > 2018-2019 Public Service & Leadership Award recipient

                                 NOTABLE CASES

                                 > Ms. Van Engelen played a key role in helping consumers recover more than $180 million from chicken
                                 conglomerates in In re: Broilers Antitrust Litigation, Case No. 1:16-cv-08637 (N.D. Ill.), pending before
                                 Judge Durkin. She drafted significant portions of consumers’ motion for class certification, which Judge
                                 Durkin granted on May 27, 2022. Ms. Van Engelen worked fulltime helping the firm’s Broilers team
                                 develop the facts during discovery and took the lead in depositions against several critical defendant
                                 witnesses, including first-chairing the deposition of a former senior officer of a publicly traded company.

                                 > Ms. Van Engelen was one of the first to investigate the pork industry and is a key litigator with the firm
                                 in In re: Pork Antitrust Litigation, Case No. 18-cv-1776 (D. Minn.), pending before Judge Tunheim. She and
                                 the Hagens Berman litigation team represent consumer purchasers and brought the first complaint filed in
                                 what is now a large MDL. In this matter, Breanna has first-chaired several depositions of defendants’ key
                                 executives, including senior officers at large, publicly traded companies.

                                 > She is also a critical early team member in the In re Cattle and Beef Antitrust Litigation, Case No. 20-
                                 cv-1319, in which she helped draft the complaint and fight motions to dismiss, which were denied on Sept.
                                 14, 2021.


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                      ASSOCIATE

                      Breanna Van Engelen
                      > Additionally, Ms. Van Engelen is one of few young attorneys experienced in giving closing arguments in
                      newsworthy cases.

                      MEDIA INTERVIEWS
                      > Brooke Jarvis, How One Woman’s Digital Life Was Weaponized Against Her, WIRED (Nov. 11, 2017, 6:00 AM)
                        (https://www.wired.com/story/how-one-womans-digital-life-was-weaponized-against-her/)

                      PRESENTATIONS
                      > “Taking the Distribution of Intimate Images to Trial,” Presentation at 9th Annual Domestic Violence
                        Symposium, Seattle, WA, Sept. 2017

                      PERSONAL INSIGHT
                      Breanna grew up in Idaho, where she learned to ski in the winter and race horses on mountain trails in
                      the summer. Before becoming an attorney, Breanna taught at a pre-school in eastern Washington. When
                      she’s not working, you can find Breanna on her parents’ ranch in Texas, taking care of the land and
                      snuggling animals.




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                                ASSOCIATE

                                Stephanie A. Verdoia
                                Stephanie brings to the firm a deep knowledge of professional sports
                                policies, protocols and governance to enrich Hagens Berman’s robust sports
                                law practice.


CONTACT                         CURRENT ROLE
1301 Second Avenue
Suite 2000
                                > Associate, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101               > Ms. Verdoia’s practice at the firm’s Seattle office focuses primarily on sports litigation, where she
                                  applies her deep knowledge of sports governance, policies and protocols to bolster the firm’s expansive
(206) 623-7292 office             work in this area of law.
(206) 623-0594 fax
stephaniev@hbsslaw.com          EXPERIENCE

PRACTICE AREAS                  > Prior to joining Hagens Berman, Ms. Verdoia interned at Seattle’s Legal Voice, where she researched
> Sports Litigation               legal issues regarding gender equality by analyzing the interplay between constitutional principles,
                                  recently enacted state statutes and prevailing precedent.
INDUSTRY EXPERIENCE
                                > Ms. Verdoia also interned with the legal department at Seattle Sounders FC, where she provided legal
> Sports Governance
                                  research and solutions responding to the evolving developments of the COVID-19 pandemic.
> Sports Policy and Protocols
                                ACTIVITIES
EDUCATION
> University of Washington      > Her additional experience in professional sports lends itself to the firm’s sports litigation practice area.
  School of Law, J.D., 2021,      Ms. Verdoia has years of experience in the realm of professional soccer as a midfielder in Norway’s
  Order of Barristers             Toppserien top division soccer and with the National Women’s Soccer League (NWSL) both for the
> Seattle University, B.A.        Boston Breakers and most recently the OL Reign (formerly known as Seattle Reign FC).
  Political Science and Legal
  Studies, summa cum laude,
                                > During her time in these roles, she trained with the top NWSL team to enhance squad development with
  2015                            the Reign; led Norway’s Vålerenga Fotbal Damer to the national championship game; and was one of
                                  only 36 women nationally drafted into the professional female league when she began her professional
                                  sports career in 2015 with the Boston Breakers.
                                > Ms. Verdoia has also served as a league representative, helping to take a leadership role in the sport by
                                  conducting conversation with key league figures to further players’ interests and advance gender equity
                                  in sport. She also implemented working standards to create a safer environment and established a
                                  framework for a future players association.

                                PERSONAL INSIGHT
                                As a lifelong soccer player, Stephanie spends her free time coaching youth soccer teams at the OL Reign
                                Academy. She also enjoys camping anywhere in the Pacific Northwest with her fiancé, Shane, and her
                                dog, Stevie.




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                                    ASSOCIATE

                                    Ted Wojcik
                                    Ted is devoted to working on behalf of those harmed by corporate
                                    misconduct, and has experience advocating for individuals in several
                                    contexts.


CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000                          > Associate, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101
                                    EXPERIENCE
(206) 623-7292 office
(206) 623-0594 fax                  > Before joining Hagens Berman, Ted served as a clerk to U.S. District Judge Mark H. Cohen, and prior to
tedw@hbsslaw.com                      that, to Judge Marjorie Allard of the Alaska Court of Appeals.

YEARS OF EXPERIENCE                 > During law school, Ted interned for the Alaska Public Defender Agency in Palmer, Alaska, and the
>6                                    New Orleans City Attorney’s Office. He also worked as a student attorney in the landlord/tenant and
                                      immigration legal services clinics, and was an editor for the Yale Law Journal.
PRACTICE AREAS
> Antitrust Litigation              > Before law school, Ted worked for a year as a high school teacher in the Marshall Islands.
> Class Action
                                    PERSONAL INSIGHT
> Environmental Litigation
                                    A Maine native and recent Seattle transplant, Ted is working hard to master the intricacies of composting
BAR ADMISSIONS
                                    and to remember that the ocean lies to the west now, not the east.
> Georgia
> Washington

CLERKSHIPS
> Judge Mark H. Cohen, U.S.
  District Court for the Northern
  District of Georgia, Atlanta,
  GA, 2016-2018
> Judge Marjorie Allard, Alaska
  Court of Appeals, Anchorage,
  AK, 2015-2016

EDUCATION
> Yale Law School, J.D., 2015
> Dartmouth College, A.B., 2011,
  magna cum laude




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                                    ASSOCIATE

                                    Abby Wolf
                                    Abby cares deeply about justice and fairness. Through class actions, she
                                    is focused on exposing the truth, holding the powerful accountable and
                                    helping consumers fight back against corporate wrongdoing.


CONTACT                             CURRENT ROLE
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Suite 300                           > Associate, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710
                                    EXPERIENCE
(510) 725-3000 office
(510) 725-3001 fax                  > Prior to joining Hagens Berman, Abby was an associate at Lieff Cabraser Heimann & Bernstein LLP,
abbyw@hbsslaw.com                     where she worked on behalf of cities, counties and Native American tribes in the nationwide opioid
                                      litigation. She also represented survivors of the 2017 and 2018 wildfires in California sparked by the
YEARS OF EXPERIENCE                   negligence of local utility companies.
>5
                                    RECOGNITION
PRACTICE ARES
> Antitrust Litigation              > Top 40 Under 40 Civil Plaintiff Trial Lawyers in California, 2022-2023
> Class Action
> Consumer Rights                   PUBLICATIONS

                                    > “The World Still Looks to California: The CalECPA as a Model Step for Privacy Reform in the Digital
BAR ADMISSIONS
> California
                                      Age,” The Journal of Law and Technology at Texas, Aug. 1, 2017

                                    PRESENTATIONS
COURT ADMISSIONS
> U.S. District Court for the
                                    > Mass Torts Committee Breakout: “Public Nuisance Law and Its Impact on the Opioid Litigation and
  Northern District of California
                                      Future Mass Torts,” Panelist, Jan. 31, 2020
> U.S. District Court for the
  Central District of California    PERSONAL INSIGHT
> U.S. Court of Appeals for the
  Fourth Circuit                    When not practicing law, Abby enjoys yoga, baking and spending time with her pet rabbit, Ralphie, and dog,
                                    Hector.
CLERKSHIPS
> U.S. District Court for the
  Eastern District of California,
  Judge Dale A. Drozd, 2020
  – 2021
> U.S. District Court for the
  Southern District of West
  Virginia, Judge Joseph R.
  Goodwin, 2016 – 2017

EDUCATION
> University of California, Davis
  School of Law, King Hall, J.D.,
  2016
> University of California,
  Berkeley, B.A., 2011


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                                                                       ENS BERMAN SOBOL SHAPIRO                                              LLP




                                    ASSOCIATE

                                    Wesley A. Wong
                                    Mr. Wong is an investor rights attorney who assists in the development and
                                    prosecution of securities class-action cases, derivative actions and opt-out
                                    litigation. He has experience working in all stages of litigation, including at trial.


CONTACT                             CURRENT ROLE
715 Hearst Ave.
Suite 300                           > Associate, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710
                                    > Mr. Wong’s practice focuses on securities litigation.
(510) 725-3000 office
(510) 725-3001 fax                  RECENT SUCCESS
wesleyw@hbsslaw.com
                                    > Mr. Wong represented and defended a major rapid transit public transportation system serving the San
YEARS OF EXPERIENCE
                                      Francisco Bay Area in a $75 million breach of contract and implied covenant of good faith/fair dealing
>3                                    case at trial. He successfully tried the case to verdict as a key member of the trial team and obtained a
                                      complete defense verdict.
PRACTICE ARES
> Investor Fraud
                                    EXPERIENCE
> Securities                        > Litigated a variety of cases at all stages of litigation, including at trial

INDUSTRY EXPERIENCE                 > Worked in the financial services industry as an analyst prior to law practice
> General Civil Litigation
                                    > Prior experience working with banking industry regulators to resolve regulatory compliance matters
> Complex Civil Litigation
> Class Actions
                                    ACTIVITIES
> Financial Services Regulatory
  Compliance                        > The Risk Management Association, Golden Gate Chapter, Young Professionals Board Member 2017-2018

BAR ADMISSIONS                      LEGAL ACTIVITIES
> California
                                    > Asian American Bar Association of the Greater Bay Area
COURT ADMISSIONS
> U.S. District Court for the       PERSONAL INSIGHT
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                                    When he’s not practicing law, Wesley enjoys writing, directing and producing short films and music
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> University of San Francisco
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